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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
ec ae ee eT xX
SEAN FINNEGAN, 2

Plaintiff, : Li:17-cv-4424
-against—

LONG ISLAND POWER AUTHORITY,

NATIONAL GRID ELECTRIC

SERVICES LLC,

NATIONAL GRID USA SERVICE :

COMPANY INC., : COMPLATNT
NATIONAL GRID SERVICES INC., : WITH JURY DEMAND
PSEG LONG ISLAND LLC :

(a subsidiary of Public

Service Enterprise Group, Inc.),

TNCORPORATED VILLAGE OF LAWRENCE,

TOWN OF HEMPSTEAD,

COUNTY OF NASSAU,

VERIZON NEW YORK, INC.,

CSC HOLDINGS, LLC,

CABLEVISION SYSTEMS

LONG ISLAND CORPORATION,

ASPLUNDH TREE EXPERT CO.,

SAMUEL SHORE,

TRACY SHORE, and

ALTICE USA, INC.,

Defendants. :
i ee ee et x

Plaintiff SHAN FINNEGAN by his attorneys SCHREIER &

WACHSMAN, LLP, hereby files this Complaint against Defendants and

alleges as follows:
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INTRODUCTION

1. On September 6, 2016, Plaintiff SEAN FINNEGAN, then
age 39, was lawfully driving/riding his motorcycle on Meadow Lane,
approximately twenty (20) feet south of Marbridge Road, in the
Village of Lawrence, Town of Hempstead, County of Nassau and State
of New York when he struck a downed, low hanging power line (wire),
cable, telephone line (wire) or similar wire which was strewn
across Meadow Lane at the aforementioned location causing Plaintiff
SEAN FINNEGAN and his motorcycle to crash into a power pole.
Plaintiff SEAN FINNEGAN sustained severe personal injuries,
conscious pain and suffering, multiple fractures, multiple surgical
interventions, multiple hospitalizations, multiple deformities,
emotional distress, past, present and future medical bills and loss
of income, the extent of Plaintiff SEAN FINNEGAN’s injuries are not
fully known at this time. Plaintiff SEAN FINNEGAN is totally

disabled and unable to return to work as an ironworker.

THE PARTIES

2. The Plaintiff, SEAN FINNEGAN, is a citizen of the

State of Vermont residing at 19 Rist Road, Wilmington, Vermont

05363.
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3. At all times mentioned herein, the Defendant LONG
ISLAND POWER AUTHORITY is a non-profit municipal electric provider
organized and existing under and pursuant to the laws of the State
of New York, pursuant to Public Authorities Law, and maintains its
principal offices at 333 Earle Ovington Boulevard, Uniondale, New

York 11553.

4. At all times mentioned herein, the Defendant NATIONAL
GRID ELECTRIC SERVICES LLC, (referred to hereinafter, collectively
with Defendants NATIONAL GRID USA SERVICE COMPANY, INC., and
NATIONAL GRID SERVICES, INC., as “NATIONAL GRID”), was and still is
a domestic limited liability company organized and existing under
the laws of the State of New York having its principal place of

business at 175 East Old Country Road, Hicksville, New York 11801.

5. At all times mentioned herein, and at the time of the

occurrences herein, the Defendant NATIONAL GRID HLECTRIC SERVICES,
LLC (referred to hereinafter, collectively with Defendants NATIONAL
GRID USA SERVICE COMPANY, INC., and NATIONAL GRID SERVICES, INC.,
as “NATIONAL GRID"), was authorized to do business in New York, and

was in fact doing business in New York.
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6. At all times mentioned herein, the Defendant NATIONAL
GRID USA SERVICE COMPANY, INC., (referred to hereinafter,
collectively with Defendants NATIONAL GRID ELECTRIC SERVICES, LLC
and NATIONAL GRID SERVICES, INC., as “NATIONAL GRID”) was and still
is a foreign business corporation organized and existing under the
laws of the State of Massachusetts having its principal place of

business at 40 Sylvan Road, Waltham, Massachusetts 02451.

7. At all times mentioned herein, and at the time of the
occurrences herein, the Defendant NATIONAL GRID USA SERVICE
COMPANY, INC., (referred to hereinafter, collectively with
Defendants NATIONAL GRID ELECTRIC SERVICES, LLC and NATIONAL GRID
SERVICES, INC., as “NATIONAL GRID”), was authorized to do business

in New York, and was in fact doing business in New York.

8. At all times mentioned herein, the Defendant NATIONAL
GRID SERVICES, INC., (referred to hereinafter, collectively with
Defendants NATIONAL GRID ELECTRIC SERVICES, LLC and NATIONAL GRID
USA SERVICE COMPANY, INC., as “NATIONAL GRID”), was and still isa

foreign business corporation organized and existing under the laws
of the State of Delaware having its principal place of business at

One Metrotech Center, Brooklyn, New York 11201.
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9. At all times mentioned herein and at the time of the
occurrences herein, the Defendant NATIONAL GRID SERVICES, INC.,
(referred to hereinafter, collectively with Defendants NATIONAL
GRID ELECTRIC SERVICES, LLC and NATIONAL GRID USA SERVICE COMPANY,
INC., as “NATIONAL GRID’), was authorized to do business in New

York, and was in fact doing business in New York.

10. At all times mentioned herein, the Defendant PSEG
LONG ISLAND, LLC was and still is a subsidiary of Public Service
Enterprise Group, Inc. (“PSEG”), the subsidiary was and still isa

foreign business corporation organized and existing under the laws
of the State of New Jersey having its principal place of business

at 80 Park Plaza, Newark, New Jersey.

22. At all times mentioned herein, the Defendant PSEG
LONG ISLAND, LLC a subsidiary of Public Service Enterprise Group,
Inc. (“PSEG”), was and still is a domestic limited liability
company organized and existing under the laws of the State of New

York having its principal place of business at 33 Earle Ovington

Boulevard, Uniondale, New York.
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12. At all times mentioned herein, and at the time of
the occurrence herein, the Defendant PSEG LONG ISLAND, LLC a
subsidiary of Public Service Enterprise Group, Inc., (“PSEG”), was

authorized to do business in New York, and was in fact doing

business in New York.

13. At all times mentioned herein, the Defendant
INCORPORATED VILLAGE OF LAWRENCE (“VILLAGE OF LAWRENCE”), was and
still is a public municipality duly authorized and existing under
and by virtue of the laws of the State of New York and maintains

its offices at 196 Central Avenue, Lawrence, New York 11559.

14. At all times mentioned herein, the Defendant TOWN OF
HEMPSTEAD, was and still is a public municipality duly authorized
and existing under and by virtue of the laws of the State of New

York and maintains its offices at 1 Washington Street, Hempstead,

New York 11550.

15. At all times mentioned herein, the Defendant COUNTY
OF NASSAU, was and still is a public municipality duly authorized

and existing under and by virtue of the laws of the State of New
York and maintains its offices at 1 West Street, Mineola, New York

11501.
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16. At all times mentioned herein, the Defendant VERIZON
NEW YORK INC., was and still is a domestic business corporation
duiy organized and existing under the laws of the State of New York

having its principal place of business at 140 West Street, New

York, New York 10007.

17. At all times mentioned herein, and at the time of
the occurrence herein, the Defendant VERIZON NEW YORK INC., was

authorized to do business in New York, and was in fact doing

business in New York.

18. At all times mentioned herein, the Defendant csc
HOLDINGS, LLC was and still is a foreign limited liability company
duly organized and existing under the laws of the State of Delaware
having its principal place of business at 1111 Stewart Avenue,

Bethpage, New York 11714.

19. At all times mentioned herein, and at the time of
the occurrence herein, the Defendant CSC HOLDINGS, LLC, was

authorized to do business in New York, and was in fact doing

business in New York.
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20. At all times mentioned herein, the Defendant
CABLEVISION SYSTEMS LONG ISLAND CORPORATION, was and still is a
domestic business corporation duly organized and existing under the
laws of the State of New York having its principal place of

business at 1111 Stewart Avenue, Bethpage, New York 11714.

21. At all times mentioned herein, and at the time of
the occurrence herein, the Defendant CABLEVISION SYSTEMS LONG
ISLAND CORPORATION, was authorized to do business in New York, and

was in fact doing business in New York.

22. At all times mentioned herein, the Defendant
ASPLUNDH TREE EXPERT CO., (“ASPLUNDH”) was and still is a foreign
business corporation duly organized and existing under the laws of
the State of Pennsylvania having its principal place of business at

708 Blair Mill Road, Willow Grove, Pennsylvania 19006.

23. At all times mentioned herein, and at the time of
the occurrence herein, the Defendant ASPLUNDH TREE EXPERT Co.,
{“ASPLUNDH”) was authorized to do business in New York, and was in

fact doing business in New York.
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24. The Defendant, SAMUEL SHORE is a citizen of the

State of New York residing at 315 Marbridge Road, Lawrence, New

York 11559.

25. The Defendant, TRACY SHORE is a citizen of the State

of New York residing at 315 Marbridge Road, Lawrence, New York

11559.

26. At all times mentioned herein, the Defendant ALTICE
USA, INC. {“ALTICE”), was and still is a foreign business
corporation duly organized and existing under the laws of the State

of Delaware having its principal place of business at 1111 Stewart

Avenue, Bethpage, New York 11714.

27. At all times mentioned herein, and at the time of
the occurrence herein, the Defendant ALTICE USA, INC., (“*ALTICE”)
was authorized to do business in New York, and was in fact doing

business in New York.

JURISDICTION AND VENUE

28. This Court has subject matter jurisdiction based
upon diversity of citizenship pursuant to 28 USC §1332 and the
matter in controversy exceeds the sum of SEVENTY FIVE THOUSAND

DOLLARS ($75,000.00) exclusive of interest and costs.
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29. Venue is proper in this district because one or more
of the Defendants are subject to personal jurisdiction in this
district at the time this action was commenced pursuant to 28 USC

81391.

THE CAUSE OF ACTION

30. At all times mentioned herein, the property known as
315 Marbridge Road, Lawrence, New York was a single family dwelling
in the Village of Lawrence, Town of Hempstead, County of Nassau and

State of New York.

31. At all times mentioned herein and prior thereto,
Meadow Lane, approximately twenty (20) feet south of Marbridge Road
and Marbridge Road, Village of Lawrence, Town of Hempstead, County
of Nassau and State of New York, was and still are public
thoroughfares in common use by residents of the State of New York

and others.

32. At all times mentioned herein, there existed a
downed, low hanging power line (wire), cable, telephone line (wire)
or similar wire strewn across Meadow Lane, approximately twenty
(20) feet south of Marbridge Road and Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New

York.

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33. At all times mentioned herein, Plaintiff SEAN
FINNEGAN owned, managed, operated and controlled a motorcycle

bearing Vermont license plate number ML735 for the year 2016.

34. At all times mentioned herein, Plaintiff SEAN
FINNEGAN was the owner and operator of a certain motorcycle bearing

Vermont license plate number ML735 for the year 2016, which was

operated within the State of New York on September 6, 2016.

35. On or about the 6° day of September 2016, the
aforesaid motorcycle owned and operated by Plaintiff SEAN FINNEGAN
Was operated, managed and controlled on Meadow Lane, approximately
twenty (20) feet south of Marbridge Road and Marbridge Road,

Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

36. On or about October 13, 2016, Plaintiff caused a
Notice of Claim to be served upon Defendant LONG ISLAND POWER
AUTHORITY, and said notice was served within ninety (90) days of

the occurrence herein.

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37. More than thirty (30) days have elapsed since the
presentation of said Notice of Claim, and said claim remains
unadjusted and Defendant LONG ISLAND POWER AUTHORITY has wholly

refused, failed and neglected to make any adjustments of same.

38. Oral examination of Plaintiff was not noticed by

Defendant LONG ISLAND POWER AUTHORITY.

39. At all times mentioned herein and prior thereto,
Defendant LONG ISLAND POWER AUTHORITY, its agents, servants,
employees, associates, agencies and/or departments caused the
aforesaid power line {wire), cable, telephone line (wire) or
Similar wire to be placed on Meadow Lane, approximately twenty (20)
feet south of Marbridge Road and Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New

York.

40. At all times mentioned herein and prior thereto,
Defendant LONG ISLAND POWER AUTHORITY, its agents, servants,
employees, associates, agencies and/or departments owned the
aforesaid power line (wire), cable, telephone line (wire) or
similar wire located on Meadow Lane, approximately twenty (20) feet
south of Marbridge Road and Marbridge Road, Village of Lawrence,

Town of Hempstead, County of Nassau and State of New York.

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41. At all times mentioned herein and prior thereto,

Defendant LONG ISLAND POWER AUTHORITY, its agents, servants,

employees, associates, agencies and/or departments maintained the
aforesaid power line (wire), cable, telephone line (wire) or
similar wire located on Meadow Lane, approximately twenty (20) feet
south of Marbridge Road and Marbridge Road, Village of Lawrence,

Town of Hempstead, County of Nassau and State of New York.

42. At all times mentioned herein and prior thereto,
Defendant LONG ISLAND POWER AUTHORITY, its agents, servants,
employees, associates, agencies and/or departments managed the
aforesaid power line (wire), cable, telephone line (wire) or
Similar wire located on Meadow Lane, approximately twenty (20) feet
south of Marbridge Road and Marbridge Road, Village of Lawrence,

Town cf Hempstead, County of Nassau and State of New York.

43. At all times mentioned herein and prior thereto,
Defendant LONG ISLAND POWER AUTHORITY, its agents, servants,
employees, associates, agencies and/or departments controlled the
aforesaid power line (wire), cable, telephone line (wire) or
similar wire located on Meadow Lane, approximately twenty (20) feet
south of Marbridge Road and Marbridge Road, Village of Lawrence,

Town of Hempstead, County of Nassau and State of New York.

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44, At all times mentioned herein and prior thereto,
Defendant LONG ISLAND POWER AUTHORITY, its agents, servants,
employees, associates, agencies and/or departments supervised the
aforesaid power line ({wire), cable, telephone line (wire) or
similar wire located on Meadow Lane, approximately twenty (20) feet
south of Marbridge Road and Marbridge Road, Village of Lawrence,

Town of Hempstead, County of Nassau and State of New York.

45, At all times mentioned herein and prior thereto,
Defendant LONG ISLAND POWER AUTHORITY, its agents, servants,
employees, associates, agencies and/or departments inspected the
aforesaid power line (wire), cable, telephone line (wire) or
Similar wire located on Meadow Lane, approximately twenty (20) feet
south of Marbridge Road and Marbridge Road, Village of Lawrence,

Town of Hempstead, County of Nassau and State of New York.

46. At all times mentioned herein and prior thereto,
Defendant LONG ISLAND POWER AUTHORITY, its agents, servants,
employees, associates, agencies and/or departments leased the
aforesaid power line (wire), cable, telephone line (wire) or
similar wire located on Meadow Lane, approximately twenty (20) feet
south of Marbridge Road and Marbridge Road, Village of Lawrence,

Town of Hempstead, County of Nassau and State of New York.

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47. At all times mentioned herein and prior thereto,
Defendant LONG ISLAND POWER AUTHORITY, its agents, servants,
employees, associates, agencies and/or departments repaired the
aforesaid power line (wire), cable, telephone line (wire) or
similar wire located on Meadow Lane, approximately twenty (20) feet
south of Marbridge Road and Marbridge Road, Village of Lawrence,

Town of Hempstead, County of Nassau and State of New York.

48. At all times mentioned herein and prior thereto,
Defendant LONG ISLAND POWER AUTHORITY, its agents, servants,
employees, associates, agencies and/or departments supervised
repairs to the aforesaid power line (wire), cable, telephone line
(wire) or similar wire located on Meadow Lane, approximately twenty
(20) feet south of Marbridge Road and Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New

York.

49. On or about September 6, 2016, Defendant LONG ISLAND
POWER AUTHORITY, its agents, servants, employees, associates,
agencies and/or departments negligently and carelessly allowed,
caused and permitted the aforesaid power line (wire), cable,

telephone line (wire) or similar wire to be, become, and remain in

a dangerous and defective condition.

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50. At all times mentioned herein, there existed power
line poles located on Meadow Lane and Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New

York.

51. At all times mentioned herein and prior thereto,

Defendant LONG ISLAND POWER AUTHORITY, its agents, servants,

employees, associates, agencies and/or departments caused the
aforesaid power line poles to be placed on Meadow Lane and
Marbridge Road, Village of Lawrence, Town of Hempstead, County of

Nassau and State of New York.

52. At all times mentioned herein and prior thereto,
Defendant LONG ISLAND POWER AUTHORITY, its agents, servants,
employees, associates, agencies and/or departments owned the
aforesaid power line poles located on Meadow Lane and Marbridge

Road, Village of Lawrence, Town of Hempstead, County of Nassau and

State of New York.

53. At all times mentioned herein and prior thereto,
Defendant LONG ISLAND POWER AUTHORITY, its agents, servants,
employees, associates, agencies and/or departments maintained the
aforesaid power line poles located on Meadow Lane and Marbridge
Road, Village of Lawrence, Town of Hempstead, County of Nassau and

State of New York.

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54. At all times mentioned herein and prior thereto,
Defendant LONG ISLAND POWER AUTHORITY, its agents, servants,
employees, associates, agencies and/or departments managed the
aforesaid power line poles located on Meadow Lane and Marbridge

Road, Village of Lawrence, Town of Hempstead, County of Nassau and

State of New York.

55. At all times mentioned herein and prior thereto,
Defendant LONG ISLAND POWER AUTHORITY, its agents, servants,
employees, associates, agencies and/or departments controlled the
aforesaid power line poles located on Meadow Lane and Marbridge

Road, Village of Lawrence, Town of Hempstead, County of Nassau and

State of New York.

S56. At all times mentioned herein and prior thereto,
Defendant LONG ISLAND POWER AUTHORITY, its agents, servants,
employees, associates, agencies and/or departments supervised the
aforesaid power line poles located on Meadow Lane and Marbridge

Road, Village of Lawrence, Town of Hempstead, County of Nassau and

State of New York.

57. At all times mentioned herein and prior thereto,

Defendant LONG ISLAND POWER AUTHORITY, its agents, servants,

employees, associates, agencies and/or departments inspected the

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aforesaid power line poles located on Meadow Lane and Marbridge
Road, Village of Lawrence, Town of Hempstead, County of Nassau and

State of New York.

58. At all times mentioned herein and prior thereto,

Defendant LONG ISLAND POWER AUTHORITY, its agents, servants,

employees, associates, agencies and/or departments leased the
aforesaid power line poles located on Meadow Lane and Marbridge

Road, Village of Lawrence, Town of Hempstead, County of Nassau and

State of New York.

59. At all times mentioned herein and prior thereto,
Defendant LONG ISLAND POWER AUTHORITY, its agents, servants,
employees, associates, agencies and/or departments repaired the
aforesaid power line poles located on Meadow Lane and Marbridge

Road, Village of Lawrence, Town of Hempstead, County of Nassau and

State of New York.

60. At all times mentioned herein and prior thereto,
Defendant LONG ISLAND POWER AUTHORITY, its agents, servants,
employees, associates, agencies and/or departments supervised
repairs to the aforesaid power line poles located on Meadow Lane

and Marbridge Road, Village of Lawrence, Town of Hempstead, County

of Nassau and State of New York.

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61. On or about September 6, 2016, Defendant LONG ISLAND
POWER AUTHORITY, its agents, servants, employees, associates,
agencies and/or departments negligently and carelessly allowed,
caused and/or permitted the aforesaid power line poles located on
Meadow Lane and Marbridge Road, Village of Lawrence, Town of
Hempstead, County of Nassau to be, become, and remain in a

dangerous and defective condition.

62. At all times mentioned herein, there existed a tree
located on the premises known as 315 Marbridge Road, Village of
Lawrence, Town of Hempstead, County of Nassau and State of New

York.

63. At all times mentioned herein, there existed a tree
located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

64. At all times mentioned herein and prior thereto,
Defendant LONG ISLAND POWER AUTHORITY, its agents, servants,
employees, associates, agencies and/or departments caused the
aforesaid power line (wire), cable, telephone line (wire) or
Similar wire and poles to be placed on the premises known as 315
Marbridge Road, Village of Lawrence, Town of Hempstead, County of

Nassau and State of New York.

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65. At ali times mentioned herein and prior thereto,

Defendant LONG ISLAND POWER AUTHORITY, its agents, servants,

employees, associates, agencies and/or departments owned the
aforesaid power line (wire), cable, telephone line (wire} or
similar wire and poles located on the premises known as 315
Marbridge Road, Village of Lawrence, Town of Hempstead, County of

Nassau and State of New York.

66. At all times mentioned herein and prior thereto,
Defendant LONG ISLAND POWER AUTHORITY, its agents, servants,
employees, associates, agencies and/or departments maintained the
aforesaid power line (wire), cable, telephone line (wire) or
Similar wire and poles located on the premises known as 315
Marbridge Road, Village of Lawrence, Town of Hempstead, County of

Nassau and State of New York.

67. At all times mentioned herein and prior thereto,
Defendant LONG ISLAND POWER AUTHORITY, its agents, servants,
employees, associates, agencies and/or departments managed the
aforesaid power line (wire), cable, telephone line (wire) or
Similar wire and poles located on the premises known as 315
Marbridge Road, Village of Lawrence, Town of Hempstead, County of

Nassau and State of New York.

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68. At all times mentioned herein and prior thereto,
Defendant LONG ISLAND POWER AUTHORITY, its agents, servants,
employees, associates, agencies and/or departments controlled the
aforesaid power line (wire), cable, telephone line (wire) or
similar wire and poles located on the premises known as 315
Marbridge Road, Village of Lawrence, Town of Hempstead, County of

Nassau and State of New York.

69. At all times mentioned herein and prior thereto,
Defendant LONG ISLAND POWER AUTHORITY, its agents, servants,
employees, associates, agencies and/or departments supervised the
aforesaid power line (wire), cable, telephone line (wire) or
Similar wire and poles located on the premises known as 315
Marbridge Road, Village of Lawrence, Town of Hempstead, County of

Nassau and State of New York.

70. At all times mentioned herein and prior thereto,
Defendant LONG ISLAND POWER AUTHORITY, its agents, servants,
employees, associates, agencies and/or departments inspected the
aforesaid power line (wire), cable, telephone line (wire} or
similar wire and poles located on the premises known as 315
Marbridge Road, Village of Lawrence, Town of Hempstead, County of

Nassau and State of New York.

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71. At all times mentioned herein and prior thereto,
Defendant LONG ISLAND POWER AUTHORITY, its agents, servants,
employees, associates, agencies and/or departments leased the
aforesaid power line (wire}, cable, telephone line (wire) or
Similar wire and poles iocated on the premises known as 315
Marbridge Road, Village of Lawrence, Town of Hempstead, County of

Nassau and State of New York.

72. At all times mentioned herein and prior thereto,
Defendant LONG ISLAND POWER AUTHORITY, its agents, servants,
employees, associates, agencies and/or departments repaired the
aforesaid power line (wire), cable, telephone line (wire) or
similar wire and poles located on the premises known as 315
Marbridge Road, Village of Lawrence, Town of Hempstead, County of

Nassau and State of New York.

73. At all times mentioned herein and prior thereto,
Defendant LONG ISLAND POWER AUTHORITY, its agents, servants,
employees, associates, agencies and/or departments supervised
repairs to the aforesaid power line (wire), cable, telephone line
(wire) or similar wire and poles located on the premises known as
315 Marbridge Road, Village of Lawrence, Town of Hempstead, County

of Nassau and State of New York.

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74. On or about September 6, 2016, Defendant LONG ISLAND
POWER AUTHORITY, its agents, servants, employees, associates,
agencies and/or departments negligently and carelessly allowed,
caused and/or permitted the aforesaid power line (wire), cable,
telephone line (wire) or similar wire and poles located on the
premises known as 315 Marbridge Road, Village of Lawrence, Town of
Hempstead, County of Nassau and State of New York to be, become,

and remain in a dangerous and defective condition.

75. At all times mentioned herein and prior thereto,
Defendant LONG ISLAND POWER AUTHORITY, its agents, servants,
employees, associates, agencies and/or departments caused the
aforesaid power line (wire), cable, telephone line (wire) or
Similar wire and poles to be placed in front of the premises known
as 315 Marbridge Road, Village of Lawrence, Town of Hempstead,

County of Nassau and State of New York.

76. At all times mentioned herein and prior thereto,
Defendant LONG ISLAND POWER AUTHORITY, its agents, servants,
employees, associates, agencies and/or departments owned the
aforesaid power line (wire), cable, telephone line (wire) or
Similar wire and poles located in front of the premises known as

315 Marbridge Road, Village of Lawrence, Town of Hempstead, County

of Nassau and State of New York.

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77. At all times mentioned herein and prior thereto,

Defendant LONG ISLAND POWER AUTHORITY, its agents, servants,

employees, associates, agencies and/or departments maintained the
aforesaid power line (wire), cable, telephone line (wire) or
similar wire and poles located in front of the premises known as

315 Marbridge Road, Village of Lawrence, Town of Hempstead, County

of Nassau and State of New York.

78. At all times mentioned herein and prior thereto,
Defendant LONG ISLAND POWER AUTHORITY, its agents, servants,
employees, associates, agencies and/or departments managed the
aforesaid power line (wire), cable, telephone line (wire) or
Similar wire and poles located in front of the premises known as

315 Marbridge Road, Village of Lawrence, Town of Hempstead, County

of Nassau and State of New York.

79. At all times mentioned herein and prior thereto,
Defendant LONG ISLAND POWER AUTHORITY, its agents, servants,
employees, associates, agencies and/or departments controlled the
aforesaid power line (wire), cable, telephone line (wire) or
similar wire and poles located in front of the premises known as

315 Marbridge Road, Village of Lawrence, Town of Hempstead, County

of Nassau and State of New York.

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80. At all times mentioned herein and prior thereto,
Defendant LONG ISLAND POWER AUTHORITY, its agents, servants,
employees, associates, agencies and/or departments supervised the
aforesaid power line (wire), cable, telephone line (wire) or
Similar wire and poles located in front of the premises known as

315 Marbridge Road, Village of Lawrence, Town of Hempstead, County

of Nassau and State of New York.

B81. At all times mentioned herein and prior thereto,
Defendant LONG ISLAND POWER AUTHORITY, its agents, servants,
employees, associates, agencies and/or departments inspected the
aforesaid power line (wire), cable, telephone line ({wire) or
Similar wire and poles located in front of the premises known as

315 Marbridge Road, Village of Lawrence, Town of Hempstead, County

of Nassau and State of New York.

B82. At all times mentioned herein and prior thereto,
Defendant LONG ISLAND POWER AUTHORITY, its agents, servants,
employees, associates, agencies and/or departments leased the
aforesaid power line (wire), cable, telephone line (wire) or
similar wire and poles located in front of the premises known as

315 Marbridge Road, Village of Lawrence, Town of Hempstead, County

of Nassau and State of New York.

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83. At all times mentioned herein and prior thereto,
Defendant LONG ISLAND POWER AUTHORITY, its agents, servants,
employees, associates, agencies and/or departments supervised
repairs to the aforesaid power line (wire), cable, telephone line
(wire) or similar wire and poles located in front of the premises
known as 315 Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

84. On or about September 6, 2016, Defendant LONG ISLAND
POWER AUTHORITY, its agents, servants, employees, associates,
agencies and/or departments negligently and carelessly allowed,
caused and/or permitted the aforesaid power line and poles located
in front of the property known as 315 Marbridge Road, Village of
Lawrence, Town of Hempstead, County of Nassau and State of New York

to be, become, and remain in a dangerous and defective condition.

85. At all times mentioned herein and prior thereto,
Defendant LONG ISLAND POWER AUTHORITY, its agents, servants,
employees, associates, agencies and/or departments maintained the
aforesaid tree located on the premises known as 315 Marbridge Road,

Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

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B6. At all times mentioned herein and prior thereto,
Defendant LONG ISLAND POWER AUTHORITY, its agents, servants,
employees, associates, agencies and/or departments managed the
aforesaid tree located on the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

B87. At all times mentioned herein and prior thereto,
Defendant LONG ISLAND POWER AUTHORITY, its agents, servants,
employees, associates, agencies and/or departments controlled the
aforesaid tree located on the premises known as 315 Marbridge Road,

Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

ee. At all times mentioned herein and prior thereto,
Defendant LONG ISLAND POWER AUTHORITY, its agents, servants,
employees, associates, agencies and/or departments supervised the
aforesaid tree located on the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

89. At all times mentioned herein and prior thereto,
Defendant LONG ISLAND POWER AUTHORITY, its agents, servants,

employees, associates, agencies and/or departments inspected the

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aforesaid tree located on the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

90. At all times mentioned herein and prior thereto,
Defendant LONG ISLAND POWER AUTHORITY, its agents, servants,
employees, associates, agencies and/or departments supervised
maintenance to the aforesaid tree located on the premises known as
315 Marbridge Road, Village of Lawrence, Town of Hempstead, County

of Nassau and State of New York.

$1. On or about September 6, 2016, Defendant LONG ISLAND
POWER AUTHORITY, its agents, servants, employees, associates,
agencies and/or departments negligently and carelessly allowed,
caused and/or permitted the aforesaid tree located on the premises
known as 315 Marbridge Road, Village of Lawrence, Town of
Hempstead, County of Nassau and State of New York to be, become,

and remain in a dangerous and defective condition.

92, At all times mentioned herein and prior thereto,
Defendant LONG ISLAND POWER AUTHORITY, its agents, servants,
employees, associates, agencies and/or departments maintained the
aforesaid tree located in front of the premises known as 315
Marbridge Road, Village of Lawrence, Town of Hempstead, County of

Nassau and State of New York.

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93. At all times mentioned herein and prior thereto,
Defendant LONG ISLAND POWER AUTHORITY, its agents, servants,
employees, associates, agencies and/or departments managed the
aforesaid tree located in front of the premises known as 315
Marbridge Road,’ Village of Lawrence, Town of Hempstead, County of

Nassau and State of New York.

94, At alli times mentioned herein and prior thereto,
Defendant LONG ISLAND POWER AUTHORITY, its agents, servants,
employees, associates, agencies and/or departments controlled the
aforesaid tree located in front of the premises known as 315

Marbridge Road, Village of Lawrence, Town of Hempstead, County of

Nassau and State of New York.

95. At all times mentioned herein and prior thereto,
Defendant LONG ISLAND POWER AUTHORITY, its agents, servants,
employees, associates, agencies and/or departments supervised the
aforesaid tree located in front of the premises known as 315
Marbridge Road, Village of Lawrence, Town of Hempstead, County of

Nassau and State of New York.

96. At all times mentioned herein and prior thereto,

Defendant LONG ISLAND POWER AUTHORITY, its agents, servants,

employees, associates, agencies and/or departments inspected the

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aforesaid tree located in front of the premises known as 315
Marbridge Road, Viilage of Lawrence, Town of Hempstead, County of

Nassau and State of New York.

97. At all times mentioned herein and prior thereto,
Defendant LONG ISLAND POWER AUTHORITY, its agents, servants,
employees, associates, agencies and/or departments supervised
Maintenance to the aforesaid tree located in front of the premises
known as 315 Marbridge Road, Villiage of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

98. On or about September 6, 2016, Defendant LONG ISLAND
POWER AUTHORITY, its agents, servants, employees, associates,
agencies and/or departments negligently and carelessly allowed,
caused and/or permitted the aforesaid tree located in front of the
premises known as 315 Marbridge Road, Village of Lawrence, Town of
Hempstead, County of Nassau and State of New York to be, become,

and remain in a dangerous and defective condition.

99. At all times mentioned hereinafter, Defendant LONG
ISLAND POWER AUTHORITY, its agents, servants, employees,

associates, agencies and/or departments was under a duty to
operate, control, manage, maintain, repair, supervise and inspect

the aforesaid premises specifically the tree located in front of

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the premises known as 315 Marbridge Road, Village of Lawrence, Town
of Hempstead, County of Nassau and State of New York in a safe,
proper and lawful fashion, free from traps and conditions
constituting a danger and menace to persons lawfully and properly
using the roadways so that no person lawfully thereupon would be

caused to sustain personal injuries and/or damages.

100. At all times mentioned hereinafter, Defendant LONG
ISLAND POWER AUTHORITY, its agents, servants, employees,
associates, agencies and/or departments was under a duty to
operate, control, manage, maintain, repair, supervise and inspect
the aforesaid premises specifically the tree located on the
premises known as 315 Marbridge Road, Village of Lawrence, Town of
Hempstead, County of Nassau and State of New York in a safe, proper
and lawful fashion, free from traps and conditions constituting a
danger and menace to persons lawfully and properly using the
roadways so that no person lawfully thereupon would be caused to

sustain personal injuries and/or damages.

101. At all times mentioned hereinafter, Defendant LONG
ISLAND POWER AUTHORITY, its agents, servants, employees,

associates, agencies and/or departments was under a duty to
operate, control, manage, maintain, repair, supervise and inspect

the aforesaid power line (wire), cable, telephone line (wire) or

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similar wire located in front of the premises known as 315
Marbridge Road, Village of Lawrence, Town of Hempstead, County of
Nassau and State of New York in a safe, proper and lawful fashion,
free from traps and conditions constituting a danger and menace to
persons lawfully and properly using the roadways so that no person
lawfully thereupon would be caused to sustain personal injuries

and/or damages.

102. At all times mentioned hereinafter, Defendant LONG
ISLAND POWER AUTHORITY, its agents, servants, employees,
associates, agencies and/or departments was under a duty to
Operate, control, manage, maintain, repair, supervise and inspect
the aforesaid power line (wire), cable, telephone line (wire) or
similar wire located on the premises known as 315 Marbridge Road,
Viliage of Lawrence, Town of Hempstead, County of Nassau and State
of New York in a safe, proper and lawful fashion, free from traps
and conditions constituting a danger and menace to persons lawfully
and properly using the roadways so that no person lawfully
thereupon would be caused to sustain personal injuries and/or

damages.

103. At ali times mentioned hereinafter, Defendant LONG
ISLAND POWER AUTHORITY, its agents, servants, employees,

associates, agencies and/or departments was under a duty to

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operate, control, manage, maintain, repair, supervise and inspect
the aforesaid power line (wire), cable, telephone line (wire) or
Similar wire and poles in front of the premises known as 315
Marbridge Road, Village of Lawrence, Town of Hempstead, County of
Nassau and State of New York in a safe, proper and lawful fashion,
free from traps and conditions constituting a danger and menace to
persons lawfully and properly using the roadways so that no person
lawfully thereupon would be caused to sustain personal injuries

and/or damages.

104. At all times mentioned hereinafter, Defendant LONG
ISLAND POWER AUTHORITY, its agents, servants, employees,
associates, agencies and/or departments was under a duty to
operate, control, manage, maintain, repair, supervise and inspect
the aforesaid power line (wire), cable, telephone line (wire) or
similar wire and poles on the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State
of New York in a safe, proper and lawful fashion, free from traps
and conditions constituting a danger and menace to persons lawfully
and properly using the roadways so that no person lawfully
thereupon would be caused to sustain personal injuries and/or

damages.

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105. At all times mentioned hereinafter, Defendant LONG
ISLAND POWER AUTHORITY, its agents, servants, employees,
associates, agencies and/or departments was under a duty to
operate, control, manage, maintain, repair, supervise and inspect
the aforesaid downed low hanging power line (wire), cable,
telephone line (wire) or similar wire on Meadow Lane, approximately
twenty (20) feet south of Marbridge Road, Village of Lawrence, Town
of Hempstead, County of Nassau and State of New York in a safe,
proper and lawful fashion, free from traps and conditions
constituting a danger and menace to persons lawfully and properly
using the roadways so that no person lawfully thereupon would be

caused to sustain personal injuries and/or damages.

106. At all times hereinafter mentioned, and prior
thereto, Defendant LONG ISLAND POWER AUTHORITY, its agents,
servants, employees, associates, agencies and/or departments was
charged with the duty of complying with the Village of Lawrence
Codes, Town of Hempstead Codes, County of Nassau Codes and New York

Property Law.

107. At all times mentioned herein and prior thereto,

Defendant NATIONAL GRID, its agents, servants, employees,

associates, agencies and/or departments caused the aforesaid power

line (wire}, cable, telephone line (wire) or similar wire to be

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placed on Meadow Lane, approximately twenty (20) feet south of
Marbridge Road and Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

108. At all times mentioned herein and prior thereto,
Defendant NATIONAL GRID, its agents, servants, employees,
associates, agencies and/or departments owned the aforesaid power
line (wire), cable, telephone line (wire) or similar wire located
on Meadow Lane, approximately twenty (20) feet south of Marbridge
Road and Marbridge Road, Village of Lawrence, Town of Hempstead,

County of Nassau and State of New York.

109. At all times mentioned herein and prior thereto,
Defendant NATIONAL GRID, its agents, servants, employees,
associates, agencies and/or departments maintained the aforesaid
power line (wire), cable, telephone line (wire) or similar wire
located on Meadow Lane, approximately twenty (20) feet south of
Marbridge Road and Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

110. At all times mentioned herein and prior thereto,

Defendant NATIONAL GRID, its agents, servants, employees,

associates, agencies and/or departments managed the aforesaid power

line (wire), cable, telephone line (wire) or similar wire located

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on Meadow Lane, approximately twenty (20) feet south of Marbridge
Road and Marbridge Road, Village of Lawrence, Town of Hempstead,

County of Nassau and State of New York.

131. At all times mentioned herein and prior thereto,
Defendant NATIONAL GRID, its agents, servants, employees,
associates, agencies and/or departments controlled the aforesaid
power line (wire), cable, telephone line (wire) or similar wire
located on Meadow Lane, approximately twenty (20) feet south of
Marbridge Road and Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York..

112. At ali times mentioned herein and prior thereto,
Defendant NATIONAL GRID, ats agents, servants, employees,
associates, agencies and/or departments supervised the aforesaid
power line (wire), cable, telephone line (wire) or similar wire
located on Meadow Lane, approximately twenty (20) feet south of
Marbridge Road and Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

113. At ail times mentioned herein and prior thereto,
Defendant NATIONAL GRID, its agents, servants, employees,

associates, agencies and/or departments inspected the aforesaid

power line (wire), cable, telephone line (wire) or similar wire

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located on Meadow Lane, approximately twenty (20) feet south of
Marbridge Road and Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

114. At all times mentioned herein and prior thereto,
Defendant NATIONAL GRID, its agents, servants, employees,
associates, agencies and/or departments leased the aforesaid power
line (wire), cable, telephone line (wire) or similiar wire located
on Meadow Lane, approximately twenty (20) feet south of Marbridge
Road and Marbridge Road, Village of Lawrence, Town of Hempstead,

County of Nassau and State of New York.

115. At all times mentioned herein and prior thereto,
Defendant NATIONAL GRID, its agents, servants, employees,
associates, agencies and/or departments repaired the aforesaid
power line (wire), cable, telephone line (wire) or similar wire
located on Meadow Lane, approximately twenty (20) feet south of
Marbridge Road and Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

116. At ail times mentioned herein and prior thereto,
Defendant NATIONAL GRID, its agents, servants, employees,

associates, agencies and/or departments supervised repairs to the

aforesaid power line (wire), cable, telephone line (wire) or

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similar wire located on Meadow Lane, approximately twenty {20) feet
south of Marbridge Road and Marbridge Road, Village of Lawrence,

Town of Hempstead, County of Nassau and State of New York.

117. On or about September 6, 2016, Defendant NATIONAL
GRID, its agents, servants, employees, associates, agencies and/or
departments negligently and carelessly allowed, caused and/or
permitted the aforesaid power line (wire), cable, telephone line
(wire) or similar wire located on Meadow Lane, approximately twenty
(20) feet south of Marbridge Road and Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New

York.

118. At all times mentioned herein and prior thereto,
Defendant NATIONAL GRID, its agents, servants, employees,
associates, agencies and/or departments caused the aforesaid power
line (wire}, cable, telephone line (wire) or similar wire poles to
be placed on Meadow Lane and Marbridge Road, Village of Lawrence,

Town of Hempstead, County of Nassau and State of New York.

119. At all times mentioned herein and prior thereto,
Defendant NATIONAL GRID, its agents, servants, employees,

associates, agencies and/or departments owned the aforesaid power

line (wire), cable, telephone line (wire) or similar wire poles

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located on Meadow Lane and Marbridge Road, Village of Lawrence,

Town of Hempstead, County of Nassau and State of New York.

120. At all times mentioned herein and prior thereto,
Defendant NATIONAL GRID, its agents, servants, employees,
associates, agencies and/or departments maintained the aforesaid
power line (wire), cable, telephone line (wire) or similar wire
poles located on Meadow Lane and Marbridge Road, Village of
Lawrence, Town of Hempstead, County of Nassau and State of New

York,

121. At all times mentioned herein and prior thereto,
Defendant NATIONAL GRID, its agents, servants, employees,
associates, agencies and/or departments managed the aforesaid power
line (wire), cable, telephone line (wire) or similar wire poles
located on Meadow Lane and Marbridge Road, Village of Lawrence,

Town of Hempstead, County of Nassau and State of New York.

122. At all times mentioned herein and prior thereto,
Defendant NATIONAL GRID, its agents, servants, employees,
associates, agencies and/or departments controlled the aforesaid
power line (wire), cable, telephone line (wire) or similar wire
poles located on Meadow Lane and Marbridge Road, Village of
Lawrence, Town of Hempstead, County of Nassau and State of New

York.

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123. At all times mentioned herein and prior thereto,
Defendant NATIONAL GRID, its agents, servants, employees,
associates, agencies and/or departments supervised the aforesaid
power line (wire), cable, telephone line (wire) or similar wire
poles located on Meadow Lane and Marbridge Road, Village of
Lawrence, Town of Hempstead, County of Nassau and State of New

York.

124. At all times mentioned herein and prior thereto,
Defendant NATIONAL GRID, its agents, servants, employees,
associates, agencies and/or departments inspected the aforesaid
power line (wire), cable, telephone line (wire) or similar wire
poles located on Meadow Lane and Marbridge Road, Village of
Lawrence, Town of Hempstead, County of Nassau and State of New

York.

125. At all times mentioned herein and prior thereto,
Defendant NATIONAL GRID, its agents, servants, amployees,
associates, agencies and/or departments leased the aforesaid power
line (wire), cable, telephone line (wire) or similar wire poles
located on Meadow Lane and Marbridge Road, Village of Lawrence,

Town of Hempstead, County of Nassau and State of New York.

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126. At all times mentioned herein and prior thereto,
Defendant NATIONAL GRID, its agents, servants, employees,
associates, agencies and/or departments repaired the aforesaid
power line (wire), cable, telephone line (wire) or similar wire
poles located on Meadow Lane and Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New

York.

127. At ail times mentioned herein and prior thereto,
Defendant NATIONAL GRID, its agents, servants, employees,
associates, agencies and/or departments supervised repairs to the
aforesaid power line (wire), cable, telephone line (wire) or
similar wire poles located on Meadow Lane and Marbridge Road,

Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

128. On or about September 6, 2016, Defendant NATIONAL
GRID, its agents, servants, employees, associates, agencies and/or
departments negligently and carelessly allowed, caused and/or
permitted the aforesaid power line (wire), cable, telephone line
(wire) or similar wire poles located on Meadow Lane and Marbridge
Road, Village of Lawrence, Town of Hempstead, County of Nassau and

State of New York to be, become, and remain in a dangerous and

Gefective condition.

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129. At all times mentioned herein and prior thereto,

Defendant NATIONAL GRID, its agents, servants, employees,

associates, agencies and/or departments caused the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
to be placed on the premises known as 315 Marbridge Road, Village
of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

130. At all times mentioned herein and prior thereto,
Defendant NATIONAL GRID, its agents, servants, employees,
associates, agencies and/or departments owned the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
located on the premises known as 315 Marbridage Road, Village of
Lawrence, Town of Hempstead, County of Nassau and State of New

York.

131. At all times mentioned herein and prior thereto,
Defendant NATIONAL GRID, its agents, servants, employees,
associates, agencies and/or departments maintained the aforesaid
power line (wire), cable, telephone line (wire) or similar wire and
poles located on the premises known as 315 Marbridge Road, Village
of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

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132. At all times mentioned herein and prior thereto,

Defendant NATIONAL GRID, its agents, servants, employees,

associates, agencies and/or departments managed the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
located on the premises known as 315 Marbridge Road, Village of
Lawrence, Town of Hempstead, County of Nassau and State of New

York.

133. At all times mentioned herein and prior thereto,
Defendant NATIONAL GRID, its agents, servants, employees,
associates, agencies and/or departments controlled the aforesaid
power line (wire), cable, telephone line (wire) or similar wire and
poles located on the premises known as 315 Marbridge Road, Village
of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

134. At all times mentioned herein and prior thereto,
Defendant NATIONAL GRID, its agents, servants, employees,
‘associates, agencies and/or departments supervised the aforesaid
power line (wire), cable, telephone line (wire) or similar wire and
poles located on the premises known as 315 Marbridge Road, Village
of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

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135. At all times mentioned herein and prior thereto,
Defendant NATIONAL GRID, its agents, servants, employees,
associates, agencies and/or departments inspected the aforesaid
power line (wire), cable, telephone line (wire) or similar wire and
poles located on the premises known as 315 Marbridge Road, Village

of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

136. At all times mentioned herein and prior thereto,
Defendant NATIONAL GRID, its agents, servants, employees,
associates, agencies and/or departments leased the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
located on the premises known as 315 Marbridge Road, Village of
Lawrence, Town of Hempstead, County of Nassau and State of New

York.

137. At all times mentioned herein and prior thereto,
Defendant NATIONAL GRID, its agents, servants, employees,
associates, agencies and/or departments repaired the aforesaid
power line (wire), cable, telephone line (wire) or similar wire and
poles located on the premises known as 315 Marbridge Road, Village

of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

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138. At all times mentioned herein and prior thereto,
Defendant NATIONAL GRID, its agents, servants, employees,
associates, agencies and/or departments supervised repairs to the
aforesaid power line (wire), cable, telephone line (wire) or
similar wire and poles located on the premises known as 315
Marbridge Road, Village of Lawrence, Town of Hempstead, County of

Nassau and State of New York.

139. On or about September 6, 2016, Defendant NATIONAL
GRID, its agents, servants, employees, associates, agencies and/or
departments negligently and carelessly allowed, caused and/or
permitted the aforesaid power line (wire), cable, telephone line
(wire) or similar wire and poles located on the property known as
315 Marbridge Road, Village of Lawrence, Town of Hempstead, County
of Nassau and State of New York to be, become, and remain in a

dangerous and defective condition.

140. At all times mentioned herein and prior thereto,
Defendant NATIONAL GRID, its agents, servants, employees,
associates, agencies and/or departments caused the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
to be placed in front of the premises known as 315 Marbridge Road,

Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

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141. At all times mentioned herein and prior thereto,
Defendant NATIONAL GRID, its agents, servants, employees,
associates, agencies and/or departments owned the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
located in front of the premises known as 315 Marbridge Road,

Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

142. At all times mentioned herein and prior thereto,
Defendant NATIONAL GRID, its agents, servants, employees,
associates, agencies and/or departments maintained the aforesaid
power line (wire), cable, telephone line (wire) or similar wire and
poles located in front of the premises known as 315 Marbridge Road,

Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

143. At all times mentioned herein and prior thereto,
Defendant NATIONAL GRID, its agents, servants, employees,
associates, agencies and/or departments managed the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
located in front of the premises known as 315 Marbridge Road,

Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

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144. At all times mentioned herein and prior thereto,
Defendant NATIONAL GRID, its agents, servants, employees,
associates, agencies and/or departments controlled the aforesaid
power line (wire), cable, telephone line (wire) or similar wire and
poles located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

145. At all times mentioned herein and prior thereto,
Defendant NATIONAL GRID, its agents, servants, employees,
associates, agencies and/or departments supervised the aforesaid
power line (wire), cable, telephone line (wire) or similar wire and
poles located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

146. At all times mentioned herein and prior thereto,
Defendant NATIONAL GRID, lts agents, servants, employees,
associates, agencies and/or departments inspected the aforesaid
power line (wire), cable, telephone line (wire) or similar wire and
poles located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

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147. At all times mentioned herein and prior thereto,
Defendant NATIONAL GRID, its agents, servants, employees,
associates, agencies and/or departments leased the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
located in front of the premises known as 315 Marbridge Road,

Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

148. At all times mentioned herein and prior thereto,
Defendant NATIONAL GRID, its agents, servants, employees,
associates, agencies and/or departments repaired the aforesaid
power line (wire), cable, telephone line (wire) or similar wire and
poles located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

149. At all times mentioned herein and prior thereto,
Defendant NATIONAL GRID, its agents, servants, employees,
associates, agencies and/or departments supervised repairs to the
aforesaid power line (wire), cable, telephone line (wire) or
similar wire and poles located in front of the premises known as
315 Marbridge Road, Village of Lawrence, Town of Hempstead, County

of Nassau and State of New York.

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150. On or about September 6, 2016, Defendant NATIONAL
GRID, its agents, servants, employees, associates, agencies and/or
departments negligently and carelessly allowed, caused and/or
permitted the aforesaid power line power line (wire), cable,
telephone line (wire) or similar wire and poles located in front of
the property known as 315 Marbridge Road, Village of Lawrence, Town
of Hempstead, County of Nassau and State of New York to be, become,

and remain in a dangerous and defective condition.

151. At all times mentioned herein and prior thereto,
Defendant NATIONAL GRID, its agents, servants, employees,
associates, agencies and/or departments maintained the aforesaid
tree located on the premises known as 315 Marbridge Road, Village
of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

152. At all times mentioned herein and prior thereto,
Defendant NATIONAL GRID, its agents, servants, employees,
associates, agencies and/or departments managed the aforesaid tree
located on the premises known as 315 Marbridge Road, Village of
Lawrence, Town of Hempstead, County of Nassau and State of New

York.

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153. At all times mentioned herein and prior thereto,
Defendant NATIONAL GRID, its agents, servants, employees,
associates, agencies and/or departments controlled the aforesaid
tree located on the premises known as 315 Marbridge Road, Village

of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

154. At all times mentioned herein and prior thereto,
Defendant NATIONAL GRID, its agents, servants, employees,
associates, agencies and/or departments supervised the aforesaid
tree located on the premises known as 315 Marbridge Road, Village

of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

155. At all times mentioned herein and prior thereto,
Defendant NATIONAL GRID, its agents, servants, employees,
associates, agencies and/or departments inspected the aforesaid
tree located on the premises known as 315 Marbridge Road, Village

of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

i156. At all times mentioned herein and prior thereto,

Defendant NATIONAL GRID, its agents, servants, employees,

associates, agencies and/or departments supervised maintenance to

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the aforesaid tree located on the premises known as 315 Marbridge
Road, Village of Lawrence, Town of Hempstead, County of Nassau and

State of New York.

157. On or about September 6, 2016, Defendant NATIONAL
GRID, its agents, servants, employees, associates, agencies and/or
departments negligently and carelessly allowed, caused and/or
permitted the aforesaid tree located on the premises known as 315
Marbridge Road, Village of Lawrence, Town of Hempstead, County of
Nassau and State of New York to be, become, and remain in a

dangerous and defective condition.

158. At all times mentioned herein and prior thereto,
Defendant NATIONAL GRID, its agents, servants, employees,
associates, agencies and/or departments maintained the aforesaid
tree located in front of the premises known as 315 Marbridge Road,

Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

159. At all times mentioned herein and prior thereto,
Defendant NATIONAL GRID, its agents, servants, employees,
associates, agencies and/or departments managed the aforesaid tree
located in front of the premises known as 315 Marbridge Road,

Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

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160. At all times mentioned herein and prior thereto,
Defendant NATIONAL GRID, its agents, servants, employees,
associates, agencies and/or departments controlled the aforesaid
tree located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

161. At all times mentioned herein and prior thereto,
Defendant NATIONAL GRID, its agents, servants, employees,
associates, agencies and/or departments supervised the aforesaid
tree located in front of the premises known as 315 Marbridge Road,

Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

162. At all times mentioned herein and prior thereto,
Defendant NATIONAL GRID, its agents, servants, employees,
associates, agencies and/or departments inspected the aforesaid
tree located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

163. At all times mentioned herein and prior thereto,

Defendant NATIONAL GRID, its agents, servants, employees,

associates, agencies and/or departments supervised maintenance to

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the aforesaid tree located in front of the premises known as 315
Marbridge Road, Village of Lawrence, Town of Hempstead, County of

Nassau and State of New York.

164. On or about September 6, 2016, Defendant NATIONAL
GRID, its agents, servants, employees, associates, agencies and/or
departments negligently and carelessly allowed, caused and/or
permitted the aforesaid tree located in front of the premises known
as 315 Marbridge Road, Village of Lawrence, Town of Hempstead,

County of Nassau and State of New York to be, become, and remain in

a dangerous and defective condition.

165. At all times mentioned hereinafter, Defendant
NATIONAL GRID, its agents, servants, employees, associates,
agencies and/or departments was under a duty to operate, control,
Manage, maintain, repair, supervise and inspect the aforesaid
premises specifically the tree located in front of the premises
known as 315 Marbridge Road, Village of Lawrence, Town of
Hempstead, County of Nassau and State of New York in a safe, proper
and lawful fashion, free from traps and conditions constituting a
danger and menace to persons lawfully and properly using the
roadways so that no person lawfully thereupon would be caused to

sustain personal injuries and/or damages.

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166. At all times mentioned hereinafter, Defendant
NATIONAL GRID, its agents, servants, employees, associates,
agencies and/or departments was under a duty to operate, control,
manage, maintain, repair, supervise and inspect the aforesaid
premises specifically the tree located on the premises known as 315
Marbridge Road, Village of Lawrence, Town of Hempstead, County of
Nassau and State of New York in a safe, proper and lawful fashion,
free from traps and conditions constituting a danger and menace to
persons lawfully and properly using the roadways so that no person
lawfully thereupon would be caused to sustain personal injuries

and/or damages.

167. At all times mentioned hereinafter, Defendant
NATIONAL GRID, its agents, servants, employees, associates,
agencies and/or departments was under a duty to operate, control,
Manage, Maintain, repair, supervise and inspect the aforesaid power
line (wire), cable, telephone line (wire) or similar wire located
in front of the premises known as 315 Marbridge Road, Village of
Lawrence, Town of Hempstead, County of Nassau and State of New York
in a safe, proper and lawful fashion, free from traps and
conditions constituting a danger and menace to persons lawfully and
properly using the roadways so that no person lawfully thereupon

would be caused to sustain personal injuries and/or damages.

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168. At all times mentioned hereinafter, Defendant
NATIONAL GRID, its agents, servants, employees, associates,
agencies and/or departments was under a duty to operate, control,
manage, maintain, repair, supervise and inspect the aforesaid power
line (wire), cable, telephone line (wire) or similar wire located
on the premises known as 315 Marbridge Road, Village of Lawrence,
Town of Hempstead, County of Nassau and State of New York in a
safe, proper and lawful fashion, free from traps and conditions
constituting a danger and menace to persons lawfully and properly
using the roadways so that no person lawfully thereupon wouid be

caused to sustain personal injuries and/or damages.

169. At all times mentioned hereinafter, Defendant
NATIONAL GRID, its agents, servants, employees, associates,
agencies and/or departments was under a duty to operate, control,
manage, maintain, repair, supervise and inspect the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
in front of the premises known as 315 Marbridge Road, Village of
Lawrence, Town of Hempstead, County of Nassau and State of New York
in a safe, proper and lawful fashion, free from traps and
conditions constituting a danger and menace to persons lawfully and
properly using the roadways so that no person lawfully thereupon

would be caused to sustain personal injuries and/or damages.

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170. At all times mentioned hereinafter, Defendant
NATIONAL GRID, its agents, servants, employees, associates,
agencies and/or departments was under a duty to operate, control,
manage, maintain, repair, supervise and inspect the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
on the premises known as 315 Marbridge Road, Village of Lawrence,
Town of Hempstead, County of Nassau and State of New York ina
safe, proper and lawful fashion, free from traps and conditions
constituting a danger and menace to persons lawfully and properly
using the roadways so that no person lawfully thereupon would be

caused to sustain personal injuries and/or damages.

171. At all times mentioned hereinafter, Defendant
NATIONAL GRID, its agents, servants, employees, associates,
agencies and/or departments was under a duty to operate, control,
manage, maintain, repair, supervise and inspect the aforesaid
downed low hanging power line (wire), cable, telephone line (wire)
or similar wire on Meadow Lane approximately twenty (20) feet south
of Marbridge Road, Village of Lawrence, Town of Hempstead, County
of Nassau and State of New York in a safe, proper and lawful
fashion, free from traps and conditions constituting a danger and
menace to persons lawfully and properly using the roadways so that
no person lawfully thereupon would be caused to sustain personal

injuries and/or damages.

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172. At all times hereinafter mentioned, and prior
thereto, Defendant NATIONAL GRID, its agents, servants, employees,
associates, agencies and/or departments was charged with the duty
of complying with the Village of Lawrence Codes, Town of Hempstead

Codes, County of Nassau Codes and New York Property Law.

i173. At all times mentioned herein, Defendant PSEG

derived substantial revenue from engaging in business in the State

of New York.

174. At all times mentioned herein, Defendant FPSEG
expected or should have expected its acts, omissions and activities

to have consequences within the State of New York.

175. At all times mentioned herein and prior thereto,
Defendant PSEG, its agents, servants, employees, associates,
agencies and/or departments caused the aforesaid power line (wire),
cable, telephone line (wire) or similar wire to be placed on Meadow
Lane, approximately twenty (20) feet south of Marbridge Road and
Marbridge Road, Village of Lawrence, Town of Hempstead, County of

Nassau and State of New York.

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176. At all times mentioned herein and prior thereto,
Defendant PSEG, its agents, servants, employees, associates,
agencies and/or departments owned the aforesaid power line (wire),
cable, telephone line (wire) or similar wire located on Meadow
Lane, approximately twenty (20) feet south of Marbridge Road and

Marbridge Road, Village of Lawrence, Town of Hempstead, County of

Nassau and State of New York.

177. At all times mentioned herein and prior thereto,
Defendant PSEG, its agents, servants, employees, associates,
agencies and/or departments maintained the aforesaid power line
(wire), cable, telephone line (wire) or similar wire located on
Meadow Lane, approximately twenty (20) feet south of Marbridge Road
and Marbridge Road, Village of Lawrence, Town of Hempstead, County

of Nassau and State of New York.

178. At all times mentioned herein and prior thereto,
Defendant PSEG, its agents, servants, employees, associates,
agencies and/or departments managed the aforesaid power line
(wire), cable, telephone line (wire) or similar wire located on
Meadow Lane, approximately twenty (20) feet south of Marbridge Road
and Marbridge Road, Village of Lawrence, Town of Hempstead, County

of Nassau and State of New York.

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179. At all times mentioned herein and prior thereto,
Defendant PSEG, its agents, servants, employees, associates,
agencies and/or departments controlled the aforesaid power line
(wire), cable, telephone line (wire) or similar wire located on
Meadow Lane, approximately twenty (20) feet south of Marbridge Road

and Marbridge Road, Village of Lawrence, Town of Hempstead, County

of Nassau and State of New York.

180. At all times mentioned herein and prior thereto,
Defendant PSEG, its agents, servants, employees, associates,
agencies and/or departments supervised the aforesaid power line
(wire), cable, telephone line (wire) or similar wire located on
Meadow Lane, approximately twenty (20) feet south of Marbridge Road

and Marbridge Road, Village of Lawrence, Town of Hempstead, County

of Nassau and State of New York.

181. At all times mentioned herein and prior thereto,
Defendant PSEG, its agents, servants, employees, associates,
agencies and/or departments inspected the aforesaid power line
(wire), cable, telephone line (wire) or similar wire located on
Meadow Lane, approximately twenty (20) feet south of Marbridge Road

and Marbridge Road, Village of Lawrence, Town of Hempstead, County

of Nassau and State of New York.

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182. At all times mentioned herein and prior thereto,
Defendant PSEG, its agents, servants, employees, associates,
agencies and/or departments leased the aforesaid power line (wire),
cable, telephone line (wire} or similar wire located on Meadow
Lane, approximately twenty (20) feet south of Marbridge Road and
Marbridge Road, Village of Lawrence, Town of Hempstead, County of

Nassau and State of New York.

183. At all times mentioned herein and prior thereto,
Defendant PSEG, its agents, servants, employees, associates,
agencies and/or departments repaired the aforesaid power line
(wire), cable, telephone line (wire) or similar wire located on
Meadow Lane, approximately twenty (20) feet south of Marbridge Road
and Marbridge Road, Village of Lawrence, Town of Hempstead, County

of Nassau and State of New York.

184. At ail times mentioned herein and prior thereto,
Defendant PSEG, its agents, servants, employees, associates,
agencies and/or departments supervised repairs to the aforesaid
power line (wire), cable, telephone line (wire) or similar wire
located on Meadow Lane, approximately twenty (20) feet south of
Marbridge Road and Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

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185. On or about September 6, 2016, Defendant PSEG, its
agents, servants, employees, associates, agencies and/or
departments negligently and carelessly allowed, caused and
permitted the aforesaid power line (wire), cable, telephone line
(wire) or similar wire located on Meadow Lane, approximately twenty
(20) feet south of Marbridge Road and Marbridge Road, Village of
Lawrence, Town of Hempstead, County of Nassau and State of New York

to be, become, and remain in a dangerous and defective condition.

186. At all times mentioned herein and prior thereto,
Defendant PSEG, its agents, servants, employees, associates,
agencies and/or departments caused the aforesaid power line (wire),
cable, telephone line (wire) or similar wire and poles to be placed
on Meadow Lane and Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

187. At all times mentioned herein and prior thereto,
Defendant PSEG, its agents, servants, employees, associates,
agencies and/or departments owned the aforesaid power line (wire),
cable, telephone line (wire) or similar wire and poles located on
Meadow Lane and Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

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188. At all times mentioned herein and prior thereto,
Defendant PSEHG, its agents, servants, employees, associates,
agencies and/or departments maintained the aforesaid power line
(wire), cable, telephone line (wire) or similar wire located on
Meadow Lane and Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

189. At all times mentioned herein and prior thereto,
Defendant PSEG, its agents, servants, employees, associates,
agencies and/or departments managed the aforesaid power line
(wire), cable, telephone line (wire) or similar wire and poles
located on Meadow Lane and Marbridge Road, Village of Lawrence,

Town of Hempstead, County of Nassau and State of New York.

190. At all times mentioned herein and prior thereto,
Defendant PSEG, its agents, servants, employees, associates,
agencies and/or departments controlled the aforesaid power line
(wire), cable, telephone line (wire) or similar wire and poles
located on Meadow Lane and Marbridge Road, Village of Lawrence,

Town of Hempstead, County of Nassau and State of New York.

191. At all times mentioned herein and prior thereto,
Defendant PSEG, its agents, servants, employees, associates,

agencies and/or departments supervised the aforesaid power jiine

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(wire), cable, telephone line (wire) or similar wire and poles
located on Meadow Lane and Marbridge Road, Village of Lawrence,

Town of Hempstead, County of Nassau and State of New York.

192. At all times mentioned herein and prior thereto,
Defendant PSEG, its agents, servants, employees, associates,
agencies and/or departments inspected the aforesaid power line
(wire), cable, telephone line (wire) or similar wire and poles
located on Meadow Lane and Marbridge Road, Village of Lawrence,

Town of Hempstead, County of Nassau and State of New York.

193. At all times mentioned herein and prior thereto,
Defendant PSEG, its agents, servants, employees, associates,
agencies and/or departments leased the aforesaid power line (wire),
cable, telephone line (wire) or similar wire and poles located on
Meadow Lane and Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

194. At all times mentioned herein and prior thereto,
Defendant PSEG, its agents, servants, employees, associates,
agencies and/or departments repaired the aforesaid power line
(wire), cable, telephone line (wire) or similar wire and poles
located on Meadow Lane and Marbridge Road, Village of Lawrence,

Town of Hempstead, County of Nassau and State of New York.

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195. At all times mentioned herein and prior thereto,
Defendant PSEG, its agents, servants, employees, associates,
agencies and/or departments supervised repairs to the aforesaid
power line (wire), cable, telephone line (wire) or similar wire and
poles located on Meadow Lane and Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New

York.

196. On or about September 6, 2016, Defendant PSEG, its
agents, servants, employees, associates, agencies and/or
departments negligently and carelessly allowed, caused and/or
permitted the aforesaid power line (wire), cable, telephone line
(wire) or similar wire and poles located on Meadow Lane and
Marbridge Road, Villiage of Lawrence, Town of Hempstead, County of
Nassau and State of New York to be, become, and remain in a

dangerous and defective condition.

197. At all times mentioned herein and prior thereto,
Defendant PSEG, its agents, servants, employees, associates,
agencies and/or departments caused the aforesaid power line (wire),
cable, telephone line (wire) or similar wire and poles to be placed
on the premises known as 315 Marbridge Road, Village of Lawrence,

Town of Hempstead, County of Nassau and State of New York.

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198. At all times mentioned herein and prior thereto,
Defendant PSEG, its agents, servants, employees, associates,
agencies and/or departments owned the aforesaid power line (wire),
cable, telephone line (wire) or similar wire and poles located on
the premises known as 315 Marbridge Road, Village of Lawrence, Town

of Hempstead, County of Nassau and State of New York.

199. At all times mentioned herein and prior thereto,
Defendant PSEG, its agents, servants, employees, associates,
agencies and/or departments maintained the aforesaid power line
(wire), cable, telephone line (wire) or similar wire and poles
located on the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New

York.

200. At all times mentioned herein and prior thereto,
Defendant PSEG, its agents, servants, employees, associates,
agencies and/or departments managed the aforesaid power line
(wire), cable, telephone line (wire) or similar wire and poles
located on the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New

York.

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201. At ail times mentioned herein and prior thereto,
Defendant PSEG, its agents, servants, employees, associates,
agencies and/or departments controlled the aforesaid power line
(wire), cable, telephone line (wire) or similar wire and poles
located on the premises known as 315 Marbridge Road, Village of
Lawrence, Town of Hempstead, County of Nassau and State of New

York.

202. At all times mentioned herein and prior thereto,
Defendant PSEG, its agents, servants, employees, associates,
agencies and/or departments supervised the aforesaid power line
(wire), cable, telephone line (wire) or similar wire and poles
located on the premises known as 315 Marbridde Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New

York.

203. At all times mentioned herein and prior thereto,
Defendant PSEG, its agents, servants, employees, associates,
agencies and/or departments inspected the aforesaid power line
(wire), cable, telephone line (wire) or similar wire and poles
located on the premises known as 315 Marbridge Road, Village of
Lawrence, Town of Hempstead, County of Nassau and State of New

York.

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204. At all times mentioned herein and prior thereto,
Defendant PSEG, its agents, servants, employees, associates,
agencies and/or departments leased the aforesaid power line (wire),
cable, telephone line (wire) or similar wire and poles located on
the premises known as 315 Marbridge Road, Village of Lawrence, Town

of Hempstead, County of Nassau and State of New York.

205. At all times mentioned herein and prior thereto,
Defendant PSEG, its agents, servants, employees, associates,
agencies and/or departments repaired the aforesaid power line
(wire), cable, telephone line (wire) or similar wire and poles
located on the premises known as 315 Marbridge Road, Village of
Lawrence, Town of Hempstead, County of Nassau and State of New

York.

206. At all times mentioned herein and prior thereto,
Defendant PSEG, its agents, servants, employees, associates,
agencies and/or departments supervised repairs to the aforesaid
power line (wire), cable, telephone line (wire) or similar wire and
poles located on the premises known as 315 Marbridge Road, Village
of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

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207. On or about September 6, 2016, Defendant PSEG, its
agents, servants, employees, associates, agencies and/or
departments negligently and carelessly allowed, caused and/or
permitted the aforesaid power iine (wire), cable, telephone iine
(wire) or similar wire and poles located on the premises known as
315 Marbridge Road, Village of Lawrence, Town of Hempstead, County
of Nassau and State of New York to be, become, and remain in a

dangerous and defective condition.

208. At all times mentioned herein and prior thereto,
Defendant PSEG, its agents, servants, employees, associates,
agencies and/or departments caused the aforesaid power line (wire),
cable, telephone line (wire) or similar wire and poles to be placed
in front of the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New.

209. At all times mentioned herein and prior thereto,
Defendant PSEG, its agents, servants, employees, associates,
agencies and/or departments owned the aforesaid power line (wire),
cable, telephone line (wire) or similar wire and poles located in
front of the premises known as 315 Marbridge Road, Village of
Lawrence, Town of Hempstead, County of Nassau and State of New

York.

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210. At all times mentioned herein and prior thereto,
Defendant PSEG, its agents, servants, employees, associates,
agencies and/or departments maintained the aforesaid power line
(wire), cable, telephone line (wire) or similar wire and poles
located in front of the premises known as 315 Marbridge Road,

Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

211. At all times mentioned herein and prior thereto,
Defendant PSEG, its agents, servants, employees, associates,
agencies and/or Gepartments managed the aforesaid power line
(wire), cable, telephone line (wire) or similar wire and poles
located in front of the premises known as 315 Marbridge Road,

Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

212. At all times mentioned herein and prior thereto,
Defendant PSEG, its agents, servants, employees, associates,
agencies and/or departments controlled the aforesaid power line
(wire), cable, telephone line (wire) or similar wire and poles
located in front of the premises known as 315 Marbridge Road,

Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

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213. At all times mentioned herein and prior thereto,
Defendant PSEG, its agents, servants, employees, associates,
agencies and/or departments supervised the aforesaid power line
(wire), cable, telephone line (wire) or similar wire and poles
located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

214. At all times mentioned herein and prior thereto,
Defendant PSEG, its agents, servants, employees, associates,
agencies and/or departments inspected the aforesaid power line
(wire), cable, telephone line (wire) or similar wire and poles
located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

215. At all times mentioned herein and prior thereto,
Defendant PSEG, its agents, servants, employees, associates,
agencies and/or departments leased the aforesaid power line (wire),
cable, telephone line (wire) or similar wire and poles located in
front of the premises known as 315 Marbridge Road, Village of
Lawrence, Town of Hempstead, County of Nassau and State of New

York.

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216. At all times mentioned herein and prior thereto,
Defendant PSEG, its agents, servants, employees, associates,
agencies and/or departments repaired the aforesaid power line
(wire), cable, telephone line (wire) or similar wire and poles
located in front of the premises known as 315 Marbridge Road,

Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

217. At ali times mentioned herein and prior thereto,
Defendant PSEG, its agents, servants, employees, associates,
agencies and/or departments supervised repairs to the aforesaid
power line (wire), cable, telephone line (wire) or similar wire and
poles located in front of the premises known as 315 Marbridge Road,

Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

218. On or about September 6, 2016, Defendant PSEG, its
agents, servants, employees, associates, agencies and/or
departments negligently and carelessly allowed, caused and/or
permitted the aforesaid power line (wire), cable, telephone line
(wire) or similar wire and poles located in front of the premises
known as 315 Marbridge Road, Village of Lawrence, Town of
Hempstead, County of Nassau and State of New York to be, become,

and remain in a dangerous and defective condition.

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219. At ail times mentioned herein and prior thereto,
Defendant PSEG, its agents, servants, employees, associates,
agencies and/or departments maintained the aforesaid tree located
on the premises known as 315 Marbridge Road, Village of Lawrence,

Town of Hempstead, County of Nassau and State of New York.

220. At all times mentioned herein and prior thereto,
Defendant PSEG, its agents, servants, employees, associates,
agencies and/or departments managed the aforesaid tree located on
the premises known as 315 Marbridge Road, Village of Lawrence, Town

of Hempstead, County of Nassau and State of New York.

221. At all times mentioned herein and prior thereto,
Defendant PSEG, its agents, servants, employees, associates,
agencies and/or departments controlled the aforesaid tree located
on the premises known as 315 Marbridge Road, Village of Lawrence,

Town of Hempstead, County of Nassau and State of New York.

222. At all times mentioned herein and prior thereto,
Defendant PSEG, its agents, servants, employees, associates,
agencies and/or departments supervised the aforesaid tree located
on the premises known as 315 Marbridge Road, Village of Lawrence,

Town of Hempstead, County of Nassau and State of New York.

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223. At all times mentioned herein and prior thereto,
Defendant PSEG, its agents, servants, employees, associates,
agencies and/or departments inspected the aforesaid tree located on
the premises known as 315 Marbridge Road, Village of Lawrence, Town

of Hempstead, County of Nassau and State of New York.

224. At all times mentioned herein and prior thereto,
Defendant PSEG, its agents, servants, employees, associates,
agencies and/or departments supervised maintenance to the aforesaid
tree located on the premises known as 315 Marbridge Road, Village

of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

225. On or about September 6, 2016, Defendant PSEG, its
agents, servants, employees, associates, agencies and/or
departments negligently and carelessly allowed, caused and/or
permitted the aforesaid tree located on the premises known as 315
Marbridge Road, Village of Lawrence, Town of Hempstead, County of
Nassau and State of New York to be, become, and remain in a

dangerous and defective condition.

226. At all times mentioned herein and prior thereto,
Defendant PSEG, its agents, servants, employees, associates,

agencies and/or departments maintained the aforesaid tree located

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in front of the premises known as 315 Marbridge Road, Village of
Lawrence, Town of Hempstead, County of Nassau and State of New

York.

227. At all times mentioned herein and prior thereto,
Defendant PSEG, its agents, servants, employees, associates,
agencies and/or departments managed the aforesaid tree located in
front of the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New

York.

228. At all times mentioned herein and prior thereto,
Defendant PSEG, its agents, servants, employees, associates,
agencies and/or departments controlled the aforesaid tree located
in front of the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New

York.

229. At all times mentioned herein and prior thereto,
Defendant PSEG, its agents, servants, employees, associates,
agencies and/or departments supervised the aforesaid tree located
in front of the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New

York.

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230. At all times mentioned herein and prior thereto,
Defendant PSEG, its agents, servants, employees, associates,
agencies and/or departments inspected the aforesaid tree located in
front of the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New

York.

231. At all times mentioned herein and prior thereto,
Defendant PSEG, its agents, servants, employees, associates,
agencies and/or departments supervised maintenance to the aforesaid
tree located in front of the premises known as 315 Marbridge Road,

Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

232. On or about September 6, 2016, Defendant PSEG, its
agents, servants, employees, associates, agencies and/or
departments negligently and carelessly allowed, caused and/or
permitted the aforesaid tree located in front of the premises known
as 315 Marbridge Road, Village of Lawrence, Town of Hempstead,
County of Nassau and State of New York to be, become, and remain in

a Gangerous and defective condition.

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233. At all times mentioned hereinafter, Defendant PSEG,
its agents, servants, employees, associates, agencies and/or
departments was under a duty to operate, control, manage, maintain,
repair, supervise and inspect the aforesaid premises specifically
the tree located in front of the premises known as 315 Marbridge
Road, Village of Lawrence, Town of Hempstead, County of Nassau and
State of New York in a safe, proper and lawful fashion, free from
traps and conditions constituting a danger and menace to persons
lawfully and properly using the roadways so that no person lawfully
thereupon would be caused to sustain personal injuries and/or

damages.

234. At all times mentioned hereinafter, Defendant PSEG,
its agents, servants, employees, associates, agencies and/or
departments was under a duty to operate, control, manage, maintain,
repair, supervise and inspect the aforesaid premises specifically
the tree located on the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State
of New York in a safe, proper and lawful fashion, free from traps
and conditions constituting a danger and menace to persons lawfully
and properly using the roadways sc that no person lawfully
thereupon would be caused to sustain personal injuries and/or

damages.

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235. At all times mentioned hereinafter, Defendant PSEG,
its agents, servants, employees, associates, agencies and/or
departments was under a duty to operate, control, manage, maintain,
repair, supervise and inspect the aforesaid power line (wire),
cable, telephone line (wire) or similar wire located in front of
the premises known as 315 Marbridge Road, Viliage of Lawrence, Town
of Hempstead, County of Nassau and State of New York in a safe,
proper and lawful fashion, free from traps and conditions
constituting a danger and menace to persons lawfully and properly
using the roadways so that no person lawfully thereupon would be

caused to sustain personal injuries and/or damages.

236. At all times mentioned hereinafter, Defendant PSEG,
its agents, servants, employees, associates, agencies and/or
departments was under a duty to operate, control, manage, maintain,
repair, supervise and inspect the aforesaid power line (wire),
cable, telephone line (wire) or similar wire located on the
premises known as 315 Marbridge Road, Village of Lawrence, Town of
Hempstead, County of Nassau and State of New York in a safe, proper
and lawful fashion, free from traps and conditions constituting a
danger and menace to persons lawfully and properly using the
roadways so that no person lawfully thereupon would be caused to

sustain personal injuries and/or damages.

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237. At all times mentioned hereinafter, Defendant PSEG,
its agents, servants, employees, associates, agencies and/or
departments was under a duty to operate, control, manage, maintain,
repair, supervise and inspect the aforesaid power line (wire),
cable, telephone line (wire} or similar wire and poles located in
front of the premises known as 315 Marbridge Road, Village of
Lawrence, Town of Hempstead, County of Nassau and State of New York
in a safe, proper and lawful fashion, free from traps and
conditions constituting a danger and menace to persons lawfully and
properly using the roadways so that no person lawfully thereupon

would be caused to sustain personal injuries and/or damages.

238. At all times mentioned hereinafter, Defendant PSEG,
its agents, servants, employees, associates, agencies and/or
departments was under a duty to operate, control, manage, maintain,
repair, supervise and inspect the aforesaid power line (wire),
cable, telephone line (wire) or similar wire and poles located on
the premises known as 315 Marbridge Road, Village of Lawrence, Town
of Hempstead, County of Nassau and State of New York in a safe,
proper and Jlawful fashion, free from traps and conditions
constituting a danger and menace to persons iawfully and properly
using the roadways so that no person lawfully thereupon would be

caused to sustain personal injuries and/or damages.

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239. At all times mentioned hereinafter, Defendant PSEG,
its agents, servants, employees, associates, agencies and/or
departments was under a duty to operate, control, manage, maintain,
repair, supervise and inspect the aforesaid downed low hanging power
line (wire), cable, telephone line (wire) or similar wire on Meadow
Lane approximately twenty (20) feet south of Marbridge Road, Village
of Lawrence, Town of Hempstead, County of Nassau and State of New
York in a safe, proper and lawful fashion, free from traps and
conditions constituting a danger and menace to persons lawfully and
properly using the roadways so that no person lawfully thereupon

would be caused to sustain personal injuries and/or damages.

240. At all times hereinafter mentioned, and prior
thereto, Defendant PSEG, its agents, servants, employees,
associates, agencies and/or departments was charged with the duty
of complying with the Village of Lawrence Codes, Town of Hempstead

Codes, County of Nassau Codes and New York Property Law.

241. On or about October 24, 2016, Plaintiff caused a
Notice of Claim to be served upon Defendant VILLAGE OF LAWRENCE, and

Said notice was served within ninety (90) days of the occurrence

herein.

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242. More than thirty (30) days have elapsed since the
presentation of said Notice of Claim, and said claim remains
unadjusted and Defendant VILLAGE OF LAWRENCE has wholly refused,

failed and neglected to make any adjustments of same.

243. Prior to the commencement of this action a statutory
50(h) hearing of the Plaintiff was held on February 1, 2017 by

Defendant VILLAGE OF LAWRENCE.

244. At all times mentioned herein and prior thereto,
Defendant VILLAGE GF LAWRENCE, its agents, servants, employees,
associates, agencies and/or departments caused the aforesaid power
line (wire), cable, telephone line (wire) or similar wire to be
placed on Meadow Lane, approximately twenty (20) feet south of
Marbridge Road and Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

245. At all times mentioned herein and prior thereto,
Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,
associates, agencies and/or departments owned the aforesaid power
line (wire), cable, telephone line (wire) or similar wire located
on Meadow Lane, approximately twenty (20) feet south of Marbridge
Road and Marbridge Road, Village of Lawrence, Town of Hempstead,

County of Nassau and State of New York.

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246. At all times mentioned herein and prior thereto,
Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,
associates, agencies and/or departments maintained the aforesaid
power line (wire), cable, telephone line (wire) or similar wire
located on Meadow Lane, approximately twenty (20) feet south of
Marbridge Road and Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

247. At all times mentioned herein and prior thereto,
Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,
associates, agencies and/or departments managed the aforesaid power
line (wire}, cable, telephone line (wire) or similar wire located
on Meadow Lane, approximately twenty (20) feet south of Marbridge
Road and Marbridge Road, Village of Lawrence, Town of Hempstead,

County of Nassau and State of New York.

248. At all times mentioned herein and prior thereto,
Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,
associates, agencies and/or departments controlled the aforesaid
power line (wire), cable, telephone line (wire) or similar wire
located on Meadow Lane, approximately twenty (20) feet south of
Marbridge Road and Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

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249. At all times mentioned herein and prior thereto,
Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,
associates, agencies and/or departments supervised the aforesaid
power line (wire), cable, telephone line (wire) or similar wire
located on Meadow Lane, approximately twenty (20) feet south of
Marbridge Road and Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

250. At all times mentioned herein and prior thereto,
Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,
associates, agencies and/or departments inspected the aforesaid
power line (wire), cable, telephone line (wire) or similar wire
located on Meadow Lane, approximately twenty (20) feet south of
Marbridge Road and Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

251. At all times mentioned herein and prior thereto,
Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,
associates, agencies and/or departments leased the aforesaid power
line (wire), cable, telephone line (wire) or similar wire located
on Meadow Lane, approximately twenty (20) feet south of Marbridge
Road and Marbridge Road, Village of Lawrence, Town of Hempstead,

County of Nassau and State of New York.

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252, At all times mentioned herein and prior thereto,
Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,
associates, agencies and/or departments repaired the aforesaid power
lane (wire), cable, telephone line (wire) or similar wire located
on Meadow Lane, approximately twenty (20} feet south of Marbridge
Road and Marbridge Road, Village of Lawrence, Town of Hempstead,

County of Nassau and State of New York.

253. At all times mentioned herein and prior thereto,
Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,
associates, agencies and/or departments supervised repairs to the
aforesaid power line (wire), cable, telephone line (wire) or similar
wire located on Meadow Lane, approximately twenty (20) feet south
of Marbridge Road and Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

254. At all times mentioned herein and prior thereto,
Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,
associates, agencies and/or departments inspected the aforesaid
power line (wire), cable, telephone line (wire) or similiar wire
located on Meadow Lane, approximately twenty (20) feet south of
Marbridge Road and Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

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255. On or about September 6, 2016, Defendant VILLAGE OF
LAWRENCE, its agents, servants, employees, associates, agencies
and/or departments negligently and carelessly allowed, caused and
permitted the aforesaid power line (wire), cable, telephone line
(wire) or similar wire located on Meadow Lane, approximately twenty
(20) feet south of Marbridge Road and Marbridge Road, Village of
Lawrence, Town of Hempstead, County of Nassau and State of New York

to be, become, and remain in a dangerous and defective condition.

256. At all times mentioned herein and prior thereto,
Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,
associates, agencies and/or departments caused the aforesaid power
line (wire), cable, telephone line (wire) or similar wire poles to
be placed on Meadow Lane and Marbridge Road, Village of Lawrence,

Town of Hemostead, County of Nassau and State of New York.

257. At all times mentioned herein and prior thereto,
Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,
associates, agencies and/or departments owned the aforesaid power
line (wire), cable, telephone line (wire) or similar wire poles
located on Meadow Lane and Marbridge Road, Village of Lawrence, Town

of Hempstead, County of Nassau and State of New York.

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258. At all times mentioned herein and prior thereto,
Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,
associates, agencies and/or departments maintained the aforesaid
power line (wire), cable, telephone line (wire) or similar wire
poles located on Meadow Lane and Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

259. At all times mentioned herein and prior thereto,
Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,
associates, agencies and/or departments managed the aforesaid power
line (wire), cable, telephone line {wire) or similar wire poles
located on Meadow Lane and Marbridge Road, Village of Lawrence, Town

of Hempstead, County of Nassau and State of New York.

260. At all times mentioned herein and prior thereto,
Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,
associates, agencies and/or departments controlled the aforesaid
power line (wire), cable, telephone line (wire) or similar wire
poles located on Meadow Lane and Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

261. At all times mentioned herein and prior thereto,
Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,

associates, agencies and/or departments supervised the aforesaid

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power line (wire), cable, telephone line (wire) or similar wire
poles located on Meadow iane and Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

262. At all times mentioned herein and prior thereto,
Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,
associates, agencies and/or departments inspected the aforesaid
power line (wire), cable, telephone line (wire) or similar wire
poles located on Meadow Lane and Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

263. At all times mentioned herein and prior thereto,
Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,
associates, agencies and/or departments leased the aforesaid power
line (wire), cable, telephone line (wire) or similar wire poles
located on Meadow Lane and Marbridge Road, Village of Lawrence, Town

of Hempstead, County of Nassau and State of New York.

264. At all times mentioned herein and prior thereto,
Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,
associates, agencies and/or departments repaired the aforesaid power
line (wire), cable, telephone line (wire) or similar wire poles
located on Meadow Lane and Marbridge Road, Village of Lawrence, Town

of Hempstead, County of Nassau and State of New York.

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265. At all times mentioned herein and prior thereto,
Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,
associates, agencies and/or departments supervised repairs to the
aforesaid power line (wire), cable, telephone line (wire) or similar
wire poles located on Meadow Lane and Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

266. On or about September 6, 2016, Defendant VILLAGE OF
LAWRENCE, its agents, servants, employees, associates, agencies
and/or departments negligently and carelessly allowed, caused and/or
permitted the aforesaid power line (wire), cable, telephone line
(wire) or similar wire poles located on Meadow Lane and Marbridge
Road, Village of Lawrence, Town of Hempstead, County of Nassau and
State of New York to be, become, and remain in a dangerous and

defective condition.

267. At all times mentioned herein and prior thereto,
Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,
associates, agencies and/or departments caused the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
to be placed on the premises known as 315 Marbridge Road, Village

of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

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268. At all times mentioned herein and prior thereto,
Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,
associates, agencies and/or departments owned the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
located on the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

269. At all times mentioned herein and prior thereto,
Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,
associates, agencies and/or departments maintained the aforesaid
power line (wire), cable, telephone line (wire) or similar wire and
poles located on the premises known as 315 Marbridge Road, Village
of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

270. At all times mentioned herein and prior thereto,
Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,
associates, agencies and/or departments managed the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
located on the premises known as 315 Marbridge Road, Villiage of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

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271. At all times mentioned herein and prior thereto,
Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,
associates, agencies and/or departments controlled the aforesaid
power line (wire), cable, telephone line (wire) or similar wire and
poles located on the premises known as 315 Marbridge Road, Village
of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

272. At all times mentioned herein and prior thereto,
Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,
associates, agencies and/or departments supervised the aforesaid
power line (wire), cable, telephone line (wire) or similar wire and
poles located on the premises known as 315 Marbridge Road, Village
of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

273. At all times mentioned herein and prior thereto,
Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,
associates, agencies and/or departments inspected the aforesaid
power line (wire), cable, telephone line (wire) or similar wire and
poles located on the premises known as 315 Marbridge Road, Villiage
of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

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274. At all times mentioned herein and prior thereto,
Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,
associates, agencies and/or departments leased the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
located on the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

275. At all times mentioned herein and prior thereto,
Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,
associates, agencies and/or departments repaired the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
located on the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

276. At all times mentioned herein and prior thereto,
Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,
associates, agencies and/or departments supervised repairs to the
aforesaid power line (wire), cable, telephone line (wire) or similar
wire and poles located on the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

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277. On or about September 6, 2016, Defendant VILLAGE OF
LAWRENCE, its agents, servants, employees, associates, agencies
and/or departments negligently and carelessly allowed, caused and/or
permitted the aforesaid power line (wire), cable, telephone line
(wixre} or similar wire and poles to be placed on the property known
as 315 Marbridge Road, Village of Lawrence, Town of Hempstead,
County of Nassau and State of New York to be, become, and remain in

a dangerous and defective condition.

278. At all times mentioned herein and prior thereto,
Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,
associates, agencies and/or departments caused the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
to be placed in front of the premises known as 315 Marbridge Road,

Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

279. At all times mentioned herein and prior thereto,
Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,
associates, agencies and/or departments owned the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
located in front of the premises known as 315 Marbridge Road,

Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

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280. At all times mentioned herein and prior thereto,
Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,
associates, agencies and/or departments maintained the aforesaid
power line (wire), cable, telephone line (wire) or similar wire and
poles located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

281. At all times mentioned herein and prior thereto,
Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,
associates, agencies and/or departments managed the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

282. At all times mentioned herein and prior thereto,
Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,
associates, agencies and/or departments controlled the aforesaid
power line (wire), cable, telephone line (wire) or similar wire and
poles located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

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283. At all times mentioned herein and prior thereto,
Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,
associates, agencies and/or departments supervised the aforesaid
power line (wire), cable, telephone line (wire} or similar wire and
poles located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

284. At all times mentioned herein and prior thereto,
Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,
associates, agencies and/or departments inspected the aforesaid
power line (wire), cable, telephone line (wire} or similar wire and
poles located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

285. At all times mentioned herein and prior thereto,
Defendant VILLAGE OF LAWRENCE, its agents, servants, employess,
associates, agencies and/or departments leased the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

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286. At all times mentioned herein and prior thereto,
Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,
associates, agencies and/or departments repaired the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

287. At all times mentioned herein and prior thereto,
Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,
associates, agencies and/or departments supervised repairs to the’
aforesaid power line (wire), cable, telephone line (wire) or similar
wire and poles located in front of the premises known as 315
Marbridge Road, Village of Lawrence, Town of Hempstead, County of

Nassau and State of New York.

288. On or about September 6, 2016, Defendant VILLAGE OF
LAWRENCE, its agents, servants, employees, associates, agencies
and/or departments negligently and carelessly allowed, caused and/or
permitted the aforesaid power line and poles located in front of the
property known as 315 Marbridge Road, Village of Lawrence, Town of
Hempstead, County of Nassau and State of New York to be, become, and

remain in a dangerous and defective condition.

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289. At all times mentioned herein and prior thereto,

Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,

associates, agencies and/or departments maintained the aforesaid
tree located on the premises known as 315 Marbridge Road, Village

of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

290. At all times mentioned herein and prior thereto,
Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,
associates, agencies and/or departments managed the aforesaid tree
located on the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

291. At all times mentioned herein and prior thereto,
Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,
associates, agencies and/or departments controlled the aforesaid
tree located on the premises known as 315 Marbridge Road, Village

of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

292. At all times mentioned herein and prior thereto,
Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,
associates, agencies and/or departments supervised the aforesaid
tree located on the premises known as 315 Marbridge Road, Village

of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

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293, At all times mentioned herein and prior thereto,
Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,
associates, agencies and/or departments inspected the aforesaid tree
located on the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

294. At all times mentioned herein and prior thereto,
Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,
associates, agencies and/or departments supervised maintenance to
the aforesaid tree located on the premises known as 315 Marbridge

Road, Village of Lawrence, Town of Hempstead, County of Nassau and

State of New York.

295. On or about September 6, 2016, Defendant VILLAGE OF
LAWRENCE, its agents, servants, employees, associates, agencies
and/or departments negligently and carelessly allowed, caused and/or
permitted the aforesaid tree located on the premises known as 315
Marbridge Road, Village of Lawrence, Town of Hempstead, County of
Nassau and State of New York to be, become, and remain in a

dangerous and defective condition.

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296. At all times mentioned herein and prior thereto,
Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,
associates, agencies and/or departments maintained the aforesaid
tree located in front of the premises known as 315 Marbridge Road,

Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

297. At all times mentioned herein and prior thereto,
Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,
associates, agencies and/or departments managed the aforesaid tree
located in front of the premises known as 315 Marbridge Road,

Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

298. At all times mentioned herein and prior thereto,
Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,
associates, agencies and/or departments controlled the aforesaid
tree located in front of the premises known as 315 Marbridge Road,

Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

299. At all times mentioned herein and prior thereto,

Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,

associates, agencies and/or departments supervised the aforesaid

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tree located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

300. At all times mentioned herein and prior thereto,
Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,
associates, agencies. and/or departments inspected the aforesaid tree
located in front of the premises known as 315 Marbridge Road,

Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

301. At all times mentioned herein and prior thereto,
Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,
associates, agencies and/or departments supervised maintenance to
the aforesaid tree located in front of the premises known as 315
Marbridge Road, Village of Lawrence, Town of Hempstead, County of

Nassau and State of New York.

302. On or about September 6, 2016, Defendant VILLAGE OF
LAWRENCE, its agents, servants, employees, associates, agencies
and/or departments negligently and carelessly allowed, caused and/or
permitted the aforesaid tree located in front of the premises known

as 315 Marbridge Road, Lawrence, New York to be, become, and remain

in a dangerous and defective condition.

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303. At all times mentioned herein, there existed a
roadway known as Meadow Lane, approximately twenty (20) feet south
of Marbridge Road, Village of Lawrence, Town of Hempstead, County

of Nassau and State of New York.

304. At all times mentioned herein and prior thereto,

Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,

associates, agencies and/or departments owned the aforesaid roadway.

305. At all times mentioned herein and prior thereto,
Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,

associates, agencies and/or departments maintained the aforesaid

roadway.

306. At all times mentioned herein and prior thereto,
Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,

associates, agencies and/or departments managed the aforesaid

roadway.

307. At all times mentioned herein and prior thereto,
Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,

associates, agencies and/or departments controlled the aforesaid

roadway.

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308. At all times mentioned herein and prior thereto,

Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,

associates, agencies and/or departments supervised the aforesaid

roadway.

309. At all times mentioned herein and prior thereto,
Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,

associates, agencies and/or departments inspected the aforesaid

roadway.

310. At all times mentioned herein and prior thereto,
Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,

associates, agencies and/or departments leased the aforesaid roadway

311. At all times mentioned herein and prior thereto,
Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,

associates, agencies and/or departments repaired the aforesaid

roadway.

312. At all times mentioned herein and prior thereto,

Defendant VILLAGE OF LAWRENCE, its agents, servants, employees,

associates, agencies and/or departments supervised repairs to the

aforesaid roadway.

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313. At all times mentioned hereinafter, Defendant
VILLAGE OF LAWRENCE, its agents, servants, employees, associates,
agencies and/or departments was under a duty to operate, control,
Manage, Maintain, repair, supervise and inspect the aforesaid
premises specifically the tree located in front of the premises
known as 315 Marbridge Road, Village of Lawrence, Town of Hempstead,
County of Nagsau and State of New York in a safe, proper and lawful
fashion, free from traps and conditions constituting a danger and
menace to persons lawfully and properly using the roadways so that

no person lawfully thereupon would be caused to sustain personal

injuries and/or damages.

314. At all times mentioned hereinafter, Defendant
VILLAGE OF LAWRENCE, its agents, servants, employees, associates,
agencies and/or departments was under a duty to operate, control,
Manage, maintain, repair, supervise and inspect the aforesaid
premises specifically the tree located on the premises known as 315
Marbridge Road, Village of Lawrence, Town of Hempstead, County of
Nassau and State of New York in a safe, proper and lawful fashion,
free from traps and conditions constituting a danger and menace to
persons lawfully and properly using the roadways so that no person
lawfully thereupon would be caused to sustain personal injuries

and/or damages.

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315. At all times mentioned hereinafter, Defendant
VILLAGE OF LAWRENCE, its agents, servants, employees, associates,
agencies and/or departments was under a duty to operate, control,
Manage, maintain, repair, supervise and inspect the aforesaid power
line (wire), cable, telephone line (wire) or similar wire located
in front of the premises known as 315 Marbridge Road, Village of
Lawrence, Town of Hempstead, County of Nassau and State of New York
in a safe, proper and lawful fashion, free from traps and conditions
constituting a danger and menace to persons lawfully and properly
using the roadways so that no person lawfully thereupon would be

caused to sustain personal injuries and/or damages.

316. At all times mentioned hereinafter, Defendant
VILLAGE OF LAWRENCE, its agents, servants, employees, associates,
agencies and/or departments was under a duty to operate, control,
manage, maintain, repair, supervise and inspect the aforesaid power
line (wire), cable, telephone line (wire) or similar wire located
on the premises known as 315 Marbridge Road, Village of Lawrence,
Town of Hempstead, County of Nassau and State of New York ina safe,
proper and lawful fashion, free from traps and conditions
constituting a danger and menace to persons lawfully and properly
using the roadways so that no person lawfully thereupon would be

caused to sustain personal injuries and/or damages.

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317. At all times mentioned hereinafter, Defendant
VILLAGE OF LAWRENCE, its agents, servants, employees, associates,
agencies and/or departments was under a duty to operate, control,
Manage, maintain, repair, supervise and inspect the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
in front of the premises known as 315 Marbridge Road, Village of
Lawrence, Town of Hempstead, County of Nassau and State of New York
in a safe, proper and lawful fashion, free from traps and conditions
constituting a danger and menace to persons lawfully and properly
using the roadways so that no person lawfully thereupon would be

caused to sustain personal injuries and/or damages.

318. At all times mentioned hereinafter, Defendant
VILLAGE OF LAWRENCE, its agents, servants, employees, associates,
agencies and/or departments was under a duty to operate, control,
manage, maintain, repair, supervise and inspect the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
on the premises known as 315 Marbridge Road, Village of Lawrence,
Town of Hempstead, County of Nassau and State of New York in a safe,
proper and lawful fashion, free from traps and conditions
constituting a danger and menace to persons lawfully and properly
using the roadways so that no person lawfully thereupon would be

caused to sustain personal injuries and/or damages.

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319. At all times mentioned hereinafter, Defendant
VILLAGE OF LAWRENCE, its agents, servants, employees, associates,
agencies and/or departments was under a duty to operate, control,
manage, maintain, repair, supervise and inspect the aforesaid downed
low hanging power line (wire), cable, telephone line (wire) or
similar wire on Meadow Lane, approximately twenty (20) feet south
of Marbridge Road, Village of Lawrence, Town of Hempstead, County
of Nassau and State of New York in a safe, proper and lawful
fashion, free from traps and conditions constituting a danger and
menace to persons lawfully and properly using the roadways so that
no person lawfully thereupon would be caused to sustain personal

injuries and/or damages.

320. At all times mentioned hereinafter, Defendant
VILLAGE OF LAWRENCE, its agents, servants, employees, associates,
agencies and/or departments was under a duty to operate, control,
Manage, maintain, repair, supervise and inspect the aforesaid
roadway on Meadow Lane, approximately twenty (20) feet south of
Marbridge Road, Village of Lawrence, Town of Hempstead, County of
Nassau and State of New York in a safe, proper and lawful fashion,
free from traps and conditions constituting a danger and menace to
persons lawfully and properly using the roadways so that no person
lawfully thereupon would be caused to sustain personal injuries

and/or damages.

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321. At all times mentioned hereinafter, Defendant
VILLAGE OF LAWRENCE, its agents, servants, employees, associates,
agencies and/or departments negligently and carelessly failed to
provide appropriate and sufficient illumination on Meadow Lane,
about twenty (20) feet south of Marbridge Road, Village of Lawrence,

Town of Hempstead, County of Nassau and State of New York.

322. At all times mentioned hereinafter, Defendant
VILLAGE OF LAWRENCE, its agents, servants, employees, associates,
agencies and/or departments was under a duty to operate, control,
Manage, Maintain, repair, supervise and inspect the aforesaid
illumination or lack of illumination on Meadow Lane, approximately
twenty (20) feet south of Marbridge Road, Village of Lawrence, Town
of Hempstead, County of Nassau and State of New York in a safe,
proper and lawful fashion, free from traps and conditions
constituting a danger and menace to persons lawfully and properly
using the roadways so that no person lawfully thereupon would be

caused to sustain personal injuries and/or damages.

323. At all times hereinafter mentioned, and prior
thereto, Defendant VILLAGE OF LAWRENCE, its agents, servants,
employees, associates, agencies and/or departments was charged with
the duty of complying with the Village of Lawrence Codes, Town of

Hempstead Codes, County of Nassau Codes and New York Property Laws.

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324. On or about October 13, 2016, Plaintiff caused a
Notice of Claim to be served upon Defendant TOWN OF HEMPSTEAD, and

said notice was served within ninety (30) days of the occurrence

herein.

325. More than thirty (30) days have elapsed since the
presentation of said Notice of Claim, and said claim remains
unadjusted and Defendant TOWN OF HEMPSTEAD has wholly refused,

failed and neglected to make any adjustments of same.

326. Prior to the commencement of this action, a4
statutory 50(h) hearing of Plaintiff was not noticed by Defendant

TOWN OF HEMPSTEAD and therefore waived.

327. At all times mentioned herein and prior thereto,
Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,
associates, agencies and/or departments caused the aforesaid power
line (wire), cable, telephone line (wire) or similar wire to be
placed on Meadow Lane, approximately twenty (20) feet south of
Marbridge Road and Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

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328. At all times mentioned herein and pricr thereto,
Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,
associates, agencies and/or departments owned the aforesaid power
line (wire), cable, telephone line (wire) or similar wire located
on Meadow Lane, approximately twenty (20) feet south of Marbridge
Road and Marbridge Road, Village of Lawrence, Town of Hempstead,

County of Nassau and State of New York.

329. At all times mentioned herein and prior thereto,
Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,
associates, agencies and/or departments maintained the aforesaid
power line (wire), cable, telephone line (wire) or similar wire
located on Meadow Lane, approximately twenty (20) feet south of
Marbridge Road and Marbridge Road, Village of hawrence, Town of

Hempstead, County of Nassau and State of New York.

330. At all times mentioned herein and prior thereto,
Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,
associates, agencies and/or departments managed the aforesaid power
line (wire), cable, telephone line (wire) or similar wire located
on Meadow Lane, approximately twenty (20) feet south of Marbridge
Road and Marbridge Road, Village of Lawrence, Town of Hempstead,

County of Nassau and State of New York.

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331. At all times mentioned herein and prior thereto,
Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,
associates, agencies and/or departments controlled the aforesaid
power line (wire), cable, telephone line (wire) or similar wire
located on Meadow Lane, approximately twenty (20} feet south of
Marbridge Road and Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

332. At all times mentioned herein and prior thereto,
Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,
associates, agencies and/or departments supervised the aforesaid
power line (wire), cable, telephone line (wire) or similar wire
located on Meadow Lane, approximately twenty (20) feet south of
Marbridge Road and Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

333. At all times mentioned herein and prior thereto,
Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,
associates, agencies and/or departments inspected the aforesaid
power line (wire), cable, telephone line (wire) or similar wire
located on Meadow Lane, approximately twenty (20) feet south of
Marbridge Road and Marbridge Foad, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

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334. At all times mentioned herein and prior thereto,
Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,
associates, agencies and/or departments leased the aforesaid power
line (wire), cable, telephone line (wire} or similar wire located
on Meadow Lane, approximately twenty (20) feet south of Marbridge
Road and Marbridge Road, Village of Lawrence, Town of Hempstead,

County of Nassau and State of New York.

335. At all times mentioned herein and prior thereto,
Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,
associates, agencies and/or departments repaired the aforesaid power
line (wire), cable, telephone line (wire) or similar wire located
on Meadow Lane, approximately twenty (20) feet south of Marbridge
Road and Marbridge Road, Village of Lawrence, Town of Hempstead,

County of Nassau and State of New York.

336. At all times mentioned herein and prior thereto,
Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,
associates, agencies and/or departments supervised repairs to the
aforesaid power line (wire), cable, telephone line (wire) or similar
wire located on Meadow Lane, approximately twenty (20) feet south
of Marbridge Road and Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

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337. At all times mentioned herein and prior thereto,
Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,
associates, agencies and/or departments inspected the aforesaid
power line (wire), cable, telephone line (wire) or similar wire
located on Meadow Lane, approximately twenty (20) feet south of
Marbridge Road and Marbridge Road, Village of Lawrence, Town of

Hempstead; County of Nassau and State of New York.

338. On or about September 6, 2016, Defendant TOWN OF
HEMPSTEAD, its agents, servants, employees, associates, agencies
and/or departments negligently and carelessly allowed, caused and
permitted the aforesaid power line (wire), cable, telephone line
(wire) or similar wire located on Meadow Lane, approximately twenty
(20) feet south of Marbridge Road and Marbridge Road, Village of
Lawrence, Town of Hempstead, County of Nassau and State of New York

to be, become, and remain in a dangerous and defective condition.

339. At all times mentioned herein and prior thereto,
Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,
associates, agencies and/or departments caused the aforesaid power
line (wire), cable, telephone line (wire) or similar wire poles to
be placed on Meadow Lane and Marbridge Road, Village of Lawrence,

Town of Hempstead, County of Nassau and State of New York.

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340. At all times mentioned herein and prior thereto,
Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,
associates, agencies and/or departments owned the aforesaid power
line (wire}, cable, telephone line (wire) or similar wire poles
located on Meadow Lane and Marbridge Road, Village of Lawrence, Town

of Hempstead, County of Nassau and State of New York.

3427. At all times mentioned herein and prior thereto,
Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,
associates, agencies and/or departments maintained the aforesaid
power line (wire), cable, telephone line (wire) or similar wire
poles located on Meadow Lane and Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

342, At all times mentioned herein and pricr thereto,
Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,
associates, agencies and/or departments managed the aforesaid power
line (wire), cable, telephone line (wire) or similar wire poles
located on Meadow Lane and Marbridge Road, Village of Lawrence, Town

of Hempstead, County of Nassau and State of New York.

343. At all times mentioned herein and prior thereto,

Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,

associates, agencies and/or departments controlled the aforesaid

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power line (wire), cable, telephone line (wire) or similar wire
poles located on Meadow Lane and Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

344. At all times mentioned herein and prior thereto,
Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,
associates, agencies and/or departments supervised the aforesaid
power line (wire), cable, telephone line (wire) or similar wire
poles located on Meadow Lane and Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

345. At all times mentioned herein and prior thereto,
Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,
associates, agencies and/or departments inspected the aforesaid
power line (wire), cable, telephone line (wire) or similar wire
poles located on Meadow Lane and Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

346. At all times mentioned herein and prior thereto,
Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,
associates, agencies and/or departments leased the aforesaid power
line (wire), cable, telephone line (wire) or similar wire poles
located on Meadow Lane and Marbridge Road, Village of Lawrence, Town

of Hempstead, County of Nassau and State of New York.

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347. At all times mentioned herein and prior thereto,
Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,
associates, agencies and/or departments repaired the aforesaid power
line (wire), cable, telephone line (wire) or similar wire poles
located on Meadow Lane and Marbridge Road, Village of Lawrence, Town

of Hempstead, County of Nassau and State of New York.

348. At all times mentioned herein and prior thereto,
Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,
associates, agencies and/or departments supervised repairs to the
aforesaid power line (wire), cable, telephone line (wire) or similar
wire poles located on Meadow Lane and Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

349, On or about September 6, 2016, Defendant TOWN OF
HEMPSTEAD, its agents, servants, employees, associates, agencies
and/or departments negligently and carelessly allowed, caused and/or
permitted the aforesaid power line (wire), cable, telephone line
(wire) or similar wire poles located on Meadow Lane and Marbridge
Road, Village of Lawrence, Town of Hempstead, County of Nassau and
State of New York to be, become, and remain in a dangerous and

defective condition.

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350. At all times mentioned herein and prior thereto,
Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,
associates, agencies and/or departments caused the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
to be placed on the premises known as 315 Marbridge Road, Village

of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

351. At all times mentioned herein and prior thereto,
Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,
associates, agencies and/or departments owned the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
located on the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

352. At all times mentioned herein and prior thereto,
Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,
associates, agencies and/or departments maintained the aforesaid
power line (wire), cable, telephone line (wire) or similar wire and
poles located on the premises known as 315 Marbridge Road, Village

of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

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353. At all times mentioned herein and prior thereto,
Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,
associates, agencies and/or departments managed the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
located on the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

354. At all times mentioned herein and prior thereto,
Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,
associates, agencies and/or departments controlled the aforesaid
power line (wire), cable, telephone line (wire) or similar wire and
poles located on the premises known as 315 Marbridge Road, Village
of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

355. At all times mentioned herein and prior thereto,
Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,
associates, agencies and/or departments supervised the aforesaid
power line (wire), cable, telephone line (wire) or similar wire and
poles located on the premises known as 315 Marbridge Road, Village
of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

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356. At all times mentioned herein and prior thereto,
Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,
associates, agencies and/or departments inspected the aforesaid
power line (wire}, cable, telephone line (wire) or similar wire and
poles located on the premises known as 315 Marbridge Road, Village
of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

357. At all times mentioned herein and prior thereto,
Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,
associates, agencies and/or departments leased the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
located on the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

358, At all times mentioned herein and prior thereto,
Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,
associates, agencies and/or departments repaired the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
located on the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

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359. At all times mentioned herein and prior thereto,
Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,
associates, agencies and/or departments supervised repairs to the
aforesaid power line (wire), cable, telephone line (wire) or similar
wire and poles iocated on the premises known as 315 Marbridge Road,

Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

360. On or about September 6, 2016, Defendant TOWN OF
HEMPSTEAD, its agents, servants, employees, associates, agencies
and/or departments negligently and carelessly allowed, caused and/or
permitted the aforesaid power line (wire), cable, telephone line
(wire) or similar wire and poles to be placed on the property known
as 315 Marbridge Road, Village of Lawrence, Town of Hempstead,
County of Nassau and State of New York to be, become, and remain in

a dangerous and defective condition.

361. At all times mentioned herein and prior thereto,
Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,
associates, agencies and/or departments caused the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
to be placed in front of the premises known as 315 Marbridge Road,

Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

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362. At all times mentioned herein and prior thereto,

Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,

associates, agencies and/or departments owned the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

363. At all times mentioned herein and prior thereto,
Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,
associates, agencies and/or departments maintained the aforesaid
power line (wire), cable, telephone line (wire} or similar wire and
poles located in front of the premises known as 315 Marbridge Road,

Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

364. At all times mentioned herein and prior thereto,
Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,
associates, agencies and/or departments managed the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

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365. At all times mentioned herein and prior thereto,
Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,
associates, agencies and/or departments controlled the aforesaid
power line (wire), cable, telephone line (wire) or similar wire and
poles located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

366. At all times mentioned herein and prior thereto,
Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,
associates, agencies and/or departments supervised the aforesaid
power line (wire), cable, telephone line (wire) or similar wire and
poles located in front of the premises known as 315 Marbridge Road,

Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

367. At all times mentioned herein and prior thereto,
Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,
associates, agencies and/or departments inspected the aforesaid
power line (wire), cable, telephone line (wire) or similar wire and
poles located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

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368. At all times mentioned herein and prior thereto,
Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,
associates, agencies and/or departments leased the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

369. At all times mentioned herein and prior thereto,
Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,
associates, agencies and/or departments repaired the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

370. At all times mentioned herein and prior thereto,
Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,
associates, agencies and/or departments supervised repairs to the
aforesaid power line (wire), cable, telephone line (wire) or similar
wire and poles located in front of the premises known as 315
Marbridge Road, Village of Lawrence, Town of Hempstead, County of

Nassau and State of New York.

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371. On or about September 6, 2016, Defendant TOWN OF
HEMPSTEAD, its agents, servants, employees, associates, agencies
and/or departments negligently and carelessly allowed, caused and/or
permitted the aforesaid power line and poles located in front of the
property known as 315 Marbridge Road, Village of Lawrence, Town of
Hempstead, County of Nassau and State of New York to be, become, and

remain in a dangerous and defective condition.

372. At all times mentioned herein and prior thereto,
Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,
associates, agencies and/or departments maintained the aforesaid
tree located on the premises known as 315 Marbridge Road, Village

of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

373. At all times mentioned herein and prior thereto,

Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,

associates, agencies and/or departments managed the aforesaid tree
located on the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

374, At all times mentioned herein and prior thereto,

Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,

associates, agencies and/or departments controlled the aforesaid

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tree located on the premises known as 315 Marbridge Road, Village

of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

375. At all times mentioned herein and prior thereto,

Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,

associates, agencies and/or departments supervised the aforesaid
tree located on the premises known as 315 Marbridge Road, Village

of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

376. At all times mentioned herein and prior thereto,
Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,
associates, agencies and/or departments inspected the aforesaid tree
located on the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

377. At all times mentioned herein and prior thereto,
Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,
associates, agencies and/or departments supervised maintenance to
the aforesaid tree located on the premises known as 315 Marbridge

Road, Village of Lawrence, Town of Hempstead, County of Nassau and

State of New York.

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378. On or about September 6, 2016, Defendant TOWN OF
HEMPSTEAD, its agents, servants, employees, associates, agencies
and/or departments negligently and carelessly allowed, caused and/or
permitted the aforesaid tree located on the premises known as 315
Marbridge Road, Village of Lawrence, Town of Hempstead, County of
Nassau and State of New York to be, become, and remain in a

dangerous and defective condition.

379. At all times mentioned herein and prior thereto,
Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,
associates, agencies and/or departments maintained the aforesaid
tree located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

380. At all times mentioned herein and prior thereto,
Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,
associates, agencies and/or departments managed the aforesaid tree
located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

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381. At all times mentioned herein and prior thereto,
Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,
associates, agencies and/or departments controlled the aforesaid
tree located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

382. At all times mentioned herein and prior thereto,
Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,
associates, agencies and/or departments supervised the aforesaid
tree located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

383. At all times mentioned herein and prior thereto,
Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,
associates, agencies and/or departments inspected the aforesaid tree
lecated in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

384, At all times mentioned herein and prior thereto,
Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,

associates, agencies and/or departments supervised maintenance to

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the aforesaid tree located in front of the premises known as 315
Marbridge Road, Village of Lawrence, Town of Hempstead, County of

Nassau and State of New York.

385. On or about September 6, 2016, Defendant TOWN OF
HEMPSTEAD, its agents, servants, employees, associates, agencies

and/or departments negligently and carelessly allowed, caused and/or
permitted the aforesaid tree located in front of the premises known
ag 315 Marbridge Road, Lawrence, New York to be, become, and remain

in a dangerous and defective condition.

386. At all times mentioned herein and prior thereto,

Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,

associates, agencies and/or departments owned the aforesaid roadway.

387. At all times mentioned herein and prior thereto,

Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,

associates, agencies and/or departments maintained the aforesaid

roadway.

388. At all times mentioned herein and prior thereto,
Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,

associates, agencies and/or departments managed the aforesaid

roadway.

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3893, At all times mentioned herein and prior thereto,
Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,

associates, agencies and/or departments controlled the aforesaid

roadway.

390. At all times mentioned herein and prior thereto,
Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,

associates, agencies and/or departments supervised the aforesaid

roadway.

391. At ail times mentioned herein and prior thereto,
Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,

associates, agencies and/or departments inspected the aforesaid

roadway.

392. At all times mentioned herein and prior thereto,

Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,

associates, agencies and/or departments leased the aforesaid

roadway .

393. At all times mentioned herein and prior thereto,

Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,

associates, agencies and/or departments repaired the aforesaid

roadway.

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394, At all times mentioned herein and prior thereto,
Defendant TOWN OF HEMPSTEAD, its agents, servants, employees,

associates, agencies and/or departments ‘supervised repairs to the

aforesaid roadway.

395. At all times mentioned hereinafter, Defendant TOWN
OF HEMPSTEAD, its agents, servants, employees, associates, agencies
and/or departments was under a duty to operate, control, manage,
maintain, repair, supervise and inspect the aforesaid premises
specifically the tree located in front of the premises known as 315
Marbridge Road, Village of Lawrence, Town of Hempstead, County of
Nassau and State of New York in a safe, proper and lawful fashion,
free from traps and conditions constituting a danger and menace to
persons lawfully and properly using the roadways so that no person
lawfully thereupon would be caused to sustain personal injuries

and/or damages.

396. At all times mentioned hereinafter, Defendant TOWN
OF HEMPSTEAD, its agents, servants, employees, associates, agencies
and/or departments was under a duty to operate, control, manage,
maintain, repair, supervise and inspect the aforesaid premises
specifically the tree located on the premises known as 315 Marbridge
Road, Village of Lawrence, Town of Hempstead, County of Nassau and

State of New York in a safe, proper and lawful fashion, free from

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traps and conditions constituting a danger and menace to persons
lawfully and properly using the roadways so that no person lawfully
thereupon would be caused to sustain personal injuries and/or

damages.

397. At all times mentioned hereinafter, Defendant TOWN
OF HEMPSTEAD, its agents, servants, employees, associates, agencies
and/or departments was under a duty to operate, control, manage,
maintain, repair, supervise and inspect the aforesaid power line
(wire), cable, telephone line (wire) or similar wire located in
front of the premises known as 315 Marbridge Road, Village of
Lawrence, Town of Hempstead, County of Nassau and State of New York
ina safe, proper and lawful fashion, free from traps and conditions
constituting a danger and menace to persons lawfully and properly
using the roadways so that no person lawfully thereupon would be

caused to sustain personal injuries and/or damages.

398. At all times mentioned hereinafter, Defendant TOWN
OF HEMPSTEAD, its agents, servants, employees, associates, agencies
and/or departments was under a duty to operate, control, manage,
maintain, repair, supervise and inspect the aforesaid power line
(wire), cable, telephone line (wire) or similar wire located on the
premises known as 315 Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York in a safe, proper

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and lawful fashion, free from traps and conditions constituting a
danger and menace to persons lawfully and properly using the
roadways so that no person lawfully thereupon would be caused to

sustain personal injuries and/or damages.

399. At all times mentioned hereinafter, Defendant TOWN
OF HEMPSTEAD, its agents, servants, employees, associates, agencies
and/or departments was under a duty to operate, control, manage,
Maintain, repair, supervise and inspect the aforesaid power line
(wire), cable, telephone line (wire) or similar wire and poles in
front of the premises known as 315 Marbridge Road, Village of
Lawrence, Town of Hempstead, County of Nassau and State of New York
ina safe, proper and lawful fashion, free from traps and conditions
constituting a danger and menace to persons lawfully and properly
using the roadways so that no person lawfully thereupon would be

caused to sustain personal injuries and/or damages.

400. At all times mentioned hereinafter, Defendant TOWN
OF HEMPSTEAD, its agents, servants, employees, associates, agencies
and/or departments was under a duty to operate, control, manage,
maintain, repair, supervise and inspect the aforesaid power line
(wire), cable, telephone line (wire) or similar wire and poles on
the premises known as 315 Marbridge Road, Village of Lawrence, Town

o£ Hempstead, County of Nassau and State of New York in a safe,

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proper and lawful fashion, free from traps and conditions
constituting a danger and menace to persons lawfully and properly
using the roadways so that no person lawfully thereupon would be

caused to sustain personal injuries and/or damages.

401. At all times mentioned hereinafter, Defendant TOWN
OF HEMPSTEAD, its agents, servants, employees, associates, agencies
and/or departments was under a duty to operate, control, manage,
maintain, repair, supervise and inspect the aforesaid downed low
hanging power line (wire), cable, telephone line (wire) or similar
wire on Meadow Lane, approximately twenty (20) feet south of
Marbridge Road, Village of Lawrence, Town of Hempstead, County of
Nassau and State of New York in a safe, proper and lawful fashion,
free from traps and conditions constituting a danger and menace to
persons lawfully and properly using the roadways so that no person
lawfully thereupon would be caused to sustain personal injuries

and/or damages.

402. At all times mentioned hereinafter, Defendant TOWN
OF HEMPSTEAD, its agents, servants, employees, associates, agencies

and/or departments was under a duty to operate, control, manage,
Maintain, repair, supervise and inspect the aforesaid roadway on
Meadow Lane, approximately twenty (20) feet south of Marbridge Road,

Village of Lawrence, Town of Hempstead, County of Nassau and State

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of New York in a safe, proper and lawful fashion, free from traps
and conditions constituting a danger and menace to persons lawfully
and properly using the roadways so that no person lawfully thereupon

would be caused to sustain personal injuries and/or damages.

403. At all times mentioned herein, Defendant TOWN OF
HEMPSTEAD, its agents, servants, employees, associates, agencies
and/or departments negligently and carelessly failed to provide
appropriate and sufficient illumination on Meadow Lane,
approximately twenty (20) feet south of Marbridge Road, Village of

Lawrence, County of Nassau and State of New York.

404. At all times mentioned hereinafter, Defendant TOWN
OF HEMPSTEAD, its agents, servants, employees, associates, agencies
and/or departments was under a duty to operate, control, manage,
Maintain, repair, supervise and inspect the aforesaid illumination
or lack of illumination on Meadow Lane, approximately twenty (20)
feet south of Marbridge Road, Village of Lawrence, Town of
Hempstead, County of Nassau and State of New York in a safe, proper
and lawful fashion, free from traps and conditions constituting a
danger and menace to persons lawfully and properly using the
roadways so that no person lawfully thereupon would be caused to

sustain personal injuries and/or damages.

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405. At all times hereinafter mentioned, and prior
thereto, Defendant TOWN OF HEMPSTEAD was charged with the duty of
complying with the Village of Lawrence Codes, Town of Hempstead

Codes, County of Nassau Codes and New York Property Laws.

406. On or about October 13, 2016, Plaintiff caused a
Notice of Claim to be served upon Defendant COUNTY OF NASSAU, and

Said notice was served within ninety (90) days of the occurrence

herein.

407. More than thirty (30} days have elapsed since the
presentation of said Notice of Claim, and said claim remains
unadjusted and Defendant COUNTY OF NASSAU, has wholiy refused,

failed and neglected to make any adjustments of same.

408. Prior to the commencement of this action, a
statutory 50(h) hearing of Plaintiff was not noticed by Defendant

COUNTY OF NASSAU and therefore waived.

409. At all times mentioned herein and prior thereto,
Defendant COUNTY OF NASSAU, its agents, servants, employees,
associates, agencies and/or departments caused the aforesaid power
line (wire), cable, telephone line (wire) or similar wire to be

placed on Meadow Lane, approximately twenty (20) feet south of

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Marbridge Road and Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

410. At all times mentioned herein and prior thereto,
Defendant COUNTY OF NASSAU, its agents, servants, employees,

associates, agencies and/or departments owned the aforesaid power
line (wire), cable, telephone line (wire) or similar wire located
on Meadow Lane, approximately twenty (20) feet south of Marbridge
Road and Marbridge Road, Village of Lawrence, Town of Hempstead,

County of Nassau and State of New York.

411. At alli times mentioned herein and prior thereto,
Defendant COUNTY OF NASSAU, its agents, servants, employees,
associates, agencies and/or departments maintained the aforesaid
power line (wire), cable, telephone line (wire) or similar wire
located on Meadow Lane, approximately twenty (20) feet south of
Marbridae Road and Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

412. At all times mentioned herein and prior thereto,
Defendant COUNTY OF NASSAU, its agents, servants, employees,
associates, agencies and/or departments managed the aforesaid power
line (wire), cable, telephone line (wire) or similar wire located

on Meadow Lane, approximately twenty (20) feet south of Marbridge

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Road and Marbridge Road, Village of Lawrence, Town of Hempstead,

County of Nassau and State of New York.

413. At all times mentioned herein and prior thereto,
Defendant COUNTY OF NASSAU, its agents, servants, employees,
associates, agencies and/or departments controlled the aforesaid
power line (wire), cable, telephone line (wire) or similar wire
located on Meadow Lane, approximately twenty (20) feet south of
Marbridge Road and Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

414. At all times mentioned herein and prior thereto,
Defendant COUNTY OF NASSAU, its agents, servants, employees,
associates, agencies and/or departments supervised the aforesaid
power line (wire), cable, telephone line (wire) or similar wire
located on Meadow Lane, approximately twenty (20) feet south of
Marbridge Road and Marbridde Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

415. At all times mentioned herein and prior thereto,
Defendant COUNTY OF NASSAU, its agents, servants, employees,
associates, agencies and/or departments inspected the aforesaid
power line (wire), cable, telephone line (wire) or similar wire

located on Meadow Lane, approximately twenty (20) feet south of

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Marbridge Road and Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

416. At all times mentioned herein and prior thereto,

Defendant COUNTY OF NASSAU, its agents, servants, employees,

associates, agencies and/or departments leased the aforesaid power
line (wire), cable, telephone line (wire) or similar wire located
on Meadow Lane, approximately twenty (20) feet south of Marbridge
Road and Marbridge Road, Village of Lawrence, Town of Hempstead,

County of Nassau and State of New York.

417. At all times mentioned herein and prior thereto,
Defendant COUNTY OF NASSAU, its agents, servants, employees,
associates, agencies and/or departments repaired the aforesaid power
line (wire), cable, telephone line (wire) or similar wire located
on Meadow Lane, approximately twenty {20) feet south of Marbridge
Road and Marbridge Road, Village of Lawrence, Town of Hempstead,

County of Nassau and State of New York.

418. At all times mentioned herein and prior thereto,
Defendant COUNTY OF NASSAU, its agents, servants, employees,
associates, agencies and/or departments supervised repairs to the
aforesaid power line (wire), cable, telephone line (wire) or similar

wire located on Meadow Lane, approximately twenty (20) feet south

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of Marbridge Road and Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

419. At all times mentioned herein and prior thereto,
Defendant COUNTY OF NASSAU, its agents, servants, employees,
associates, agencies and/or departments inspected the aforesaid
power line (wire), cable, telephone line (wire) or similar wire
located on Meadow Lane, approximately twenty (20) feet south of
Marbridge Road and Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

420. On or about September 6, 2016, Defendant COUNTY OF
NASSAU, its agents, servants, employees, associates, agencies and/or
departments negligently and carelessly allowed, caused and permitted
the aforesaid power line (wire), cable, telephone line (wire) or
similar wire located on Meadow Lane, approximately twenty (20) feet
south of Marbridge Road and Marbridge Road, Village of Lawrence,
Town of Hempstead, County of Nassau and State of New York to be,

become, and remain in a dangerous and defective condition.

421. At all times mentioned herein and prior thereto,
Defendant COUNTY OF NASSAU, its agents, servants, employees,

associates, agencies and/or departments caused the aforesaid power

line (wire), cable, telephone line (wire) or similar wire poles to

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be placed on Meadow Lane, approximately twenty (20) feet south of
Marbridge Road and Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

422. At all times mentioned herein and prior thereto,
Defendant COUNTY OF NASSAU, its agents, servants, employees,
associates, agencies and/or departments owned the aforesaid power
line (wire), cable, telephone line (wire) or similar wire poles
located on Meadow Lane and Marbridge Road, Village of Lawrence, Town

of Hempstead, County of Nassau and State of New York.

423. At all times mentioned herein and prior thereto,
Defendant COUNTY OF NASSAU, its agents, servants, employees,
associates, agencies and/or departments maintained the aforesaid
power line (wire), cable, telephone line (wire) or similar wire
poles located on Meadow Lane and Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

424, At all times mentioned herein and prior thereto,
Defendant COUNTY OF NASSAU, its agents, servants, employees,
associates, agencies and/or departments managed the aforesaid power
line {wire), cable, telephone line (wire) or similar wire poles
located on Meadow Lane and Marbridge Road, Village of Lawrence, Town

of Hempstead, County of Nassau and State of New York.

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425. At all times mentioned herein and prior thereto,
Defendant COUNTY OF NASSAU, its agents, servants, employees,
associates, agencies and/or departments controlled the aforesaid
power line (wire), cable, telephone line (wire) or similar wire
poles located on Meadow Lane and Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

426. At all times mentioned herein and prior thereto,
Defendant COUNTY OF NASSAU, its agents, servants, employees,
associates, agencies and/or departments supervised the aforesaid
power line (wire), cable, telephone line (wire) or similar wire
poles located on Meadow Lane and Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

427. At all times mentioned herein and prior thereto,
Defendant COUNTY OF NASSAU, its agents, servants, employees,
associates, agencies and/or departments inspected the aforesaid
power line (wire), cable, telephone line (wire) or similar wire
poles located on Meadow Lane and Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

428. At all times mentioned herein and prior thereto,
Defendant COUNTY OF NASSAU, its agents, servants, employees,

associates, agencies and/or departments leased the aforesaid power

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line (wire), cable, telephone line (wire) or similar wire poles
located on Meadow Lane and Marbridge Road, Village of Lawrence, Town

of Hempstead, County of Nassau and State of New York.

429. At all times mentioned herein and prior thereto,
Defendant COUNTY OF NASSAU, its agents, servants, employees,
associates, agencies and/or departments repaired the aforesaid power
line (wire), cable, telephone line (wire} or similar wire poles
located on Meadow Lane and Marbridae Road, Village of Lawrence, Town

of Hempstead, County of Nassau and State of New York.

430. At all times mentioned herein and prior thereto,
Defendant COUNTY OF NASSAU, its agents, servants, employees,
associates, agencies and/or departments supervised repairs to the
aforesaid power line (wire), cable, telephone line (wire) or similar
wire poles located on Meadow Lane and Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

431. On or about September 6, 2016, Defendant COUNTY OF
NASSAU, its agents, servants, employees, associates, agencies and/or
departments negligently and carelessly allowed, caused and/or
permitted the aforesaid power line (wire), cable, telephone line
(wire) or similar wire poles located on Meadow Lane and Marbridge

Road, Village of Lawrence, Town of Hempstead, County of Nassau and

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State of New York to be, become, and remain in a dangerous and

Gefective condition.

432. At all times mentioned herein and prior thereto,

Defendant COUNTY OF NASSAU, its agents, servants, employees,

associates, agencies and/or departments caused the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
to be placed on the premises known as 315 Marbridge Road, Village

of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

433. At all times mentioned herein and pricr thereto,
Defendant COUNTY OF NASSAU, its agents, servants, employess,
associates, agencies and/or departments owned the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
located on the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

434. At alli times mentioned herein and prior thereto,
Defendant COUNTY OF NASSAU, its agents, servants, employees,
associates, agencies and/or departments maintained the aforesaid
power line (wire), cable, telephone line (wire) or similar wire and
poles located on the premises known as 315 Marbridge Road, Village
of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

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435. At all times mentioned herein and prior thereto,

Defendant COUNTY OF NASSAU, its agents, servants, employees,

associates, agencies and/or departments managed the aforesaid power
line (wire), cable, telephone line {wire) or similar wire and poles
located on the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

436. At all times mentioned herein and prior thereto,
Defendant COUNTY OF NASSAU, its agents, servants, employees,
associates, agencies and/or departments controlled the aforesaid
power line (wire), cable, telephone line (wire) or similar wire and
poles located on the premises known as 315 Marbridge Road, Village
of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

437. At all times mentioned herein and prior thereto,
Defendant COUNTY OF NASSAU, its agents, servants, employees,
associates, agencies and/or departments supervised the aforesaid
power line (wire), cable, telephone line (wire) or similar wire and
poles located on the premises known as 315 Marbridge Road, Village
of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

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438, At all times mentioned herein and prior thereto,
Defendant COUNTY OF NASSAU, its agents, servants, employees,
associates, agencies and/or departments inspected the aforesaid
power line (wire), cable, telephone line (wire) or similar wire and
poles located on the premises known as 315 Marbridge Road, Village

of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

439. At all times mentioned herein and prior thereto,
Defendant COUNTY OF NASSAU, its agents, servants, employees,
associates, agencies and/or departments leased the aforesaid power
line (wire}, cable, telephone line (wire) or similar wire and poles
located on the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

4490. At all times mentioned herein and prior thereto,
Defendant COUNTY OF NASSAU, its agents, servants, employees,
associates, agencies and/or departments repaired the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
located on the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

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441. At all times mentioned herein and prior thereto,
Defendant COUNTY OF NASSAU, its agents, servants, employees,
associates, agencies and/or departments supervised repairs to the
aforesaid power line (wire), cable, telephone line (wire) or similar
wire and poles located on the premises known as 315 Marbridge Road,

Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

442. On or about September 6, 2016, Defendant COUNTY OF
NASSAU, its agents, servants, employees, associates, agencies and/or
departments negligently and carelessly allowed, caused and/or
permitted the aforesaid power line (wire), cable, telephone line
(wire) or similar wire and poles to be placed on the premises known
as 315 Marbridge Road, Village of Lawrence, Town of Hempstead,
County of Nassau and State of New York to be, become, and remain in

a dangerous and defective condition.

443. At all times mentioned herein and prior thereto,
Defendant COUNTY OF NASSAU, its agents, servants, employees,
associates, agencies and/or departments caused the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
to be placed in front of the premises known as 315 Marbridge Road,

Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

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444. At all times mentioned herein and prior thereto,
Defendant COUNTY OF NASSAU, its agents, servants, employees,
associates, agencies and/or departments owned the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

445. At all times mentioned herein and prior thereto,
Defendant COUNTY OF NASSAU, its agents, servants, employees,
associates, agencies and/or departments maintained the aforesaid
power line (wire), cable, telephone line (wire) or similar wire and
poles located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

446. At all times mentioned herein and prior thereto,
Defendant COUNTY OF NASSAU, its agents, servants, employees,
associates, agencies and/or departments managed the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
located in front of the premises known as 315 Marbridge Road,
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of New York.

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447, At all times mentioned herein and prior thereto,
Defendant COUNTY OF NASSAU, its agents, servants, employees,
associates, agencies and/or departments controlled the aforesaid
power line (wire), cable, telephone line (wire) or similar wire and
poles located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

448. At all times mentioned herein and prior thereto,
Defendant COUNTY OF NASSAU, its agents, servants, employees,
associates, agencies and/or departments supervised the aforesaid
power line (wire), cable, telephone line (wire) or similar wire and
poles located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

449. At all times mentioned herein and prior thereto,
Defendant COUNTY OF NASSAU, its agents, servants, employees,
associates, agencies and/or departments inspected the aforesaid
power line (wire), cable, telephone line (wire) or similar wire and
poles located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

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450. At all times mentioned herein and prior thereto,
Defendant COUNTY OF NASSAU, its agents, servants, employees,
associates, agencies and/or departments leased the aforesaid power
line {wire), cable, telephone line (wire) or similar wire and poles
located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

451. At all times mentioned herein and prior thereto,
Defendant COUNTY OF NASSAU, its agents, servants, employees,
associates, agencies and/or departments repaired the aforesaid power
line (wire), cable, telephone line {wire) or similar wire and poles
located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

452. At all times mentioned herein and prior thereto,
Defendant COUNTY OF NASSAU, its agents, servants, empioyees,
associates, agencies and/or departments supervised repairs to the
aforesaid power line (wire), cable, telephone line (wire) or similar
wire and poles located in front of the premises known as 315
Marbridge Road, Village of Lawrence, Town of Hempstead, County of

Nassau and State of New York.

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453. On or about September 6, 2016, Defendant COUNTY OF
NASSAU, its agents, servants, employees, associates, agencies and/or
departments negligently and carelessly allowed, caused and/or
permitted the aforesaid power line and poles located in front of the
property known as 315 Marbridge Road, Village of Lawrence, Town of
Hempstead, County of Nassau and State of New York to be, become, and

remain in a dangerous and defective condition.

454. At all times mentioned herein and prior thereto,
Defendant COUNTY OF NASSAU, its agents, servants, employees,
associates, agencies and/or departments maintained the aforesaid
tree located on the premises known as 315 Marbridge Road, Village

of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

455. At all times mentioned herein and prior thereto,
Defendant COUNTY OF NASSAU, its agents, servants, employees,
associates, agencies and/or departments managed the aforesaid tree
located on the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

456. At all times mentioned herein and prior thereto,

Defendant COUNTY OF NASSAU, its agents, servants, employees,

associates, agencies and/or departments controlled the aforesaid

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tree located on the premises known as 315 Marbridge Road, Village

of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

457. At all times mentioned herein and prior thereto,
Defendant COUNTY OF NASSAU, its agents, servants, employees,
associates, agencies and/or departments supervised the aforesaid
tree located on the premises known as 315 Marbridge Road, Village

of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

458. At all times mentioned herein and prior thereto,
Defendant COUNTY OF NASSAU, its agents, servants, employees,
associates, agencies and/or departments inspected the aforesaid tree
located on the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

459. At all times mentioned herein and prior thereto,
Defendant COUNTY OF NASSAU, its agents, servants, employees,
associates, agencies and/or departments supervised maintenance to
the aforesaid tree located on the premises known as 315 Marbridge
Road, Village of Lawrence, Town of Hempstead, County of Nassau and

State of New York.

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460. On or about September 6, 2016, Defendant COUNTY OF
NASSAU, its agents, servants, employees, associates, agencies and/or
departments negligently and carelessly allowed, caused and/or
permitted the aforesaid tree located on the premises known as 315
Marbridge Road, Village of Lawrence, Town of Hempstead, County of
Nassau and State of New York to be, become, and remain in a

dangerous and defective condition.

461. At all times mentioned herein and prior thereto,
Defendant COUNTY OF NASSAU, its agents, servants, employees,
associates, agencies and/or departments maintained the aforesaid
tree located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

462. At all times mentioned herein and prior thereto,
Defendant COUNTY OF NASSAU, its agents, servants, employees,
associates, agencies and/or departments managed the aforesaid tree
located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

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463. At all times mentioned herein and prior thereto,
Defendant COUNTY OF NASSAU, its agents, servants, employees,
associates, agencies and/or departments controlled the aforesaid
tree located in front of the premises known as 315 Marbridge Road,

Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

464. At all times mentioned herein and prior thereto,
Defendant COUNTY OF NASSAU, its agents, servants, employees,
associates, agencies and/or departments supervised the aforesaid
tree located in front of the premises known as 315 Marbridge Road,

Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

465. At all times mentioned herein and prior thereto,
Defendant COUNTY OF NASSAU, its agents, servants, employees,
associates, agencies and/or departments inspected the aforesaid tree
lecated in front of the premises known as 315 Marbridge Road,

Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

466. At alii times mentioned herein and prior thereto,

Defendant COUNTY OF NASSAU, its agents, servants, employees,

associates, agencies and/or departments supervised maintenance to

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the aforesaid tree located in front of the premises known as 315
Marbridge Road, Village of Lawrence, Town of Hempstead, County of

Nassau and State of New York.

467. On or about September 6, 2016, Defendant COUNTY OF
NASSAU, its agents, servants, employees, associates, agencies and/or
departments negligentiy and carelessly allowed, caused and/or
permitted the aforesaid tree located in front of the premises known
as 315 Marbridge Road, Lawrence, New York to be, become, and remain

in a dangerous and defective condition.

468. At all times mentioned herein and prior thereto,
Defendant COUNTY OF NASSAU, its agents, servants, employees,

associates, agencies and/or departments owned the aforesaid roadway.

469. At all times mentioned herein and prior thereto,
Defendant COUNTY OF NASSAU, its agents, servants, employees,

associates, agencies and/or departments maintained the aforesaid

roadway.

470. At all times mentioned herein and prior thereto,

Defendant COUNTY OF NASSAU, its agents, servants, employees,

associates, agencies and/or departments managed the aforesaid

roadway.

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471. At all times mentioned herein and prior thereto,
Defendant COUNTY OF NASSAU, its agents, servants, employees,

associates, agencies and/or departments controlled the aforesaid

roadway.

472. At all times mentioned herein and prior thereto,
Defendant COUNTY OF NASSAU, its agents, servants, employees,

associates, agencies and/or departments supervised the aforesaid

roadway.

473. At all times mentioned herein and prior thereto,

Defendant COUNTY OF NASSAU, its agents, servants, employees,

associates, agencies and/or departments inspected the aforesaid

roadway.

474. At all times mentioned herein and prior thereto,

Defendant COUNTY OF NASSAU, its agents, servants, employees,

associates, agencies and/or departments leased the aforesaid

roadway.

475. At all times mentioned herein and prior thereto,
Defendant COUNTY OF NASSAU, its agents, servants, employees,

associates, agencies and/or departments repaired the aforesaid

roadway.

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A716. At all times mentioned herein and prior thereto,
Defendant COUNTY OF NASSAU, its agents, servants, employees,

associates, agencies and/or departments supervised repairs to the

aforesaid roadway.

477. At all times mentioned hereinafter, Defendant COUNTY
OF NASSAU, its agents, servants, employees, associates, agencies
and/or departments was under a duty to operate, control, manage,
Maintain, repair, supervise and inspect the aforesaid premises
specifically the tree located in front of the premises known as 315
Marbridge Road, Village of Lawrence, Town of Hempstead, County of
Nassau and State of New York in a safe, proper and lawful fashion,
free from traps and conditions constituting a danger and menace to
persons lawfully and properly using the roadways so that no person

lawfully thereupon would be caused to sustain personal injuries

and/or damages.

478. At all times mentioned hereinafter, Defendant COUNTY
OF NASSAU, its agents, servants, employees, associates, agencies
and/or departments was under a duty to operate, control, manage,
maintain, repair, supervise and inspect the aforesaid premises
specifically the tree located on the premises known as 315 Marbridge
Road, Village of Lawrence, Town of Hempstead, County of Nassau and

State of New York in a safe, proper and lawful fashion, free from

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traps and conditions constituting a danger and menace to persons
lawfully and properly using the roadways so that no person lawfully
thereupon would be caused to sustain personal injuries and/or

damages.

479. At all times mentioned hereinafter, Defendant COUNTY
OF NASSAU, its agents, servants, employees, associates, agencies
and/or departments was under a duty to operate, control, manage,
maintain, repair, supervise and inspect the aforesaid power line
(wire), cable, telephone line (wire) or similar wire located in
front of the premises known as 315 Marbridge Road, Village of
Lawrence, Town of Hempstead, County of Nassau and State of New York
in a safe, proper and lawful fashion, free from traps and conditions
constituting a danger and menace to persons lawfully and properly
using the roadways so that no person lawfully thereupon would be

caused to sustain personal injuries and/or damages.

480. At ail times mentioned hereinafter, Defendant COUNTY
OF NASSAU, its agents, servants, employees, associates, agencies
and/or departments was under a duty to operate, control, manage,
maintain, repair, supervise and inspect the aforesaid power line
(wire), cable, telephone line (wire) or similar wire located on the
premises known as 315 Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York in a safe, proper

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and lawful fashion, free from traps and conditions constituting a
danger and menace to persons lawfully and properly using the
roadways so that no person lawfully thereupon would be caused to

sustain personal injuries and/or damages.

481. At all times mentioned hereinafter, Defendant COUNTY
OF NASSAU, its agents, servants, employees, associates, agencies
and/or departments was under a duty to operate, control, manage,
maintain, repair, supervise and inspect the aforesaid power line
(wire), cable, telephone line (wire) or similar wire and poles in
front of the premises known as 315 Marbridge Road, Village of
Lawrence, Town of Hempstead, County of Nassau and State of New York
in a safe, proper and lawful fashion, free from traps and conditions
constituting a danger and menace to persons lawfully and properly
using the roadways so that no person lawfully thereupon would be

caused to sustain personal injuries and/or damages.

482. At all times mentioned hereinafter, Defendant
COUNTY OF NASSAU, its agents, servants, employees, associates,
agencies and/or departments was under a duty to operate, control,
manage, maintain, repair, supervise and inspect the aforesaid power
line (wire), cable, telephone line (wire} or similar wire and poles
on the premises known as 315 Marbridge Road, Viilage of Lawrence,

Town of Hempstead, County of Nassau and State of New York in a safe,

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proper and lawful fashion, free from traps and conditions
constituting a danger and menace to persons lawfully and properly
using the roadways so that no person lawfully thereupon would be

caused to sustain personal injuries and/or damages.

483. At all times mentioned hereinafter, Defendant
COUNTY OF NASSAU, its agents, servants, employees, associates,
agencies and/or departments was under a duty to operate, control,
Manage, maintain, repair, supervise and inspect the aforesaid downed
low hanging power line (wire), cable, telephone line (wire) or
similar wire on Meadow Lane, approximately twenty (20) feet south
of Marbridge Road, Village of Lawrence, Town of Hempstead, County
of Nassau and State of New York in a safe, proper and lawful
fashion, free from traps and conditions constituting a danger and
menace to persons lawfully and properly using the roadways so that
no person lawfully thereupon would be caused to sustain personal

injuries and/or damages.

484. At all times mentioned hereinafter, Defendant COUNTY
OF NASSAU, its agents, servants, employees, associates, agencies
and/or departments was under a duty to operate, control, manage,
Maintain, repair, supervise and inspect the aforesaid roadway on
Meadow Lane, approximately twenty (20) feet south of Marbridge Road,

Village of Lawrence, Town of Hempstead, County of Nassau and State

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of New York in a safe, proper and lawful fashion, free from traps
and conditions constituting a danger and menace to persons lawfully
and properly using the roadways so that no person lawfully thereupon

would be caused to sustain personal injuries and/or damages.

485. At all times mentioned herein, Defendant COUNTY OF
NASSAU, its agents, servants, employees, associates, agencies and/or
departments negligently and carelessly failed to provide appropriate
and sufficient illumination on Meadow Lane, approximately twenty
(20} feet south of Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

486. At all times mentioned hereinafter, Defendant COUNTY
OF NASSAU, its agents, servants, employees, associates, agencies
and/or departments was under a duty to operate, control, manage,
Maintain, repair, supervise and inspect the aforesaid illumination
or lack of illumination on Meadow Lane, approximately twenty (20)
feet south of Marbridge Road, Village of Lawrence, Town of
Hempstead, County of Nassau and State of New York in a safe, proper
and lawful fashion, free from traps and conditions constituting a
danger and menace to persons lawfully and properly using the
roadways so that no person lawfully thereupon would be caused to

sustain personal injuries and/or damages.

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487. At all times hereinafter mentioned, and prior
thereto, Defendant COUNTY OF NASSAU, was charged with the duty of
complying with the Village of Lawrence Codes, Town of Hempstead

Codes, County of Nassau Codes and New York Property Laws.

488. At all times mentioned herein, Defendant VERIZON NEW
YORK, INC., derived substantial revenue from engaging in business

in the State of New York.

489. At all times mentioned herein, Defendant VERIZON NEW
YORK, INC., expected or should have expected its acts, omissions and

activities to have consequences within the State of New York.

490. At all times mentioned herein and prior thereto, °
Defendant VERIZON NEW YORK, INC., its agents, servants, employees,
associates, agencies and/or departments caused the aforesaid power
line (wire), cable, telephone line (wire) or similar wire to be
placed on Meadow Lane, approximately twenty (20) feet south of
Marbridge Road and Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

491. At all times mentioned herein and prior thereto,
Defendant VERIZON NEW YORK, INC., its agents, servants, employees,

associates, agencies and/or departments owned the aforesaid power

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line {wire), cable, telephone line (wire) or similar wire located
on Meadow Lane, approximately twenty (20) feet south of Marbridge
Road and Marbridge Road, Village of Lawrence, Town of Hempstead,

County of Nassau and State of New York.

492. At all times mentioned herein and prior thereto,
Defendant VERIZON NEW YORK, INC., its agents, servants, employees,
associates, agencies and/or departments maintained the aforesaid
power line (wire), cable, telephone line (wire) or similar wire
located on Meadow Lane, approximately twenty (20) feet south of
Marbridge Road and Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

493. At all times mentioned herein and prior thereto,
Defendant VERIZON NEW YORK, INC., its agents, servants, employees,
associates, agencies and/or departments managed the aforesaid power
line (wire), cable, telephone line (wire) or similar wire located
on Meadow Lane, approximately twenty (20) feet south of Marbridge
Road and Marbridge Road, Village of Lawrence, Town of Hempstead,

County of Nassau and State of New York.

494, At ali times mentioned herein and prior thereto,
Defendant VERIZON NEW YORK, INC., its agents, servants, employees,

associates, agencies and/or departments controlled the aforesaid

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power line (wire), cable, telephone line (wire) or similar wire
located on Meadow Lane, approximately twenty (20) feet south of
Marbridge Road and Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

495. At all times mentioned herein and prior thereto,
Defendant VERIZON NEW YORK, INC., its agents, servants, employees,
associates, agencies and/or departments supervised the aforesaid
power line (wire), cable, telephone line (wire) or similar wire
located on Meadow Lane, approximately twenty (20) feet south of
Marbridge Road and Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

496. At all times mentioned herein and prior thereto,
Defendant VERIZON NEW YORK, INC., its agents, servants, employees,
associates, agencies and/or departments inspected the aforesaid
power line (wire), cable, telephone line (wire) or similar wire
located on Meadow Lane, approximately twenty (20) feet south of
Marbridge Road and Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

497. At all times mentioned herein and prior thereto,
Defendant VERIZON NEW YORK, INC., its agents, servants, employees,

associates, agencies and/or departments leased the aforesaid power

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line (wire), cable, telephone line (wire) or similar wire located
on Meadow Lane, approximately twenty (20) feet south of Marbridge
Road and Marbridge Road, Village of Lawrence, Town of Hempstead,

County of Nassau and State of New York.

498. At all times mentioned herein and prior thereto,
Defendant VERIZON NEW YORK, INC., its agents, servants, employees,
associates, agencies and/or departments repaired the aforesaid power
line (wire), cable, telephone line (wire) or similar wire located
on Meadow Lane, approximately twenty (20) feet south of Marbridge
Road and Marbridge Road, Village of Lawrence, Town of Hempstead,

County of Nassau and State of New York.

499. At all times mentioned herein and prior thereto,
Defendant VERIZON NEW YORK, INC., its agents, servants, employees,
associates, agencies and/or departments supervised repairs to the
aforesaid power line (wire), cable, telephone line (wire) or similar
wire located on Meadow Lane, approximately twenty (20) feet south
of Marbridge Road and Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

500. On or about September 6, 2016, Defendant VERIZON NEW
YORK, INC., its agents, servants, employees, associates, agencies

and/or departments negligently and carelessly allowed, caused and

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permitted the aforesaid power line (wire), cable, telephone line
(wire) or similar wire located on Meadow Lane, approximately twenty
(20) feet south of Marbridge Road and Marbridge Road, Village of
Lawrence, Town of Hempstead, County of Nassau and State of New York

to be, become, and remain in a dangerous and defective condition.

501. At all times mentioned herein and prior thereto,
Defendant VERIZON NEW YORK, INC., its agents, servants, employees,
associates, agencies and/or departments caused the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
to be placed on Meadow Lane, approximately twenty (20) feet south
of Marbridge Road and Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

502. At all times mentioned herein and prior thereto,
Defendant VERIZON NEW YORK, INC., its agents, servants, employees,
associates, agencies and/or departments owned the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
located on Meadow Lane and Marbridge Road, Village of Lawrence, Town

of Hempstead, County of Nassau and State of New York.

503. At all times mentioned herein and prior thereto,
Defendant VERIZON NEW YORK, INC., its agents, servants, employees,

associates, agencies and/or departments maintained the aforesaid

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power line (wire), cable, telephone line (wire) or similar wire
located on Meadow Lane and Marbridge Road, Village of Lawrence, Town

of Hempstead, County of Nassau and State of New York.

504. At ail times mentioned herein and prior thereto,
Defendant VERIZON NEW YORK, INC., its agents, servants, employees,
associates, agencies and/or departments managed the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
located on Meadow Lane and Marbridge Road, Village of Lawrence, Town

of Hempstead, County of Nassau and State of New York.

505. At all times mentioned herein and prior thereto,
Defendant VERIZON NEW YORK, INC., its agents, servants, employees,
associates, agencies and/or departments controlled the aforesaid
power line (wire), cable, telephone line (wire) or similar wire and
poles located on Meadow Lane and Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

506. At all times mentioned herein and prior thereto,
Defendant VERIZON NEW YORK, INC., its agents, servants, employees,
associates, agencies and/or departments supervised the aforesaid
power line (wire), cable, telephone line (wire) or similar wire and
poles located on Meadow Lane and Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

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507. At all times mentioned herein and prior thereto,
Defendant VERIZON NEW YORK, INC., its agents, servants, employees,
associates, agencies and/or departments inspected the aforesaid
power line (wire), cable, telephone line (wire) or similar wire and
poles located on Meadow Lane and Marbridge Road, Villiage of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

508. At all times mentioned herein and prior thereto,
Defendant VERIZON NEW YORK, INC., its agents, servants, employees,
associates, agencies and/or departments leased the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
located on Meadow Lane and Marbridge Road, Village of Lawrence, Town

of Hempstead, County of Nassau and State of New York.

509. At all times mentioned herein and prior thereto,
Defendant VERIZON NEW YORK, INC., its agents, servants, employees,
associates, agencies and/or departments repaired the aforesaid power
line {wire), cable, telephone line (wire) or similar wire and poles
located on Meadow Lane and Marbridge Road, Village of Lawrence, Town

of Hempstead, County of Nassau and State of New York.

510. At all times mentioned herein and prior thereto,

Defendant VERIZON NEW YORK, INC., its agents, servants, employees,

associates, agencies and/or departments supervised repairs to the

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aforesaid power line (wire), cable, telephone line (wire) or similar
wire and poles located on Meadow Lane and Marbridge Road, Village

of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

511. On or about September 6, 2016, Defendant VERIZON NEW
YORK, INC., its agents, servants, employees, associates, agencies
and/or departments negligently and carelessly allowed, caused and/or
permitted the aforesaid power line (wire), cable, telephone line
(wire) or similar wire and poles located on Meadow Lane and
Marbridge Road, Village of Lawrence, Town of Hempstead, County of
Nassau and State of New York to be, become, and remain in a

dangerous and defective condition.

512. At all times mentioned herein and prior thereto,
Defendant VERIZON NEW YORK, INC., its agents, servants, employees,
associates, agencies and/or departments caused the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
to be placed on the premises known as 315 Marbridge Road, Village
of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

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513. At all times mentioned herein and prior thereto,

Defendant VERIZON NEW YORK, INC., its agents, servants, employees,

associates, agencies and/or departments owned the aforesaid power
line (wire), cable, telephone line (wire} or similar wire and poles
located on the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

514. At all times mentioned herein and prior thereto,
Defendant VERIZON NEW YORK, INC., its agents, servants, employees,
associates, agencies and/or departments maintained the aforesaid
power line (wire}, cable, telephone line (wire) or similar wire and
poles located on the premises known as 315 Marbridge Road, Village
of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

515. At all times mentioned herein and prior thereto,
Defendant VERIZON NEW YORK, INC., its agents, servants, employees,
associates, agencies and/or departments managed the aforesaid power
line (wire}, cable, telephone line (wire) or similar wire and poles
located on the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

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516. At all times mentioned herein and prior thereto,
Defendant VERIZON NEW YORK, INC., its agents, servants, employees,
associates, agencies and/or departments controlled the aforesaid
power line (wire), cable, telephone line (wire) or similar wire and
poles located on the premises known as 315 Marbridge Road, Village
of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

517. At all times mentioned herein and prior thereto,
Defendant VERIZON NEW YORK, INC., its agents, servants, employees,
associates, agencies and/or departments supervised the aforesaid
power line (wire), cable, telephone line (wire) or similar wire and
poles located on the premises known as 315 Marbridge Road, Village
of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

518. At all times mentioned herein and prior thereto,
Defendant VERIZON NEW YORK, INC., its agents, servants, employees,
associates, agencies and/or departments inspected the aforesaid
power line (wire), cable, telephone line (wire) or similar wire and
poles located on the premises known as 315 Marbridge Road, Village
of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

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519. At all times mentioned herein and prior thereto,

Defendant VERIZON NEW YORK, INC., its agents, servants, employees,

associates, agencies and/or departments leased the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
located on the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

520. At all times mentioned herein and prior thereto,
Defendant VERIZON NEW YORK, INC., its agents, servants, employees,
associates, agencies and/or departments repaired the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
located on the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

521. At all times mentioned herein and prior thereto,
Defendant VERIZON NEW YORK, INC., its agents, servants, employees,
associates, agencies and/or departments supervised repairs to the
aforesaid power line (wire), cable, telephone line (wire) or similar
wire and poles located on the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

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522. On or about September 6, 2016, Defendant VERIZON NEW
YORK, INC., its agents, servants, employees, associates, agencies
and/or departments negligently and carelessly allowed, caused and/or
permitted the aforesaid power line (wire), cable, telephone line
(wire) or similar wire and poles located on the premises known as
315 Marbridge Road, Village of Lawrence, Town of Hempstead, County
of Nassau and State of New York to be, become, and remain in a

dangerous and defective condition.

523. At all times mentioned herein and prior thereto,
Defendant VERIZON NEW YORK, INC., its agents, servants, employees,
associates, agencies and/or departments caused the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
to be placed in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and Staite

of New York.

524. At all times mentioned herein and prior thereto,
Defendant VERIZON NEW YORK, INC., its agents, servants, employees,
associates, agencies and/or departments owned the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

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525. At all times mentioned herein and prior thereto,
Defendant VERIZON NEW YORK, INC., its agents, servants, employees,
associates, agencies and/or departments maintained the aforesaid
power line (wire), cable, telephone line (wire) or similar wire and
poles located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

526. At all times mentioned herein and prior thereto,
Defendant VERIZON NEW YORK, INC., its agents, servants, employees,
associates, agencies and/or departments managed the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

527. At all times mentioned herein and prior thereto,
Defendant VERIZON NEW YORK, INC., its agents, servants, employees,
associates, agencies and/or departments controlled the aforesaid
power line (wire), cable, telephone line (wire) or similar wire and
poles located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

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528. At all times mentioned herein and prior thereto,
Defendant VERIZON NEW YORK, INC., its agents, servants, employees,
associates, agencies and/or departments supervised the aforesaid
power line (wire), cable, telephone line (wire) or similar wire and
poles located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

529. At all times mentioned herein and prior thereto,
Defendant VERIZON NEW YORK, INC., its agents, servants, employees,
associates, agencies and/or departments inspected the aforesaid
power line (wire), cable, telephone line (wire) or similar wire and
poles located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

530. At all times mentioned herein and prior thereto,
Defendant VERIZON NEW YORK, INC., its agents, servants, employees,
associates, agencies and/or departments leased the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
lecated in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

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532. At all times mentioned herein and prior thereto,
Defendant VERIZON NEW YORK, INC., its agents, servants, employees,
associates, agencies and/or departments repaired the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

532. At all times mentioned herein and prior thereto,
Defendant VERIZON NEW YORK, INC., its agents, servants, employees,
associates, agencies and/or departments supervised repairs to the
aforesaid power line (wire), cable, telephone line (wire) or similar
wire and poles located in front of the premises known as 315
Marbridge Road, Village of Lawrence, Town of Hempstead, County of

Nassau and State of New York.

533. On or about September 6, 2016, Defendant VERIZON NEW
YORK, INC., its agents, servants, employees, associates, agencies
and/or departments negligently and carelessly allowed, caused and/or
permitted the aforesaid power line (wire), cable, telephone line
(wire) or similar wire and poles located in front of the premises
known as 315 Marbridge Road, Village of Lawrence, Town of Hempstead,
County of Nassau and State of New York to be, become, and remain in

a dangerous and defective condition.

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534. At all times mentioned herein and prior thereto,
Defendant VERIZON NEW YORK, INC., its agents, servants, employees,
associates, agencies and/or departments maintained the aforesaid
tree located on the premises known as 315 Marbridge Road, Village

of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

535. At alli times mentioned herein and prior thereto,
Defendant VERIZON NEW YORK, INC., its agents, servants, employees,
associates, agencies and/or departments managed the aforesaid tree
located on the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

536. At all times mentioned herein and prior thereto,
Defendant VERIZON NEW YORK, INC., its agents, servants, employees,
associates, agencies and/or departments controlled the aforesaid
tree located on the premises known as 315 Marbridge Road, Village

of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

537. At all times mentioned herein and prior thereto,

Defendant VERIZON NEW YORK, INC., its agents, servants, employees,

associates, agencies and/or departments supervised the aforesaid

tree located on the premises known as 315 Marbridge Road, Village

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of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

538. At all times mentioned herein and prior thereto,
Defendant VERIZON NEW YORK, INC., its agents, servants, employees,
associates, agencies and/or departments inspected the aforesaid tree
located on the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

539. At all times mentioned herein and prior thereto,
Defendant VERIZON NEW YORK, INC., its agents, servants, employees,
associates, agencies and/or departments supervised maintenance to
the aforesaid tree located on the premises known as 315 Marbridge
Road, Village of Lawrence, Town of Hempstead, County of Nassau and

State of New York.

540. On or about September 6, 2016, Defendant VERIZON NEW
YORK, INC. its agents, servants, employees, associates, agencies
and/or departments negligently and carelessly allowed, caused and/or
permitted the aforesaid tree located on the premises known as 315
Marbridge Road, Village of Lawrence, Town of Hempstead, County of
Nassau and State of New York to be, become, and remain in a

dangerous and defective condition.

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541. At all times mentioned herein and prior thereto,
Defendant VERIZON NEW YORK, INC., its agents, servants, employees,
associates, agencies and/or departments maintained the aforesaid
tree located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

542. At all times mentioned herein and prior thereto,
Defendant VERIZON NEW YORK, INC., its agents, servants, employees,
associates, agencies and/or departments managed the aforesaid tree
located in front of the premises known as 315 Marbridge Road,

Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

543. At all times mentioned herein and prior thereto,
Defendant VERIZON NEW YORK, INC., its agents, servants, employees,
associates, agencies and/or departments controlled the aforesaid
tree located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

544. At all times mentioned herein and prior thereto,

Defendant VERIZON NEW YORK, INC., its agents, servants, employees,

associates, agencies and/or departments supervised the aforesaid

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tree located in front of the premises known as 315 Marbridge Road,

Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

545. At all times mentioned herein and prior thereto,
Defendant VERIZON NEW YORK, INC., its agents, servants, employees,
associates, agencies and/or departments inspected the aforesaid tree
located in front of the premises known as 315 Marbridge Road,

Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

546. At all times mentioned herein and prior thereto,
Defendant VERIZON NEW YORK, INC., its agents, servants, employees,
associates, agencies and/or departments supervised maintenance to
the aforesaid tree located in front of the premises known as 315
Marbridge Road, Village of Lawrence, Town of Hempstead, County of

Nassau and State of New York.

547. On or about September 6, 2016, Defendant VERIZON NEW
YORK, INC., its agents, servants, employees, associates, agencies

and/or departments negligently and carelessly allowed, caused and/or
permitted the aforesaid tree located in front of the premises known

as 315 Marbridge Road, Village of Lawrence, Town of Hempstead,

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County of Nassau and State of New York to be, become, and remain in

a dangerous and defective condition.

548. At all times mentioned hereinafter, Defendant
VERIZON NEW YORK, INC., its agents, servants, employees, associates,
agencies and/or departments was under a duty to operate, control,
manage, Maintain, repair, supervise and inspect the aforesaid
premises specifically the tree located in front of the premises
known as 315 Marbridge Road, Village of Lawrence, Town of Hempstead,
County of Nassau and State of New York in a safe, proper and lawful
fashion, free from traps and conditions constituting a danger and
menace to persons lawfully and properly using the roadways so that
no person lawfully thereupon would be caused to sustain personal

injuries and/or damages.

549. At all times mentioned hereinafter, Defendant
VERIZON NEW YORK, INC., its agents, servants, employees, associates,
agencies and/or departments was under a duty to operate, control,
Manage, maintain, repair, supervise and inspect the aforesaid
premises specifically the tree located on the premises known as 315
Marbridge Road, Village of Lawrence, Town of Hempstead, County of
Nassau and State of New York in a safe, proper and lawful fashion,
free from traps and conditions constituting a danger and menace to

persons lawfully and properly using the roadways so that no person

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lawfully thereupon would be caused to sustain personal injuries

and/or damages.

550. At all times mentioned hereinafter, Defendant
VERIZON NEW YORK, INC., its agents, servants, employees, associates,
agencies and/or departments was under a duty to operate, control,
manage, maintain, repair, supervise and inspect the aforesaid power
line (wire), cable, telephone line (wire) or similar wire located
in front of the premises known as 315 Marbridge Road, Village of
Lawrence, Town of Hempstead, County of Nassau and State of New York
ina safe, proper and lawful fashion, free from traps and conditions
constituting a danger and menace to persons lawfully and properly
using the roadways so that no person lawfully thereupon would be

caused to sustain personal injuries and/or damages.

551. At all times mentioned hereinafter, Defendant
VERIZON NEW YORK, INC., its agents, servants, employees, associates,
agencies and/or departments was under a duty to operate, control,
manage, maintain, repair, supervise and inspect the aforesaid power
line (wire), cable, telephone line (wire) or similar wire located
on the premises known as 315 Marbridge Road, Village of Lawrence,
Town of Hempstead, County of Nassau and State of New York ina safe,
proper and lawful fashion, free from traps and conditions

constituting a danger and menace to persons lawfully and properly

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using the roadways so that no person lawfully thereupon would be

caused to sustain personal injuries and/or damages.

552. At all times mentioned hereinafter, Defendant
VERIZON NEW YORK, INC., its agents, servants, employees, associates,
agencies and/or departments was under a duty to operate, control,
Manage, Maintain, repair, supervise and inspect the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
in front of the premises known as 315 Marbridge Road, Village of
Lawrence, Town of Hempstead, County of Nassau and State of New York
in a safe, proper and lawful fashion, free from traps and conditions
constituting a danger and menace to persons lawfully and properly
using the roadways so that no person lawfully thereupon would be

caused to sustain personal injuries and/or damages.

553. At all times mentioned hereinafter, Defendant
VERIZON NEW YORK, INC., its agents, servants, employees, asscciates,
agencies and/or departments was under a duty to operate, control,
manage, maintain, repair, supervise and inspect the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
on the premises known as 315 Marbridge Road, Village of Lawrence,
Town of Hempstead, County of Nassau and State of New York in a safe,
proper and lawful fashion, free from traps and conditions

constituting a danger and menace to persons lawfully and properly

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using the roadways so that no person lawfully thereupon would be

caused to sustain personal injuries and/or damages.

554, At all times mentioned hereinafter, Defendant
VERIZON NEW YORK, INC., its agents, servants, employees, associates,
agencies and/or departments was under a duty to operate, control,
manage, maintain, repair, supervise and inspect the aforesaid downed
low hanging power line (wire), cable, telephone line (wire) or
Similar wire on Meadow Lane, approximately twenty (20) feet south
of Marbridge Road, Village of Lawrence, Town of Hempstead, County
of Nassau and State of New York in a safe, proper and lawful
fashion, free from traps and conditions constituting a danger and
menace to persons lawfully and properly using the roadways so that
no person lawfully thereupon would be caused to sustain personal

injuries and/or damages.

555, At all times hereinafter mentioned, and prior
thereto, Defendant VERIZON NEW YORK, INC., its agents, servants,
employees, associates, agencies and/or departments was charged with
the duty of complying with the Village of Lawrence Codes, Town of

Hempstead Codes, County of Nassau Codes and New York Property Law.

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556. At all times mentioned herein, Defendant csc
HOLDINGS, LLC, derived substantial revenue from engaging in business

in the State of New York.

557. At all times mentioned herein, Defendant csc
HOLDINGS, LLC, expected or should have expected its acts, omissions

and activities to have consequences within the State of New York.

558. At all times mentioned herein and prior thereto,
Defendant CSC HOLDINGS, LLC, its agents, servants, employees,
associates, agencies and/or departments caused the aforesaid power
line (wire), cable, telephone line (wire) or similar wire to be
placed on Meadow Lane, approximately twenty (20) feet south of
Marbridge Road and Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

559. At all times mentioned herein and prior thereto,
Defendant CSC HOLDINGS, LLC, its agents, servants, employees,
associates, agencies and/or departments owned the aforesaid power
line (wire), cable, telephone line (wire) or similar wire located
on Meadow Lane, approximately twenty (20) feet south of Marbridge
Road and Marbridge Road, Village of Lawrence, Town of Hempstead,

County of Nassau and State of New York.

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560. At all times mentioned herein and prior thereto,
Defendant CSC HOLDINGS, LLC, its agents, servants, employees,
associates, agencies and/or departments maintained the aforesaid
power line (wire), cable, telephone line (wire) or similar wire
located on Meadow Lane, approximately twenty (20) feet south of
Marbridge Road and Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

561. At all times mentioned herein and prior thereto,
Defendant CSC HOLDINGS, LLC, its agents, servants, employees,
associates, agencies and/or departments managed the aforesaid power
line (wire), cable, telephone line (wire) or similar wire located
on Meadow Lane, approximately twenty (20) feet south of Marbridge
Road and Marbridge Road, Village of Lawrence, Town of Hempstead,

County of Nassau and State of New York.

562. At all times mentioned herein and prior thereto,
Defendant CSC HOLDINGS, LLC, its agents, servants, employees,
associates, agencies and/or departments controlled the aforesaid
power line (wire), cable, telephone line (wire} or similar wire
located on Meadow Lane, approximately twenty (20} feet south of
Marbridge Road and Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

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563. At all times mentioned herein and prior thereto,
Defendant CSC HOLDINGS, LLC, its agents, servants, employees,
associates, agencies and/or departments supervised the aforesaid
power line (wire), cable, telephone line (wire) or similar wire
located on Meadow Lane, approximately twenty (20) feet south of
Marbridge Road and Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

564. At all times mentioned herein and prior thereto,
Defendant CSC HOLDINGS, LLC, its agents, servants, employees,
associates, agencies and/or departments inspected the aforesaid
power line (wire), cable, telephone line (wire) or similar wire
located on Meadow Lane, approximately twenty (20) feet south of
Marbridge Road and Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

565. At all times mentioned herein and prior thereto,
Defendant CSC HOLDINGS, LLC, its agents, servants, employees,
associates, agencies and/or departments leased the aforesaid power
line (wire), cable, telephone line (wire) or similar wire located
on Meadow Lane, approximately twenty (20) feet south of Marbridge
Road and Marbridge Road, Village of Lawrence, Town of Hempstead,

County of Nassau and State of New York.

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566. At all times mentioned herein and prior thereto,
Defendant CSC HOLDINGS, LLC, its agents, servants, employees,
associates, agencies and/or departments repaired the aforesaid power
iine (wire}, cable, telephone line (wire) or similar wire located
on Meadow Lane, approximately twenty (20) feet south of Marbridge
Road and Marbridge Road, Village of Lawrence, Town of Hempstead,

County of Nassau and State of New York.

567. At all times mentioned herein and prior thereto,
Defendant CSC HOLDINGS, LLC, its agents, servants, employees,
associates, agencies and/or departments supervised repairs to the
aforesaid power line (wire), cable, telephone line (wire) or similar
wire located on Meadow Lane, approximately twenty (20) feet south
of Marbridge Road and Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

568. On or about September 6, 2016, Defendant csc
HOLDINGS, LLC, its agents, servants, employees, associates, agencies
and/or departments negligently and carelessly allowed, caused and
permitted the aforesaid power line (wire}, cable, telephone line
(wire) or similar wire located on Meadow Lane, approximately twenty
(20) feet south of Marbridge Road and Marbridge Road, Village of
Lawrence, Town of Hempstead, County of Nassau and State of New York

to be, become, and remain in a dangerous and defective condition.

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569. At all times mentioned herein and prior thereto,
Defendant CSC HOLDINGS, LLC, its agents, servants, employees,
associates, agencies and/or departments caused the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
to be placed on Meadow Lane and Marbridge Road, Village of Lawrence,

Town of Hempstead, County of Nassau and State of New York.

570. At all times mentioned herein and pricr thereto,
Defendant CSC HOLDINGS, LLC, its agents, servants, employees,
associates, agencies and/or departments owned the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
located on Meadow Lane and Marbridge Road, Village of Lawrence, Town

of Hempstead, County of Nassau and State of New York.

571. At all times mentioned herein and prior thereto,
Defendant CSC HOLDINGS, LLC, its agents, servants, employees,
associates, agencies and/or departments maintained the aforesaid
power line (wire), cable, telephone line (wire) or similar wire
located on Meadow Lane and Marbridge Road, Village of Lawrence, Town

of Hempstead, County of Nassau and State of New York.

572. At all times mentioned herein and prior thereto,

Defendant CSC HOLDINGS, LLC, its agents, servants, employees,

associates, agencies and/or departments managed the aforesaid power

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line (wire), cable, telephone line (wire) or similar wire and poles
located on Meadow Lane and Marbridge Road, Village of Lawrence, Town

of Hempstead, County of Nassau and State of New York.

573. At all times mentioned herein and prior thereto,
Defendant CSC HOLDINGS, LLC, its agents, servants, employees,
associates, agencies and/or departments controlled the aforesaid
power line (wire), cable, telephone line (wire) or similar wire and
poles located on Meadow Lane and Marbridge Road, Viliage of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

574. At all times mentioned herein and prior thereto,
Defendant CSC HOLDINGS, LLC, its agents, servants, employees,
associates, agencies and/or departments supervised the aforesaid
power line (wire), cable, telephone line (wire) or similar wire and
poles located on Meadow Lane and Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

575. At all times mentioned herein and prior thereto,
Defendant CSC HOLDINGS, LLC, its agents, servants, employees,
associates, agencies and/or departments inspected the aforesaid
power line (wire), cable, telephone line (wire) or similar wire and
poles located on Meadow Lane and Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

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576. At all times mentioned herein and prior thereto,
Defendant csc HOLDINGS, LLC, its agents, servants, employees,
associates, agencies and/or departments leased the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
located on Meadow Lane and Marbridge Road, Village of Lawrence, Town

of Hempstead, County of Nassau and State of New York.

577. At all times mentioned herein and prior thereto,
Defendant CSC HOLDINGS, LLC, its agents, servants, employees,
associates, agencies and/or departments repaired the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
located on Meadow Lane and Marbridge Road, Village of Lawrence, Town

of Hempstead, County of Nassau and State of New York.

578. At all times mentioned herein and prior thereto,
Defendant CSC HOLDINGS, LLC, its agents, servants, employees,
associates, agencies and/or departments supervised repairs to the
aforesaid power line (wire), cable, telephone line (wire) or similar
wire and poles located on Meadow Lane and Marbridge Road, Village
of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

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579. On or about September 6, 2016, Defendant csc
HOLDINGS, LLC, its agents, servants, employees, associates, agencies
and/or departments negligently and carelessly allowed, caused and/or
permitted the aforesaid power line (wire), cable, telephone line
(wire) or similar wire and poles located on Meadow Lane and
Marbridge Road, Village of Lawrence, Town of Hempstead, County of
Nassau and State of New York to be, become, and remain in a

dangerous and defective condition.

580. At all times mentioned herein and prior thereto,
Defendant CSC HOLDINGS, LLC, its agents, servants, employees,
associates, agencies and/or departments caused the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
to be placed on the premises known as 315 Marbridge Road, Village

of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

581. At all times mentioned herein and prior thereto,
Defendant CSC HOLDINGS, LLC, its agents, servants, employees,
associates, agencies and/or departments owned the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
located on the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

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582. At all times mentioned herein and prior thereto,
Defendant CSC HOLDINGS, LLC, its agents, servants, employees,
associates, agencies and/or departments maintained the aforesaid
power line (wire), cable, telephone line (wire) or similar wire and
poles located on the premises known as 315 Marbridge Road, Village
of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

583. At all times mentioned herein and prior thereto,
Defendant CSC HOLDINGS, LLC, its agents, servants, employees,
associates, agencies and/or departments managed the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
located on the premises known as 315 Marbridge Road, Village of

hawrence, Town of Hempstead, County of Nassau and State of New York.

584. At all times mentioned herein and prior thereto,
Defendant CSC HOLDINGS, LLC, its agents, servants, employees,
associates, agencies and/or departments controlled the aforesaid
power line (wire), cable, telephone line (wire} or similar wire and
poles located on the premises known as 315 Marbridge Road, Village
of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

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585. At all times mentioned herein and prior thereto,
Defendant CSC HOLDINGS, LLC, its agents, servants, employees,
associates, agencies and/or departments supervised the aforesaid
power line (wire), cable, telephone line (wire) or similar wire and
poles located on the premises known as 315 Marbridge Road, Village

of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

586. At all times mentioned herein and prior thereto,
Defendant CSC HOLDINGS, LLC, its agents, servants, employees,
associates, agencies and/or departments inspected the aforesaid
power line (wire), cable, telephone line (wire) or similar wire and
poles located on the premises known as 315 Marbridge Road, Village

of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

587. At all times mentioned herein and prior thereto,
Defendant CSC HOLDINGS, LLC, its agents, servants, employess,
associates, agencies and/or departments leased the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
located on the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

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588. At all times mentioned herein and prior thereto,
Defendant CSC HOLDINGS, LLC, its agents, servants, employees,
associates, agencies and/or departments repaired the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
located on the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

589, At all times mentioned herein and prior thereto,
Defendant CSC HOLDINGS, LLC, its agents, servants, employees,
associates, agencies and/or departments supervised repairs to the
aforesaid power line (wire), cable, telephone line (wire) or similar
wire and poles located on the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

530, On or about September 6, 2016, Defendant csc
HOLDINGS, LLC, its agents, servants, employees, associates, agencies
and/or departments negligently and carelessly allowed, caused and/or
permitted the aforesaid power line (wire), cable, telephone line
(wire) or similar wire and poles located on the premises known as
315 Marbridge Road, Village of Lawrence, Town of Hempstead, County
of Nassau and State of New York to be, become, and remain in a

dangerous and defective condition.

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591. At all times mentioned herein and prior thereto,
Defendant CSC HOLDINGS, LLC, its agents, servants, employees,
associates, agencies and/or departments caused the aforesaid power
line (wire), cable, telephone line {wire) or similar wire and poles
to be placed in front of the premises known as 315 Marbridge Road,

Village of Lawrence, Town of Hempstead, County of Nassau and State

of New.

592. At all times mentioned herein and prior thereto,
Defendant CSC HOLDINGS, LLC, its agents, servants, employees,
associates, agencies and/or departments owned the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

593. At all times mentioned herein and prior thereto,
Defendant CSC HOLDINGS, LLC, its agents, servants, employees,
associates, agencies and/or departments maintained the aforesaid
power line (wire), cable, telephone line (wire) or similar wire and
poles located in front of the premises known as 315 Marbridge Road,

Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

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594. At all times mentioned herein and prior thereto,
Defendant CSC HOLDINGS, LLC, its agents, servants, employees,
associates, agencies and/or departments managed the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

595. At ail times mentioned herein and prior thereto,
Defendant CSC HOLDINGS, LLC, its agents, servants, employees,
associates, agencies and/or departments controlled the aforesaid
power line (wire), cable, telephone line (wire) or similar wire and
poles located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

596. At all times mentioned herein and prior thereto,
Defendant CSC HOLDINGS, LLC, its agents, servants, employees,
associates, agencies and/or departments supervised the aforesaid
power line (wire), cable, telephone Line (wire) or similar wire and
poles located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

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597. At all times mentioned herein and prior thereto,
Defendant CSC HOLDINGS, LLC, its agents, servants, employees,
associates, agencies and/or departments inspected the aforesaid
power line (wire), cable, telephone line (wire) or similar wire and
poles located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

598. At all times mentioned herein and prior thereto,
Defendant CSC HOLDINGS, LLC, its agents, servants, employees,
associates, agencies and/or departments leased the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

599. At all times mentioned herein and prior thereto,
Defendant CSC HOLDINGS, LLC, its agents, servants, employees,
associates, agencies and/or departments repaired the aforesaid power
line (wire), cable, telephone line (wire) or similar wire and poles
located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

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600. At all times mentioned herein and prior thereto,

Defendant CSC HOLDINGS, LLC, its agents, servants, employees,

associates, agencies and/or departments supervised repairs to the
aforesaid power line (wire), cable, telephone line (wire) or similar
wire and poles located in front of the premises known as 315
Marbridge Road, Village of Lawrence, Town of Hempstead, County of

Nassau and State of New York.

601. On or about September 6, 2016, Defendant csc
HOLDINGS, LLC, its agents, servants, employees, associates, agencies
and/or departments negligently and carelessly allowed, caused and/or
permitted the aforesaid power line (wire), cable, telephone line
(wire) or similar wire and poles located in front of the premises
known as 315 Marbridge Road, Village of Lawrence, Town of Hempstead,
County of Nassau and State of New York to be, become, and remain in

a dangerous and defective condition.

602. At all times mentioned herein and prior thereto,
Defendant CSC HOLDINGS, LLC, its agents, servants, employees,
associates, agencies and/or departments maintained the aforesaid
tree located on the premises known as 315 Marbridge Road, Village

of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

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603. At all times mentioned herein and prior thereto,
Defendant CSC HOLDINGS, LLC, its agents, servants, employees,
associates, agencies and/or departments managed the aforesaid tree
located on the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

604. At all times mentioned herein and prior thereto,
Defendant CSC HOLDINGS, LLC, its agents, servants, employees,
associates, agencies and/or departments controlled the aforesaid
tree located on the premises known as 315 Marbridge Road, Village

of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

605. At all times mentioned herein and prior thereto,
Defendant CSC HOLDINGS, LLC, its agents, servants, employees,
associates, agencies and/or departments supervised the aforesaid
tree located on the premises known as 315 Marbridge Road, Village

of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

606. At all times mentioned herein and prior thereto,

Defendant CSC HOLDINGS, LLC, its agents, servants, employees,

associates, agencies and/or departments inspected the aforesaid tree

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located on the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

607. At all times mentioned herein and prior thereto,
Defendant CSC HOLDINGS, LLC, its agents, servants, employees,
associates, agencies and/or departments supervised maintenance to
the aforesaid tree located on the premises known as 315 Marbridge

Road, Village of Lawrence, Town of Hempstead, County of Nassau and

State of New York.

608. On or about September 6, 2016, Defendant Csc
HOLDINGS, LLC, its agents, servants, employees, associates, agencies
and/or departments negligently and carelessly allowed, caused and/or
permitted the aforesaid tree located on the premises known as 315
Marbridge Road, Village of Lawrence, Town of Hempstead, County of
Nagsau and State of New York to be, become, and remain in a4

dangerous and defective condition.

509. At ail times mentioned herein and prior thereto,
Defendant CSC HOLDINGS, LLC, its agents, servants, employees,
associates, agencies and/or departments maintained the aforesaid
tree located in front of the premises known as 315 Marbridge Road,

Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

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610. At ail times mentioned herein and prior thereto,
Defendant CSC HOLDINGS, LLC, its agents, servants, employees,
associates, agencies and/or departments managed the aforesaid tree
located in front of the premises known as 315 Marbridge Road,

Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

611. At all times mentioned herein and prior thereto,
Defendant CSC HOLDINGS, LLC, its agents, servants, employees,
associates, agencies and/or departments controlled the aforesaid
tree located in front of the premises known as 315 Marbridge Road,

Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

612. At all times mentioned herein and prior thereto,
Defendant CSC HOLDINGS, LLC, its agents, servants, employees,
associates, agencies and/or departments supervised the aforesaid
tree located in front of the premises known as 315 Marbridge Road,

Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

613. At all times mentioned herein and prior thereto,
Defendant CSC HOLDINGS, LLC, its agents, servants, employees,

associates, agencies and/or departments inspected the aforesaid tree

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located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

614. At all times mentioned herein and prior thereto,
Defendant CSC HOLDINGS, LLC, its agents, servants, employees,
associates, agencies and/or departments supervised maintenance to
the aforesaid tree located in front of the premises known as 315
Marbridge Road, Village of Lawrence, Town of Hempstead, County of

Nassau and State of New York.

615. On or about September 6, 2016, Defendant Csc
HOLDINGS, LLC, its agents, servants, employees, associates, agencies
and/or departments negligently and carelessly allowed, caused and/or
permitted the aforesaid tree located in front of the premises known
as 315 Marbridge Road, Village of Lawrence, Town of Hempstead,
County of Nassau and State of New York to be, become, and remain in

a dangerous and defective condition.

616. At all times mentioned hereinafter, Defendant csc
HOLDINGS, LLC, its agents, servants, employees, associates, agencies

and/or departments was under a duty to operate, control, manage,
Maintain, repair, supervise and inspect the aforesaid premises

specifically the tree located in front of the premises known as 315

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Marbridge Road, Village of Lawrence, Town of Hempstead, County of
Nassau and State of New York in a safe, proper and lawful fashion,
free from traps and conditions constituting a danger and menace to
persons lawfully and properly using the roadways so that no person
lawfully thereupon would be caused to sustain personal injuries

and/or damages.

617. At all times mentioned hereinafter, Defendant csc
HOLDINGS, LLC, its agents, servants, employees, associates, agencies
and/or departments was under a duty to operate, control, manage,
Maintain, repair, supervise and inspect the aforesaid premises
specifically the tree located on the premises known as 315 Marbridge
Road, Village of Lawrence, Town of Hempstead, County of Nassau and
State of New York in a safe, proper and lawful fashion, free from
traps and conditions constituting a danger and menace to persons
lawfully and properly using the roadways so that no person lawfully
thereupon would be caused to sustain personal injuries and/or

damages.

618. At all times mentioned hereinafter, Defendant CSC
HOLDINGS, LLC, its agents, servants, employees, associates, agencies
and/or departments was under a duty to operate, control, manage,
maintain, repair, supervise and inspect the aforesaid power line

(wire), cable, telephone line (wire) or similar wire located in

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front of the premises known as 315 Marbridge Road, Village of
Lawrence, Town of Hempstead, County of Nassau and State of New York
in a safe, proper and lawful fashion, free from traps and conditions
constituting a danger and menace to persons lawfully and properly
using the roadways so that no person lawfully thereupon would be

caused to sustain personal injuries and/or damages.

619. At all times mentioned hereinafter, Defendant csc
HOLDINGS, LLC, its agents, servants, employees, associates, agencies
and/or departments was under a duty to operate, control, manage,
maintain, repair, supervise and inspect the aforesaid power line
(wire), cable, telephone line (wire) or similar wire located on the
premises known as 315 Marbridge Road, Village of Lawrence, Town of
Hempstead, County of Nassau and State of New York in a safe, proper
and lawful fashion, free from traps and conditions constituting a
danger and menace to persons lawfully and properly using the
roadways so that no person lawfully thereupon would be caused to

sustain personal injuries and/or damages.

620. At all times mentioned hereinafter, Defendant CSc
HOLDINGS, LLC, its agents, servants, employees, associates, agencies
and/or departments was under a duty to operate, control, manage,
Maintain, repair, supervise and inspect the aforesaid power line

(wire), cable, telephone line (wire) or similar wire and poles in

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front of the premises known as 315 Marbridge Road, Village of
Lawrence, Town of Hempstead, County of Nassau and State of New York
in a safe, proper and lawful fashion, free from traps and conditions
constituting a danger and menace to persons lawfully and properly
using the roadways so that no person lawfully thereupon would be

caused to sustain personal injuries and/or damages.

621. At all times mentioned hereinafter, Defendant csc
HOLDINGS, LLC, its agents, servants, employees, associates, agencies
and/or departments was under a duty to operate, control, manage,
Maintain, repair, supervise and inspect the aforesaid power line
(wire), cable, telephone line (wire) or similar wire and poles on
the premises known as 315 Marbridge Road, Village of Lawrence, Town
of Hempstead, County of Nassau and State of New York in a safe,
proper and dJlawfui fashion, free from traps and conditions
constituting a danger and menace to persons lawfully and properly
using the roadways so that no person lawfully thereupon would be

caused to sustain personal injuries and/or damages.

622. At all times mentioned hereinafter, Defendant csc
HOLDINGS, LLC, its agents, servants, employees, associates, agencies
and/or departments was under a duty to operate, control, manage,
maintain, repair, supervise and inspect the aforesaid downed low

hanging power line (wire), cable, telephone line (wire) or similar

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wire on Meadow Lane, approximately twenty (20) feet south of
Marbridge Road, Village of Lawrence, Town of Hempstead, County of
Nassau and State of New York in a safe, proper and lawful fashion,
free from traps and conditions constituting a danger and menace to
persons lawfully and properly using the roadways so that no person

lawfully thereupon would be caused to sustain personal injuries

and/or damages.

623. At all times hereinafter mentioned, and prior

thereto, Defendant CSC HOLDINGS, LLC, its agents, servants,

employees, associates, agencies and/or departments was charged with
the duty of complying with the Village of Lawrence Codes, Town of

Hempstead Codes, County of Nassau Codes and New York Property Law.

624. At all times mentioned herein, Defendant CABLEVISION
SYSTEM LONG ISLAND CORPORATION, derived substantial revenue from

engaging in business in the State of New York.

625. At all times mentioned herein, Defendant CABLEVISION
SYSTEM LONG ISLAND CORPORATION, expected or should have expected its

acts, omissions and activities to have consequences within the State

of New York.

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626. At all times mentioned herein and prior thereto,
Defendant CABLEVISION SYSTEM LONG ISLAND CORPORATION, its agents,
servants, employees, associates, agencies and/or departments caused
the aforesaid power line (wire), cable, telephone line (wire) or
similar wire to be placed on Meadow Lane, approximately twenty (20)
feet south of Marbridge Road and Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

627. At all times mentioned herein and prior thereto,
Defendant CABLEVISION SYSTEM LONG ISLAND CORPORATION, its agents,
servants, employees, associates, agencies and/or departments owned
the aforesaid power line (wire), cable, telephone line (wire) or
similar wire located on Meadow Lane, approximately twenty (20) feet
south of Marbridge Road and Marbridge Road, Village of Lawrence,

Town of Hempstead, County of Nassau and State of New York.

628. At all times mentioned herein and prior thereto,
Defendant CABLEVISION SYSTEM LONG ISLAND CORPORATION, its agents,
servants, employees, associates, agencies and/or departments
maintained the aforesaid power line (wire), cable, telephone Line
(wire) or similar wire located on Meadow Lane, approximately twenty
(20) feet south of Marbridge Road and Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

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629. At all times mentioned herein and prior thereto,

Defendant CABLEVISION SYSTEM LONG ISLAND CORPORATION, its agents,

servants, employees, associates, agencies and/or departments managed
the aforesaid power line (wire}, cable, telephone line (wire) or
similar wire located on Meadow Lane, approximately twenty (20) feet
south of Marbridge Road and Marbridge Road, Village of Lawrence,

Town of Hempstead, County of Nassau and State of New York.

630. At all times mentioned herein and prior thereto,
Defendant CABLEVISION SYSTEM LONG ISLAND CORPORATION, its agents,
servants, employees, associates, agencies and/or departments
controlled the aforesaid power line (wire), cable, telephone line
(wire) or similar wire located on Meadow Lane, approximately twenty
(20) feet south of Marbridge Road and Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

631. At all times mentioned herein and prior thereto,
Defendant CABLEVISION SYSTEM LONG ISLAND CORPORATION, its agents,
servants, employees, associates, agencies and/or departments
supervised the aforesaid power line (wire), cable, telephone line
(wire) or similar wire located on Meadow Lane, approximately twenty
(20) feet south of Marbridge Road and Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

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632. At all times mentioned herein and prior thereto,
Defendant CABLEVISION SYSTEM LONG ISLAND CORPORATION, its agents,
servants, employees, associates, agencies and/or departments
inspected the aforesaid power line (wire), cable, telephone line
(wire) or similar wire located on Meadow Lane, approximately twenty
(20) feet south of Marbridge Road and Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

633. At all times mentioned herein and prior thereto,
Defendant CABLEVISION SYSTEM LONG ISLAND CORPORATION, its agents,
servants, employees, associates, agencies and/or departments leased
the aforesaid power line (wire), cable, telephone line (wire) or
similar wire located on Meadow Lane, approximately twenty (20) feet
south of Marbridge Road and Marbridge Road, Village of Lawrence,

Town of Hempstead, County of Nassau and State of New York.

634, At all times mentioned herein and prior thereto,
Defendant CABLEVISION SYSTEM LONG ISLAND CORPORATION, its agents,
servanis, employees, associates, agencies and/or departments
repaired the aforesaid power line (wire), cable, telephone line
(wire) or similar wire located on Meadow Lane, approximately twenty
(20) feet south of Marbridge Road and Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

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635. At all times mentioned herein and prior thereto,
Defendant CABLEVISION SYSTEM LONG ISLAND CORPORATION, its agents,
servants, employees, associates, agencies and/or departments
supervised repairs to the aforesaid power line (wire), cable,
telephone line (wire} or similar wire located on Meadow Lane,
approximately twenty (20) feet south of Marbridge Road and Marbridge

Road, Village of Lawrence, Town of Hempstead, County of Nassau and

State of New York.

636. On or about September 6, 2016, Defendant CABLEVISION
SYSTEM LONG ISLAND CORPORATION, its agents, servants, employees,
associates, agencies and/or departments negligently and carelessly
allowed, caused and permitted the aforesaid power line (wire),
cable, telephone line (wire) or similar wire located on Meadow Lane,
approximately twenty (20) feet south of Marbridge Road and Marbridge
Road, Village of Lawrence, Town of Hempstead, County of Nassau and
State of New York to be, become, and remain in a dangerous and

defective condition.

637. At all times mentioned herein and prior thereto,
Defendant CABLEVISION SYSTEM LONG ISLAND CORPORATION, its agents,
servants, employees, associates, agencies and/or departments caused
the aforesaid power line (wire), cable, telephone line (wire} or

similar wire and poles to be placed on Meadow Lane and Marbridge

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Road, Village of Lawrence, Town of Hempstead, County of Nassau and

State of New York.

638. At all times mentioned herein and prior thereto,
Defendant CABLEVISION SYSTEM LONG ISLAND CORPORATION, its agents,

servants, employees, associates, agencies and/or departments owned
the aforesaid power line (wire), cable, telephone line (wire) or
Similar wire and poles located on Meadow Lane and Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

639. At all times mentioned herein and prior thereto,
Defendant CABLEVISION SYSTEM LONG ISLAND CORPORATION, its agents,
servants, employees, associates, agencies and/or departments
maintained the aforesaid power line (wire), cable, telephone line
(wire) or similar wire located on Meadow Lane and Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

640. At all times mentioned herein and prior thereto;
Defendant CABLEVISION SYSTEM LONG ISLAND CORPORATION, its agents,
servants, employees, associates, agencies and/or departments managed
the aforesaid power line (wire), cable, telephone line (wire) or

similar wire and poles located on Meadow Lane and Marbridge Road,

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Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

641. At all times mentioned herein and prior thereto,

Defendant CABLEVISION SYSTEM LONG ISLAND CORPORATION, its agents,

servants, employees, associates, agencies and/or departments

controlled the aforesaid power line (wire), cable, telephone line

(wire) or similar wire and poles located on Meadow Lane and
Marbridge Road, Village of Lawrence, Town of Hempstead, County of

Nassau and State of New York.

642. At all times mentioned herein and prior thereto,

Defendant CABLEVISION SYSTEM LONG ISLAND CORPORATION, its agents,

servants, employees, associates, agencies and/or departments

supervised the aforesaid power line (wire), cable, telephone line

(wire) or similar wire and poles located on Meadow Lane and
Marbridge Road, Village of Lawrence,

Town of Hempstead, County of

Nassau and State of New York.

643. At all times mentioned herein and prior thereto,

Defendant CABLEVISION SYSTEM LONG ISLAND CORPORATION, its agents,

servants, employees, associates, agencies and/or departments
inspected the aforesaid power line (wire), cable, telephone line

(wire) or similar wire and poles located on Meadow Lane and

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Marbridge Road, Village of Lawrence, Town of Hempstead, County of

Nassau and State of New York.

644. At all times mentioned herein and prior thereto,

Defendant CABLEVISION SYSTEM LONG ISLAND CORPORATION, its agents,

servants, employees, associates, agencies and/or departments leased
the aforesaid power line (wire}, cable, telephone line (wire) or
similar wire and poles located on Meadow Lane and Marbridge Road,

Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

645. At all times mentioned herein and prior thereto,
Defendant CABLEVISION SYSTEM LONG ISLAND CORPORATION, its agents,
servants, employees, associates, agencies and/or departments
repaired the aforesaid power line (wire), cable, telephone line
(wire) or similar wire and poles located on Meadow Lane and
Marbridge Road, Village of Lawrence, Town of Hempstead, County of

Nassau and State of New York.

646. At all times mentioned herein and prior thereto,
Defendant CABLEVISION SYSTEM LONG ISLAND CORPORATION, its agents,
servants, employees, associates, agencies and/or departments
supervised repairs to the aforesaid power line (wire), cable,

telephone line (wire) or similar wire and poles located on Meadow

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Lane and Marbridge Road, Village of Lawrence, Town of Hempstead,

County of Nassau and State of New York.

647. On or about September 6, 2016, Defendant CABLEVISION
SYSTEM LONG ISLAND CORPORATION, its agents, servants, employees,
associates, agencies and/or departments negligently and carelessly
allowed, caused and/or permitted the aforesaid power line (wire),
cable, telephone line (wire) or similar wire and poles located on
Meadow Lane and Marbridge Road, Village of Lawrence, Town of
Hempstead, County of Nassau and State of New York to be, become, and

remain in a dangerous and defective condition.

648. At all times mentioned herein and prior thereto,
Defendant CABLEVISION SYSTEM LONG ISLAND CORPORATION, its agents,
servants, employees, associates, agencies ana/or departments caused
the aforesaid power line (wire), cable, telephone line (wire) or
similar wire and poles to be placed on the premises known as 315
Marbridge Road, Village of Lawrence, Town of Hempstead, County of

Nassau and State of New York.

649. At all times mentioned herein and prior thereto,
Defendant CABLEVISION SYSTEM LONG ISLAND CORPORATION, its agents,

servants, employees, associates, agencies and/or departments owned

the aforesaid power line (wire), cable, telephone line (wire) or

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Similar wire and poles located on the premises known as 315
Marbridge Road, Village of Lawrence, Town of Hempstead, County of

Nassau and State of New York.

650. At all times mentioned herein and prior thereto,
Defendant CABLEVISION SYSTEM LONG ISLAND CORPORATION, its agents,
servants, employees, associates, agencies and/or departments
maintained the aforesaid power line (wire), cable, telephone line
(wire) or similar wire and poles located on the premises known as
315 Marbridge Road, Village of Lawrence, Town of Hempstead, County

of Nassau and State of New York.

651. At all times mentioned herein and prior thereto,
Defendant CABLEVISION SYSTEM LONG ISLAND CORPORATION, its agents,
servants, employees, associates, agencies and/or departments managed
the aforesaid power line (wire), cable, telephone line (wire) or
Similar wire and poles located on the premises known as 315
Marbridge Road, Village of Lawrence, Town of Hempstead, County of

Nassau and State of New York.

652. At all times mentioned herein and prior thereto,
Defendant CABLEVISION SYSTEM LONG ISLAND CORPORATION, its agents,

servants, employees, associates, agencies and/or departments

controlled the aforesaid power line (wire), cable, telephone line

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(wire) or similar wire and poles located on the premises known as
315 Marbridge Road, Village of Lawrence, Town of Hempstead, County

of Nassau and State of New York.

653. At all times mentioned herein and prior thereto,
Defendant CABLEVISION SYSTEM LONG ISLAND CORPORATION, its agents,
servants, employees, associates, agencies and/or departments
supervised the aforesaid power line (wire), cable, telephone line
(wire) or similar wire and poles located on the premises known as

315 Marbridge Road, Village of Lawrence, Town of Hempstead, County

of Nassau and State of New York.

654. At all times mentioned herein and prior thereto,
Defendant CABLEVISION SYSTEM LONG ISLAND CORPORATION, its agents,
servants, employees, associates, agencies and/or departments
inspected the aforesaid power line (wire), cable, telephone line
{wire) or similar wire and poles located on the premises known as
315 Marbridge Road, Village of Lawrence, Town of Hempstead, County

of Nassau and State of New York.

655. At all times mentioned herein and prior thereto,

Defendant CABLEVISION SYSTEM LONG ISLAND CORPORATION, its agents,

servants, employees, associates, agencies and/or departments leased

the aforesaid power line ({wire), cable, telephone line {wire) or

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Similar wire and poles located on the premises known as 315

Marbridge Road, Village of Lawrence, Town of Hempstead, County of

Nassau and State of New York.

656. At all times mentioned herein and prior thereto,
Defendant CABLEVISION SYSTEM LONG ISLAND CORPORATION, its agents,
servants, employees, associates, agencies and/or departments
repaired the aforesaid power line (wire), cable, telephone line
(wire) or similar wire and poles located on the premises known as

315 Marbridge Road, Village of Lawrence, Town of Hempstead, County

of Nassau and State of New York.

657. At all times mentioned herein and prior thereto,
Defendant CABLEVISION SYSTEM LONG ISLAND CORPORATION, its agents,
servants, employees, associates, agencies and/or departments
supervised repairs to the aforesaid power line (wire), cable,
telephone line (wire} or similar wire and poles located on the
premises known as 315 Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

658. On or about September 6, 2016, Defendant CABLEVISION
SYSTEM LONG ISLAND CORPORATION, its agents, servants, employees,

associates, agencies and/or departments negligently and carelessly

allowed, caused and/or permitted the aforesaid power line (wire),

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cable, telephone line (wire} or similar wire and poles located on
the premises known as 315 Marbridge Road, Village of Lawrence, Town
of Hempstead, County of Nassau and State of New York to be, become,

and remain in a dangerous and defective condition.

659. At all times mentioned herein and prior thereto,
Defendant CABLEVISION SYSTEM LONG ISLAND CORPORATION, its agents,
servants, employees, associates, agencies and/or departments caused
the aforesaid power line (wire), cable, telephone line (wire) or
similar wire and poles to be placed in front of the premises known
as 315 Marbridge Road, Village of Lawrence, Town of Hempstead,

County of Nassau and State of New.

660. At all times mentioned herein and prior thereto,
Defendant CABLEVISION SYSTEM LONG ISLAND CORPORATION its agents,
servants, employees, associates, agencies and/or departments owned
the aforesaid power line (wire), cable, telephone line (wire) or
similar wire and poles located in front of the premises known as 315
Marbridge Road, Villiage of Lawrence, Town of Hempstead, County of

Nassau and State of New York.

661, At all times mentioned herein and prior thereto,
Defendant CABLEVISION SYSTEM LONG ISLAND CORPORATION, its agents,

servants, employees, associates, agencies and/or departments

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maintained the aforesaid power line (wire), cable, telephone jline
(wire) or similar wire and poles located in front of the premises
known as 315 Marbridge Road, Village of Lawrence, Town of Hempstead,

County of Nassau and State of New York.

662. At all times mentioned herein and prior thereto,
Defendant CABLEVISION SYSTEM LONG ISLAND CORPORATION, its agents,
servants, employees, associates, agencies and/or departments managed
the aforesaid power line (wire), cable, telephone line (wire) or
similar wire and poles located in front of the premises known as 315
Marbridge Road, Village of Lawrence, Town of Hempstead, County of

Nassau and State of New York.

663. At all times mentioned herein and prior thereto,
Defendant CABLEVISION SYSTEM LONG ISLAND CORPORATION, its agents,
servants, employees, associates, agencies and/or departments
controlled the aforesaid power line (wire), cable, telephone line
(wire) or similar wire and poles located in front of the premises
Known as 315 Marbridge Road, Village of Lawrence, Town of Hempstead,

County of Nassau and State of New York.

664. At all times mentioned herein and prior thereto,
Defendant CABLEVISION SYSTEM LONG ISLAND CORPORATION, its agents,

servants, employees, associates, agencies and/or departments

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supervised the aforesaid power line (wire), cable, telephone line
(wire) or similar wire and poles located in front of the premises
known as 315 Marbridge Road, Village of Lawrence, Town of Hempstead,

County of Nassau and State of New York.

665. At all times mentioned herein and prior thereto,
Defendant CABLEVISION SYSTEM LONG ISLAND CORPORATION, its agents,
servants, employees, associates, agencies and/or departments
inspected the aforesaid power line (wire), cable, telephone line
(wire) or similar wire and poles located in front of the premises
known as 315 Marbridge Road, Village of Lawrence, Town of Hempstead,

County of Nassau and State of New York.

666. At all times mentioned herein and prior thereto,
Defendant CABLEVISION SYSTEM LONG ISLAND CORPORATION, its agents,
servants, employees, associates, agencies and/or departments leased
the aforesaid power line (wire), cabie, telephone line (wire) or
similar wire and poles located in front of the premises known as 315
Marbridge Road, Village of Lawrence, Town of Hempstead, County of

Nassau and State of New York.

667. At all times mentioned herein and prior thereto,
Defendant CABLEVISION SYSTEM LONG ISLAND CORPORATION, its agents,

servants, employees, associates, agencies and/or departments

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repaired the aforesaid power line (wire), cable, telephone line
(wire) or similar wire and poles located in front of the premises
known as 315 Marbridge Road, Village of Lawrence, Town of Hempstead,

County of Nassau and State of New York.

668. At all times mentioned herein and prior thereto,
Defendant CABLEVISION SYSTEM LONG ISLAND CORPORATION, its agents,
servants, employees, associates, agencies and/or departments
supervised repairs to the aforesaid power line (wire), cable,
telephone line (wire) or similar wire and poles located in front of
the premises known as 315 Marbridge Road, Village of Lawrence, Town

of Hempstead, County of Nassau and State of New York.

669. On or about September 6, 2016, Defendant CABLEVISION
SYSTEM LONG ISLAND CORPORATION, its agents, servants, employees,
associates, agencies and/or departments negligently and carelessly
allowed, caused and/or permitted the aforesaid power line (wire),
cable, telephone line (wire) or similar wire and poles located in
front of the premises known as 315 Marbridge Road, Village of
Lawrence, Town of Hempstead, County of Nassau and State of New York

to be, become, and remain in a dangerous and defective condition.

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670. At all times mentioned herein and prior thereto,
Defendant CABLEVISION SYSTEM LONG ISLAND CORPORATION, its agents,
servants, employees, associates, agencies and/or departments
maintained the aforesaid tree located on the premises known as 315
Marbridge Road, Village of Lawrence, Town of Hempstead, County of

Nassau and State of New York.

671. At all times mentioned herein and prior thereto,
Defendant CABLEVISION SYSTEM LONG ISLAND CORPORATION, its agents,
servants, employees, associates, agencies and/or departments managed
the aforesaid tree located on the premises known as 315 Marbridge

Road, Village of Lawrence, Town of Hempstead, County of Nassau and

State of New York.

672. At all times mentioned herein and prior thereto,

Defendant CABLEVISION SYSTEM LONG ISLAND CORPORATION, its agents,

servants, employees, associates, agencies and/or departments
controlled the aforesaid tree located on the premises known as 315

Marbridge Road, Village of Lawrence, Town of Hempstead, County of

Nassau and State of New York.

673. At all times mentioned herein and prior thereto,

Defendant CABLEVISION SYSTEM LONG ISLAND CORPORATION, its agents,

servants, employees, associates, agencies and/or departments

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supervised the aforesaid tree located on the premises known as 315
Marbridge Road, Village of Lawrence, Town of Hempstead, County of

Nassau and State of New York.

674. At all times mentioned herein and prior thereto,
Defendant CABLEVISION SYSTEM LONG ISLAND CORPORATION, its agents,
servants, employees, associates, agencies and/or departments
inspected the aforesaid tree located on the premises known as 315
Marbridge Road, Village of Lawrence, Town of Hempstead, County of

Nassau and State of New York.

675. At all times mentioned herein and prior thereto,
Defendant CABLEVISION SYSTEM LONG ISLAND CORPORATION, its agents,
servants, employees, associates, agencies and/or departments
supervised maintenance to the aforesaid tree located on the premises
known as 315 Marbridge Road, Village of Lawrence, Town of Hempstead,

County of Nassau and State of New York.

676. On or about September 6, 2016, Defendant CABLEVISION
SYSTEM LONG ISLAND CORPORATION, its agents, servants, employees,
associates, agencies and/or departments negligently and carelessly
allowed, caused and/or permitted the aforesaid tree located on the

premises known as 315 Marbridge Road, Village of Lawrence, Town of

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Hempstead, County of Nassau and State of New York to be, become, and

remain in a dangerous and defective condition.

677. At all times mentioned herein and prior thereto,
Defendant CABLEVISION SYSTEM LONG ISLAND CORPORATION, its agents,
servants, employees, associates, agencies and/or departments
maintained the aforesaid tree located in front of the premises known
as 315 Marbridge Road, Village of Lawrence, Town of Hempstead,

County of Nassau and State of New York.

678. At all times mentioned herein and prior thereto,
Defendant CABLEVISION SYSTEM LONG ISLAND CORPORATION, its agents,
servants, employees, associates, agencies and/or departments managed
the aforesaid tree located in front of the premises known as 315
Marbridge Road, Village of Lawrence, Town of Hempstead, County of

Nassau and State of New York.

679. At all times mentioned herein and prior thereto,
Defendant CABLEVISION SYSTEM LONG ISLAND CORPORATION, its agents,
servants, employees, associates, agencies and/or departments
controlled the aforesaid tree located in front of the premises known
as 315 Marbridge Road, Village of Lawrence, Town of Hempstead,

County of Nassau and State of New York.

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680. At all times mentioned herein and prior thereto,
Defendant CABLEVISION SYSTEM LONG ISLAND CORPORATION its agents,
servants, employees, associates, agencies and/or departments
supervised the aforesaid tree located in front of the premises known
as 315 Marbridge Road, Village of Lawrence, Town of Hempstead,

County of Nassau and State of New York.

681. At all times mentioned herein and prior thereto,
Defendant CABLEVISION SYSTEM LONG ISLAND CORPORATION, its agents,
servants, employees, associates, agencies and/or departments
inspected the aforesaid tree located in front of the premises known

as 315 Marbridge Road, Village of Lawrence, Town of Hempstead,

County of Nassau and State of New York.

682. At all times mentioned herein and prior thereto,

Defendant CABLEVISION SYSTEM LONG ISLAND CORPORATION, its agents,

servants, employees, associates, agencies and/or departments
supervised maintenance to the aforesaid tree located in front of the
premises known as 315 Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

683. On or about September 6, 2016, Defendant CABLEVISION
SYSTEM LONG ISLAND CORPORATION, its agents, servants, employees,

associates, agencies and/or departments negligently and carelessly

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allowed, caused and/or permitted the aforesaid tree located in front
of the premises known as 315 Marbridge Road, Village of Lawrence,
Town of Hempstead, County of Nassau and State of New York to be,

become, and remain in a dangerous and defective condition.

684. At all times mentioned hereinafter, Defendant
CABLEVISION SYSTEM LONG ISLAND CORPORATION, its agents, servants,
employees, associates, agencies and/or departments was under a duty
to operate, control, manage, maintain, repair, supervise and inspect
the aforesaid premises specifically the tree located in front of the
premises known as 315 Marbridge Road, Village of Lawrence, Town of
Hempstead, County of Nassau and State of New York in a safe, proper
and lawful fashion, free from traps and conditions constituting a
danger and menace to persons lawfully and properly using the
roadways so that no person lawfully thereupon would be caused to

sustain personal injuries and/or damages.

685. At all times mentioned hereinafter, Defendant
CABLEVISION SYSTEM LONG ISLAND CORPORATION, its agents, servants,
employees, associates, agencies and/or departments was under a duty
to operate, control, manage, maintain, repair, supervise and inspect
the aforesaid premises specifically the tree located on the premises
known as 315 Marbridge Road, Village of Lawrence, Town of Hempstead,

County of Nassau and State of New York in a safe, proper and lawful

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fashion, free from traps and conditions constituting a danger and
menace to persons lawfully and properly using the roadways so that
no person lawfully thereupon would be caused to sustain personal

injuries and/or damages.

686. At all times mentioned hereinafter, Defendant

CABLEVISION SYSTEM LONG ISLAND CORPORATION, its agents, servants,

employees, associates, agencies and/or departments was under a duty
to operate, control, manage, maintain, repair, supervise and inspect
the aforesaid power line (wire), cable, telephone line (wire) or
similar wire located in front of the premises known as 315 Marbridge
Road, Village of Lawrence, Town of Hempstead, County of Nassau and
State of New York in a safe, proper and lawful fashion, free from
traps and conditions constituting a danger and menace to persons
lawfully and properly using the roadways so that no person lawfully
thereupon would be caused to sustain personal injuries and/or

damages.

687. At all times mentioned hereinafter, Defendant
CABLEVISION SYSTEM LONG ISLAND CORPORATION, its agents, servants,
employees, associates, agencies and/or departments was under a duty
to operate, control, manage, maintain, repair, supervise and inspect
the aforesaid power line (wire), cable, telephone line (wire) or

similar wire located on the premises known as 315 Marbridge Road,

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Village of Lawrence, Town of Hempstead, County of Nassau and State
of New York in a safe, proper and lawful fashion, free from traps
ana conditions constituting a danger and menace to persons lawfully
and properly using the roadways so that no person lawfully thereupon

would be caused to sustain personal injuries and/or damages.

688. At all times mentioned hereinafter, Defendant
CABLEVISION SYSTEM LONG ISLAND CORPORATION its agents, servants,
employees, associates, agencies and/or departments was under a duty
to operate, control, manage, maintain, repair, supervise and inspect
the aforesaid power line (wire), cable, telephone line (wire) or
similar wire and poles in front of the premises known as 315
Marbridge Road, Village of Lawrence, Town of Hempstead, County of
Nassau and State of New York in a safe, proper and lawful fashion,
free from traps and conditions constituting a danger and menace to
persons lawfully and properly using the roadways so that no person
lawfully thereupon would be caused to sustain personal injuries

and/or damages.

689. At all times mentioned hereinafter, Defendant
CABLEVISION SYSTEM LONG ISLAND CORPORATION its agents, servants,
employees, associates, agencies and/or departments was under a duty
to operate, control, manage, maintain, repair, supervise and inspect

the aforesaid power line (wire), cable, telephone line (wire) or

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similar wire and poles on the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State
of New York in a safe, proper and lawful fashion, free from traps
and conditions constituting a danger and menace to persons lawfully

and properly using the roadways so that no person lawfully thereupon

would be caused to sustain personal injuries and/or damages.

690. At all times mentioned hereinafter, Defendant
CABLEVISION SYSTEM LONG ISLAND CORPORATION, its agents, servants,
employees, associates, agencies and/or departments was under a duty
to operate, control, manage, maintain, repair, supervise and inspect
the aforesaid downed low hanging power line (wire), cable, telephone
line (wire) or similar wire on Meadow Lane, approximately twenty
(20) feet south of Marbridge Road, Village of Lawrence, Town of
Hempstead, County of Nassau and State of New York in a safe, proper
and lawful fashion, free from traps and conditions constituting a
danger and menace to persons lawfully and properly using the
roadways so that no person lawfully thereupon would be caused to

sustain personal injuries and/or damages.

691. At all times hereinafter mentioned, and prior

thereto, Defendant CABLEVISION SYSTEM LONG ISLAND CORPORATION its

agents, servants, employees, associates, agencies and/or departments

was charged with the duty of complying with the Village of Lawrence

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Codes, Town of Hempstead Codes, County of Nassau Codes and New York

Property Law.

692. At all times mentioned herein, Defendant ASPLUNDH
TREE EXPERT CO., derived substantial revenue from engaging in

business in the State of New York.

693. At all times mentioned herein, Defendant ASPLUNDH
TREE EXPERT CO., expected or should have expected its acts,

omissions and activities to have consequences within the State of

New York.

694, At all times mentioned herein and prior thereto,

Defendant ASPLUNDH TREE EXPERT CO., its agents, servants, employees,
associates, agencies and/or departments was an agent, servant,

employee and/or associate of Defendant LONG ISLAND POWER AUTHORITY.

695. At all times mentioned herein and prior thereto,

Defendant ASPLUNDH TREE EXPERT CO., its agents, servants, employees,
associates, agencies and/or departments was an agent, servant,

employee and/or associate of Defendant NATIONAL GRID.

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696. At all times mentioned herein and prior thereto,
Defendant ASPLUNDH TREE EXPERT CO., its agents, servants, employees,
associates, agencies and/or departments was an agent, servant,

employee and/or associate of Defendant PSEG.

697. At all times mentioned herein and prior thereto,
Defendant ASPLUNDH TREE EXPERT CO., its agents, servants, employees,

associates, agencies and/or departments was an agent, servant,

employee and/or associate of Defendant VILLAGE OF LAWRENCE.

698. At all times mentioned herein and prior thereto,

Defendant ASPLUNDH TREE EXPERT CO., its agents, servants, employees,
associates, agencies and/or departments was an agent, servant,

employee and/or associate of Defendant TOWN OF HEMPSTEAD.

699, At all times mentioned herein and prior thereto,

Defendant ASPLUNDH TREE EXPERT CoO., its agents, servants, employees,
associates, agencies and/or departments was an agent, servant,

employee and/or associate of Defendant COUNTY OF NASSAU.

700. At all times mentioned herein and prior thereto,
Defendant ASPLUNDH TREE EXPERT CO., its agents, servants, employees,
associates, agencies and/or departments was an agent, servant,

employee and/or associate of Defendant VERIZON NEW YORK, INC.

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701. At all times mentioned herein and prior thereto,
Defendant ASPLUNDH TREE EXPERT CO., its agents, servants, employees,
associates, agencies and/or departments was an agent, servant,

employee and/or associate of Defendant CSC HOLDINGS, LLC.

702. At all times mentioned herein and prior thereto,
Defendant ASPLUNDH TREE EXPERT CO., its agents, servants, employees,
associates, agencies and/or departments was an agent, servant,
employee and/or associate of Defendant CABLEVISION SYSTEM OF LONG

ISLAND CORPORATION.

703. At all times mentioned herein and prior thereto,
Defendant ASPLUNDH TREE EXPERT CO., its agents, servants, employees,
associates, agencies and/or departments was an agent, servant,

employee and/or associate of Defendant SAMUEL SHORE.

704. At all times mentioned herein and prior thereto,

Defendant ASPLUNDH TREE EXPERT CO., its agents, servants, employees,

associates, agencies and/or departments was an agent, servant,

employee and/or associate of Defendant TRACY SHORE.

705. At all times mentioned herein and prior thereto,
Defendant ASPLUNDH TREE EXPERT CO., its agents, servants, employees,

associates, agencies and/or departments maintained the aforesaid

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power line {wire), cable, telephone line (wire) or similar wire
located on Meadow Lane and Marbridge Road, Village of Lawrence, Town

of Hempstead, County of Nassau and State of New York.

706. At all times mentioned herein and prior thereto,

Defendant ASPLUNDH TREE EXPERT CO., its agents, servants, employees,

associates, agencies and/or departments managed the aforesaid power
line (wire), cable, telephone line (wire) or similar wire located
on Meadow Lane and Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

707. At all times mentioned herein and prior thereto,
Defendant ASPLUNDH TREE EXPERT CO., its agents, servants, employees,
associates, agencies and/or departments controlled the aforesaid
power line (wire), cable, telephone line (wire) or similar wire
located on Meadow Lane and Marbridge Road, Village of Lawrence, Town

of Hempstead, County of Nassav and State of New York.

708. At all times mentioned herein and prior thereto,
Defendant ASPLUNDH TREE EXPERT CO., its agents, servants, employees,
associates, agencies and/or departments supervised the aforesaid
power line (wire), cable, telephone line (wire) or similar wire
located on Meadow Lane and Marbridge Road, Village of Lawrence, Town

of Hempstead, County of Nassau and State of New York.

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709. At all times mentioned herein and prior thereto,
Defendant ASPLUNDH TREE EXPERT CO., its agents, servants, employees,
associates, agencies and/or departments inspected the aforesaid
power line (wire), cable, telephone line (wire) or similar wire
located on Meadow Lane and Marbridge Road, Village of Lawrence, Town

of Hempstead, County of Nassau and State of New York.

710. At all times mentioned herein and prior thereto,
Defendant ASPLUNDH TREE EXPERT CO., its agents, servants, employees,
associates, agencies and/or departments supervised maintenance of
the aforesaid power line (wire), cable, telephone line (wire) or
similar wire Located on Meadow Lane and Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

Fil. On or about September 6, 2016, Defendant ASPLUNDH
TREE EXPERT CO., its agents, servants, employees, associates,
agencies and/or departments negligently and carelessly allowed,
caused and/or permitted the aforesaid power line (wire), cable,
telephone line (wire) or similar wire located on Meadow Lane and
Marbridge Road, Village of Lawrence, Town of Hempstead, County of
Nassau and State of New York to be, become, and remain in a

dangerous and defective condition.

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712. At all times mentioned herein and prior thereto,
Defendant ASPLUNDH TREE EXPERT CO., its agents, servants, employees,
associates, agencies and/or departments maintained the aforesaid
power line (wire), cable, telephone line (wire) or similar wire
poles located on Meadow Lane and Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

713. At all times mentioned herein and prior thereto,
Defendant ASPLUNDH TREE EXPERT CO., its agents, servants, employees,
associates, agencies and/or departments managed the aforesaid power
line {wire}, cable, telephone line ({wire) or similar wire poles
located on Meadow Lane and Marbridge Road, Village of Lawrence, Town

of Hempstead, County of Nassau and State of New York.

714. At all times mentioned herein and prior thereto,
Defendant ASPLUNDH TREE EXPERT CO., its agents, servants, employees,
associates, agencies and/or departments controlled the aforesaid
power line (wire), cable, telephone line (wire) or similar wire
poles located on Meadow Lane and Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

715. At all times mentioned herein and prior thereto,
Defendant ASPLUNDH TREE EXPERT CO., its agents, servants, employees,

associates, agencies and/or departments supervised the aforesaid

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power line (wire), cable, telephone line (wire) or similar wire
poles located on Meadow Lane and Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

716. At all times mentioned herein and prior thereto,
Defendant ASPLUNDH TREE EXPERT CO., its agents, servants, employees,
associates, agencies and/or departments inspected the aforesaid
power line (wire), cable, telephone line (wire) or similar wire
poles located on Meadow Lane and Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

717. At all times mentioned herein and prior thereto,
Defendant ASPLUNDH TREE EXPERT CO., its agents, servants, employees,
associates, agencies and/or departments supervised maintenance of
the aforesaid power line (wire), cable, telephone line (wire) or
Similar wire poles located on Meadow Lane and Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

718. On or about September 6, 2016, Defendant ASPLUNDH
TREE EXPERT CoO., its agents, servants, employees, associates,

agencies and/or departments negligently and carelessly allowed,
caused and/or permitted the aforesaid power line (wire), cable,

telephone line (wire) or similar wire poles located on Meadow Lane

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and Marbridge Road, Village of Lawrence, Town of Hempstead, County
of Nassau and State of New York to be, become, and remain in a

dangerous and defective condition.

719. At all times mentioned herein and prior thereto,
Defendant ASPLUNDH TREE EXPERT CO., its agents, servants, employees,
associates, agencies and/or departments maintained the power line
(wire), cable, telephone line (wire} or similar wire and poles
located on the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

720. At all times mentioned herein and prior thereto,
Defendant ASPLUNDH TREE EXPERT CO., its agents, servants, employees,
associates, agencies and/or departments managed the power line
(wire), cable, telephone line (wire) or similar wire and poles
located on the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

721. At all times mentioned herein and prior thereto,
Defendant ASPLUNDH TREE EXPERT CO., its agents, servants, employees,
associates, agencies and/or departments controlled the power line
(wire), cable, telephone line (wire) or similar wire and poles
located on the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

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722. At all times mentioned herein and prior thereto,
Defendant ASPLUNDH TREE EXPERT CO., its agents, servants, employees,
associates, agencies and/or departments supervised the power line
(wire), cable, telephone line (wire) or similar wire and poles
located on the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

723. At all times mentioned herein and prior thereto,
Defendant ASPLUNDH TREE EXPERT CO., its agents, servants, employees,
associates, agencies and/or departments inspected the power line
(wire), cable, telephone line (wire) or similar wire and poles
located on the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

724. At all times mentioned herein and prior thereto,
Defendant ASPLUNDH TREE EXPERT CO., its agents, servants, employees,
associates, agencies and/or departments supervised maintenance the
power line (wire), cable, telephone line (wire) or similar wire and
poles located on the premises known as 315 Marbridge Road, Village

of Lawrence, Town cf Hempstead, County of Nassau and State of New

York.

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725. On or about September 6, 2016, Defendant ASPLUNDH
TREE EXPERT CO., its agents, servants, employees, associates,
agencies and/or departments negligently and carelessly allowed,
caused and/or permitted the aforesaid power line (wire), cable,
telephone line (wire) or similiar wire and poles located on the
premises known as 315 Marbridge Road, Village of Lawrence, Town of
Hempstead, County of Nassau and State of New York to be, become, and

remain in a dangerous and defective condition.

726. At all times mentioned herein and prior thereto,
Defendant ASPLUNDH TREE EXPERT CO., its agents, servants, employees,
associates, agencies and/or departments Maintained the power line
(wire), cable, telephone line (wire) or similar wire and poles
located in front of the premises known as 315 Marbridge Road,

Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

727. At all times mentioned herein and prior thereto,
Defendant ASPLUNDH TREE EXPERT CO., its agents, servants, employees,
associates, agencies and/or departments managed the power line
(wire), cable, telephone line (wire) or similar wire and poles
located in front of the premises known as 315 Marbridge Road,

Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

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728. At all times mentioned herein and prior thereto,

Defendant ASPLUNDH TREE EXPERT CO., its agents, servants, employees,

associates, agencies and/or departments controlled the power line
(wire), cable, telephone line (wire) or similar wire and poles
located in front of the premises known as 315 Marbridge Road,

Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

729. At all times mentioned herein and prior thereto,
Defendant ASPLUNDH TREE EXPERT CO., its agents, servants, employees,
associates, agencies and/or departments supervised the power line
(wire), cable, telephone line (wire) or similar wire and poles
located in front of the premises known as 315 Marbridge Road,

Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

730. At all times mentioned herein and prior thereto,
Defendant ASPLUNDH TREE EXPERT CO., its agents, servants, employees,
associates, agencies and/or departments inspected the power line
(wire), cable, telephone line (wire) or similar wire and poles
located in front of the premises known as 315 Marbridge Road,

Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

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731. At all times mentioned herein and prior thereto,

Defendant ASPLUNDH TREE EXPERT CO., its agents, servants, employees,

associates, agencies and/or departments supervised maintenance of
the power line (wire}, cable, teiephone line (wire) or similar wire
and poles located in front of the premises known as 315 Marbridge
Road, Village of Lawrence, Town of Hempstead, County of Nassau and

State of New York.

732. On or about September 6, 2016, Defendant ASPLUNDH
TREE EXPERT CO., its agents, servants, employees, associates,
agencies and/or departments negligently and carelessly allowed,
caused and/or permitted the aforesaid power line (wire), cable,
telephone line (wire) or similar wire and poles located in front of
the premises known as 315 Marbridge Road, Village of Lawrence, Town
of Hempstead, County of Nassau and State of New York to be, become,

and remain in a dangerous and defective condition.

733. At ail times mentioned herein and prior thereto,
Defendant ASPLUNDH TREE EXPERT CO., its agents, servants, employees,
associates, agencies and/or departments maintained the aforesaid
tree located in front of the premises known as 315 Marbridge Road,

Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

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734. At all times mentioned herein and prior thereto,
Defendant ASPLUNDH TREE EXPERT CO., its agents, servants, employees,
associates, agencies and/or departments managed the aforesaid tree
located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

735. At all times mentioned herein and prior thereto,
Defendant ASPLUNDH TREE EXPERT CO., its agents, servants, employees,
associates, agencies and/or departments controlled the aforesaid
tree located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

736. At all times mentioned herein and prior thereto,
Defendant ASPLUNDH TREE EXPERT CO., its agents, servants, employees,
associates, agencies and/or departments supervised the aforesaid
tree located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

9737. At all times mentioned herein and prior thereto,
Defendant ASPLUNDH TREE EXPERT CO., its agents, servants, employees,

associates, agencies and/or departments inspected the aforesaid tree

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located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

738. At all times mentioned herein and prior thereto,
Defendant ASPLUNDH TREE EXPERT CO., its agents, servants, employees,
associates, agencies and/or departments supervised maintenance of
the aforesaid tree located in front of the premises known as 315

Marbridge Road, Village of Lawrence, Town of Hempstead, County of

Nassau and State of New York.

739. On or about September 6, 2016, Defendant ASPLUNDH
TREE EXPERT CO., its agents, servants, employees, associates,
agencies and/or departments negligently and carelessly allowed,
caused and/or permitted the aforesaid tree located in front of the
premises known as 315 Marbridge Road, Village of Lawrence, Town of
Hempstead, County of Nassau and State of New York to be, become, and

remain in a dangerous and defective condition.

740. At all times mentioned herein and prior thereto,
Defendant ASPLUNDH TREE EXPERT CO., its agents, servants, employees,
associates, agencies and/or departments maintained the aforesaid
tree located on the premises known as 315 Marbridge Road, Village

of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

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741. At all times mentioned herein and prior thereto,
Defendant ASPLUNDH TREE EXPERT CO., its agents, servants, employees,
associates, agencies and/or departments managed the aforesaid tree
located on the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

742. At all times mentioned herein and prior thereto,
Defendant ASPLUNDH TREE EXPERT CO., its agents, servants, employees,
associates, agencies and/or departments controlled the aforesaid
tree located on the premises known as 315 Marbridge Road, Village

of Lawrence, Town cf Hempstead, County of Nassau and State of New

York.

‘743. At all times mentioned herein and prior thereto,
Defendant ASPLUNDH TREE EXPERT CO., its agents, servants, employees,
associates, agencies and/or departments supervised the aforesaid
tree located on the premises known as 315 Marbridge Road, Village

of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

744. At all times mentioned herein and prior thereto,
Defendant ASPLUNDH TREE EXPERT CO., its agents, servants, employees,
associates, agencies and/or departments inspected the aforesaid tree
located on the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

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745. At all times mentioned herein and prior thereto,
Defendant ASPLUNDH TREE EXPERT CoO., its agents, servants, employess,
associates, agencies and/or departments supervised maintenance of
the aforesaid tree located on the premises known as 315 Marbridge
Road, Village of Lawrence, Town of Hempstead, County of Nassau and

State of New York.

746. On or about September 6, 2016, Defendant ASPLUNDH
TREE EXPERT CO., its agents, servants, employees, associates,
agencies and/or departments negligently and carelessly allowed,
caused and/or permitted the aforesaid tree located on the premises
known as 315 Marbridge Road, Village of Lawrence, Town of Hempstead,
County of Nassau and State of New York to be, become, and remain in

a dangerous and defective condition.

747. At all times mentioned hereinafter, Defendant
ASPLUNDH TREE EXPERT CO., its agents, servants, employees,
associates, agencies and/or departments was under a duty to operate,
control, manage, maintain, repair, supervise and inspect the
aforesaid premises specifically the tree located in front of the
premises known as 315 Marbridge Road, Village of Lawrence, Town of
Hempstead, County of Nassau and State of New York in a safe, proper
and lawful fashion, free from traps and conditions constituting a

danger and menace to persons lawfully and properly using the

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roadways so that no person lawfully thereupon would be caused to

sustain personal injuries and/or damages.

748. At all times mentioned hereinafter, Defendant
ASPLUNDH TREE EXPERT CO., its agents, servants, employees,
associates, agencies and/or departments was under a duty to operate,
control, manage, maintain, repair, supervise and inspect the
aforesaid premises specifically the tree located on the premises
known as 315 Marbridge Road, Village of Lawrence, Town of Hempstead,
County of Nassau and State of New York in a safe, proper and lawful
fashion, free from traps and conditions constituting a danger and
menace to persons lawfully and properly using the roadways so that
no person lawfully thereupon would be caused to sustain personal

injuries and/or damages.

749. At all times mentioned hereinafter, Defendant
ASPLUNDH TREE EXPERT Coc., its agents, servants, employees,
associates, agencies and/or departments was under a duty to operate,
control, manage, maintain, repair, supervise and inspect the
aforesaid power line (wire), cable, telephone line (wire) or similar
wire located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State
of New York in a safe, proper and lawful fashion, free from traps

and conditions constituting a danger and menace to persons lawfully

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and properly using the roadways so that no person lawfully thereupon

would be caused to sustain personal injuries and/or damages.

750. At all times mentioned hereinafter, Defendant
ASPLUNDH TREE EXPERT CO., its agents, servants, employees,
associates, agencies and/or departments was under a duty to operate,
control, manage, maintain, repair, supervise and inspect the
aforesaid power line (wire), cable, telephone line (wire) or similar
wire located on the premises known as 315 Marbridge Road, Village
of Lawrence, Town of Hempstead, County of Nassau and State of New
York in a safe, proper and lawful fashion, free from traps and
conditions constituting a danger and menace to persons lawfully and
properly using the roadways so that no person lawfully thereupon

would be caused to sustain personal injuries and/or damages.

751. At all times mentioned hereinafter, Defendant
ASPLUNDE TREE EXPERT Co., its agents, servants, employees,
associates, agencies and/or departments was under a duty to operate,
control, manage, maintain, repair, supervise and inspect the
aforesaid power line (wire), cable, telephone line (wire) or similar
wire and poles in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State
of New York in a safe, proper and lawful fashion, free from traps

and conditions constituting a danger and menace to persons lawfully

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and properly using the roadways so that no person lawfully thereupon

would be caused to sustain personal injuries and/or damages.

752. At all times mentioned hereinafter, Defendant
ASPLUNDH TREE EXPERT cCO., its agents, servants, employees,

associates, agencies and/or departments was under a duty to operate,
control, manage, maintain, repair, supervise and inspect the
aforesaid power line (wire), cable, telephone line (wire) or similar
wire and poles on the premises known as 315 Marbridge Road, Village
of Lawrence, Town of Hempstead, County of Nassau and State of New
York in a safe, proper and lawful fashion, free from traps and
conditions constituting a danger and menace to persons lawfully and
properly using the roadways so that no person lawfully thereupon

would be caused to sustain personal injuries and/or damages.

753. At all times mentioned hereinafter, Defendant
ASPLUNDH TREE EXPERT CoO., its agents, servants, employees,
associates, agencies and/or departments was under a duty to control,
manage, Maintain, repair, supervise and inspect the aforesaid power
line (wire), cable, telephone line (wire) or similar wire on Meadow
Lane and Marbridge Road, Village of Lawrence, Town of Hempstead,
County of Nassau and State of New York in a safe, proper and lawful
fashion, free from traps and conditions constituting a danger and

menace to persons lawfully and properly using the roadways so that

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no person lawfully thereupon would be caused to sustain personal

injuries and/or damages.

754. At all times hereinafter mentioned, and prior

thereto, Defendant ASPLUNDH TREE EXPERT Co., its agents, servants,

employees, associates, agencies and/or departments was charged with
the duty of complying with the Village of Lawrence Codes, Town of

Hempstead Codes, County of Nassau Codes and New York Property Law.

755. At all times mentioned herein, Defendant LONG ISLAND
POWER AUTHORITY is vicariously liable for the injuries and damages

caused by the negligence of Defendant ASPLUNDH TREE EXPERT Co.

756. At all times mentioned herein, Defendant NATIONAL
GRID is vicariously liable for the injuries and damages caused by

the negligence of Defendant ASPLUNDH TREE EXPERT Co.

757. At all times mentioned herein, Defendant PSEG is
vicariously liable for the injuries and damages caused by the

negligence of Defendant ASPLUNDH TREE EXPERT Co.

758. At ali times mentioned herein, Defendant VILLAGE OF
LAWRENCE is vicariously liable for the injuries and damages caused

by the negligence of Defendant ASPLUNDH TREE EXPERT Co.

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759, At all times mentioned herein, Defendant TOWN OF
HEMPSTEAD is vicariously liable for the injuries and damages caused

by the negligence of Defendant ASPLUNDH TREE EXPERT Co.

760. At all times mentioned herein, Defendant COUNTY OF
NASSAU is vicariously liable for the injuries and damages caused by

the negligence of Defendant ASPLUNDH TREE EXPERT Co.

761l. At all times mentioned herein, Defendant VERIZON NEW
YORK, INC. is vicariously liable for the injuries and damages caused

by the negligence of Defendant ASPLUNDH TREE EXPERT Co.

762. At all times mentioned herein, Defendant csc
HOLDINGS, LLC is vicariously liable for the injuries and damages

caused by the negligence of Defendant ASPLUNDH TREE EXPERT Co.

763. At all times mentioned herein, Defendant CABLEVISION
SYSTEM LONG ISLAND CORPORATION is vicariously liable for the

injuries and damages caused by the negligence of Defendant ASPLUNDH

TREE EXPERT CoO.

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764. At all times mentioned herein, Defendant LONG ISLAND
POWER AUTHORITY is responsible for the tortious acts of its agent,

servant, employee and/or associate, Defendant ASPLUNDH TREE EXPERT

co.

765. At all times mentioned herein, Defendant ALTICE USA,
INC., is responsible for the tortious acts of its agent, servant,

employee and/or associate, Defendant ASPLUNDH TREE EXPERT Co.

766. At all times mentioned herein, Defendant NATIONAL
GRID is responsible for the tortious acts of its agent, servant,

employee and/or associate, Defendant ASPLUNDH TREE EXPERT Co.

767. At all times mentioned herein, Defendant PSEG is
responsible for the tortious acts of its agent, servant, employee

and/or associate, Defendant ASPLUNDH TREE EXPERT Co.

768. At all times mentioned herein, Defendant VILLAGE OF

LAWRENCE is responsible for the tortious acts of its agent, servant,

employee and/or associate, Defendant ASPLUNDH TREE EXPERT Co.

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769. At all times mentioned herein, Defendant TOWN OF
HEMPSTEAD is responsible for the tortious acts of its agent,
servant, employee and/or associate, Defendant ASPLUNDH TREE EXPERT

co.

770. At all times mentioned herein, Defendant COUNTY OF
NASSAU is responsible for the tortious acts of its agent, servant,

employee and/or associate, Defendant ASPLUNDH TREE EXPERT Co.

771. At all times mentioned herein, Defendant VERIZON NEW
YORK, INC. is responsible for the tortious acts of its agent,

servant, employee and/or associate, Defendant ASPLUNDH TREE EXPERT

co.

772. At all times mentioned herein, Defendant csc
HOLDINGS, LLC is responsible for the tortious acts of its agent,

servant, employee and/or associate, Defendant ASPLUNDH TREE EXPERT

co.

773. At all times mentioned herein, Defendant CABLEVISION

SYSTEM LONG ISLAND CORPORATION is responsible for the tortious acts

of its agent, servant, employee and/or associate, Defendant ASPLUNDH

TREE EXPERT Co.

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774. At all times mentioned herein, Defendant ASPLUNDH
TREE EXPERT CO. performed services pursuant to a written agreement
with Defendant LONG ISLAND POWER AUTHORITY by which they operated
as an agent, servant, employee and/or associate of Defendant LONG

ISLAND POWER AUTHORITY.

775. At all times mentioned herein, Defendant ASPLUNDH
TREE EXPERT CO. performed services pursuant to a written agreement
with Defendant NATIONAL GRID by which they operated as an agent,

servant, employee and/or associate of Defendant NATIONAL GRID.

776. At all times mentioned herein, Defendant ASPLUNDH
TREE EXPERT CO. performed services pursuant to a written agreement
with Defendant PSEG by which they operated as an agent, servant,

employee and/or associate of Defendant PSEG.

777. At all times mentioned herein, Defendant ASPLUNDH
TREE EXPERT CO. performed services pursuant to a written agreement
with Defendant VILLAGE OF LAWRENCE by which they operated as an

agent, servant, employee and/or associate of Defendant VILLAGE OF

LAWRENCE.

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778. At all times mentioned herein, Defendant ASPLUNDH
TREE EXPERT CO. performed services pursuant to a written agreement
with Defendant TOWN OF HEMPSTEAD by which they operated as an agent,

servant, employee and/or associate of Defendant TOWN OF HEMPSTEAD.

779. At all times mentioned herein, Defendant ASPLUNDH
TREE EXPERT CO. performed services pursuant to a written agreement
with Defendant COUNTY OF NASSAU by which they operated as an agent,

servant, employee and/or associate of Defendant COUNTY OF NASSAU.

780. At all fimes mentioned herein, Defendant ASPLUNDH
TREE EXPERT CO. performed services pursuant to a written agreement
with Defendant VERIZON NEW YORK, INC. by which they operated as an
agent, servant, employee and/or associate of Defendant VERIZON NEW

YORK, INC.

781. At all times mentioned herein, Defendant ASPLUNDH
TREE EXPERT CO. performed services pursuant to a written agreement
with Defendant CSC HOLDINGS, LLC by which they operated as an agent,

servant, employee and/or associate of Defendant CSC HOLDINGS, LLC.

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782. At all times mentioned herein, Defendant ASPLUNDH
TREE EXPERT CO. performed services pursuant to a written agreement
with Defendant CABLEVISION SYSTEM LONG ISLAND CORPORATION by which
they operated as an agent, servant, employee and/or associate of

Defendant CABLEVISION SYSTEM LONG ISLAND CORPORATION.

783. At all times mentioned herein, Defendant SAMUEL
SHORE was the owner of the property known as 315 Marbridge Road,

Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

784. At all times mentioned herein, Defendant TRACY SHORE
was the owner of the property known as 315 Marbridge Road, Village
of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

785. At all times mentioned herein, Defendant SAMUEL
SHORE was the owner of a tree located on the premises known as 315

Marbridge Road, Village of Lawrence, Town of Hempstead, County of

Nassau and State of New York.

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786. At all times mentioned herein, Defendant TRACY SHORE
was the owner of a tree located on the premises known as 315
Marbridge Road, Village of Lawrence, Town of Hempstead, County of

Nassau and State of New York.

787. At all times mentioned herein, Defendant SAMUEL
SHORE operated the aforesaid premises, and more specifically, the

tree located on the premises known as 315 Marbridge Road, Village

of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

788. At all times mentioned herein, Defendant SAMUEL
SHORE managed the aforesaid premises, and more specifically, the
tree located on the premises known as 315 Marbridge Road, Village

of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

789. At all times mentioned herein, Defendant SAMUEL
SHORE controlled the aforesaid premises, and more specifically, the
tree located on the premises known as 315 Marbridge Road, Village

of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

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790. At all times mentioned herein, Defendant SAMUEL
SHORE supervised the aforesaid premises, and more specifically, the
tree located on the premises known as 315 Marbridge Road, Village

of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

791. At all times mentioned herein, Defendant SAMUEL
SHORE maintained and repaired the aforesaid premises, and more

specifically, the tree located on the premises known as 315
Marbridge Road, Village of Lawrence, Town of Hempstead, County of

Nassau and State of New York.

792. At all times mentioned herein, Defendant SAMUEL
SHORE was under a duty to operate, manage, control, supervise,
inspect, maintain and repair the aforesaid premises known as 315

Marbridge Road, Village of Lawrence, Town of Hempstead, County of

Nassau and State of New York.

793. At all times mentioned hereinafter, Defendant SAMUEL
SHORE was under a duty to operate, control, manage, maintain,

repair, supervise and inspect the aforesaid premises, specifically
the tree located on 315 Marbridge Road, Village of Lawrence, Town
of Hempstead, County of Nassau and State of New York in a safe,

proper and lawful fashion, free from traps and conditions

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constituting a danger and menace to persons lawfully and properly
using the roadways so that no person lawfully thereupon would be

caused to sustain personal injuries and/or damages.

794. At all times hereinafter mentioned, and prior
thereto, Defendant SAMUEL SHORE was charged with the duty of
complying with the Village of Lawrence Codes, Town of Hempstead

Codes, County of Nassau Codes and New York Property Law.

795. At all times mentioned herein, Defendant TRACY SHORE
operated the aforesaid premises, and more specifically, the tree
located on the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

796. At all times mentioned herein, Defendant TRACY SHORE
managed the aforesaid premises, and more specifically, the tree
located on the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

797. At all times mentioned herein, Defendant TRACY SHORE
controlled the aforesaid premises, and more specifically, the tree
located on the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

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798. At all times mentioned herein, Defendant TRACY SHORE
supervised the aforesaid premises, and more specifically, the tree
located on the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

799. At all times mentioned herein, Defendant TRACY SHORE
Maintained and repaired the aforesaid premises, and more
specifically, the tree located on the premises known as 315
Marbridge Road, Village of Lawrence, Town of Hempstead, County of

Nassau and State of New York.

800. At all times mentioned herein, Defendant TRACY SHORE
was under a duty to operate, manage, control, supervise, inspect,
maintain and repair the aforesaid premises known as 315 Marbridge
Road, Village of Lawrence, Town of Hempstead, County of Nassau and

State of New York.

BO1l. At all times mentioned hereinafter, Defendant TRACY
SHORE was under a duty to operate, control, manage, maintain,
repair, supervise and inspect the aforesaid premises, specifically
the tree located on 315 Marbridge Road, Village of Lawrence, Town
of Hempstead, County of Nassau and State of New York in a safe,
proper and lawful fashion, free from traps and conditions

constituting a danger and menace to persons iawfully and properly

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using the roadways so that no person lawfully thereupon would be

caused to sustain personal injuries and/or damages.

802. At all times hereinafter mentioned, and prior

thereto, Defendant TRACY SHORE was charged with the auty of

complying with the Village of Lawrence Codes, Town of Hempstead

Codes, County of Nassau Codes and New York Property Law.

803. At all times mentioned herein and prior thereto,

Defendant SAMUEL SHORE maintained the aforesaid tree located on the

premises known as 315 Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

804. At all times mentioned herein and prior thereto,

Defendant SAMUEL SHORE managed the aforesaid tree located on the

premises known as 315 Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

BO5. At all times mentioned herein and prior thereto,
Defendant SAMUEL SHORE controlled the aforesaid tree located on the

premises known as 315 Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

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806. At all times mentioned herein and prior thereto,
Defendant SAMUEL SHORE supervised the aforesaid tree located on the
premises known as 315 Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

807. At all times mentioned herein and prior thereto,
Defendant SAMUEL SHORE inspected the aforesaid tree located on the
premises known as 315 Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

808. At all times mentioned herein and prior thereto,
Defendant SAMUEL SHORE supervised maintenance to the aforesaid tree
located on the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

809. On or about September 6, 2016, Defendant SAMUEL
SHORE negligently and carelessly allowed, caused and/or permitted
the aforesaid tree located on the premises known as 315 Marbridge
Road, Village of Lawrence, Town of Hempstead, County of Nassau and
State of New York to be, become, and remain in a dangerous and

defective condition.

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810. On or about September 6, 2016, Defendant SAMUEL
SHORE negligently and carelessly allowed, caused and/or permitted
the aforesaid tree located in front of the premises known as 315
Marbridge Road, Village of Lawrence, Town of Hempstead, County of
Nassau and State of New York to be, become, and remain in a

dangerous and defective condition

Bil. At all times mentioned herein and prior thereto,
Defendant TRACY SHORE maintained the aforesaid tree located on the

premises known as 315 Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

812. At all times mentioned herein and prior thereto,
Defendant TRACY SHORE managed the aforesaid tree iocated on the
premises known as 315 Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

813. At all times mentioned herein and prior thereto,

Defendant TRACY SHORE controlled the aforesaid tree located on the

premises known as 315 Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

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814. At all times mentioned herein and prior thereto,
Defendant TRACY SHORE supervised the aforesaid tree located on the
premises known as 315 Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

815. At all times mentioned herein and prior thereto,
Defendant TRACY SHORE inspected the aforesaid tree located on the
premises known as 315 Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

816. At all times mentioned herein and prior thereto,
Defendant TRACY SHORE supervised maintenance to the aforesaid tree
located on the premises known as 315 Marbriddge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

817. On or about September 6, 2016, Defendant TRACY SHORE
negligentiy and carelessly allowed, caused and/or permitted the
aforesaid tree located on the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York to be, become, and remain in a dangerous and defective

condition.

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818. On or about September 6, 2016, Defendant TRACY SHORE
negligently and carelessly allowed, caused and/or permitted the
aforesaid tree located in front of the premises known as 315
Marbridge Road, Village of Lawrence, Town of Hempstead, County of
Nassau and State of New York to be, become, and remain in a

dangerous and defective condition.

819. On or about September 6, 2016 and continuing to
date, Plaintiff SEAN FINNEGAN was caused to sustain severe and

irreparable permanent personal injuries as a result of the
negligence of the Defendants herein, their agents, servants,
employees and/or associates, without any negligence on the part of

the Plaintiff SEAN FINNEGAN contributing thereto.

820. At all times mentioned herein, Plaintiff SEAN
FINNEGAN was operating his motorcycle when the power line (wire),
cable, telephone line (wire) or similar wire owned, leased,
operated, managed, maintained and/or repaired by Defendant LONG
ISLAND POWER AUTHORITY through its agents, servants, employees
and/or associates came in contact with Plaintiff SEAN FINNEGAN on

Meadow Lane, approximately twenty (20) feet south of Marbridge Road,
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of New York.

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821. At all times mentioned herein, Plaintiff SEAN
FINNEGAN was operating his motorcycle when the power line (wire),
cable, telephone line (wire) or similar wire owned, leased,
operated, managed, maintained and/or repaired by Defendant NATIONAL
GRID through its agents, servants, employees and/or associates came
in contact with Plaintiff SEAN FINNEGAN on Meadow Lane,

approximately twenty (20) feet south of Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

822. At all times mentioned herein, Plaintiff SEAN
FINNEGAN was operating his motorceycie when the power line (wire),
cable, telephone line (wire) or similar wire owned, leased,
operated, managed, maintained and/or repaired by Defendant PSEG

through its agents, servants, employees and/or associates came in

contact with Plaintiff SEAN FINNEGAN on Meadow Lane, approximately

twenty (20) feet south of Marbridge Road, Village of Lawrence, Town

of Hempstead, County of Nassau and State of New York.

823. At all times mentioned herein, Plaintiff SHAN
FINNEGAN was operating his motorcycle when the power line (wire),
cable, telephone line (wire) or similar wire owned, leased,
operated, managed, maintained and/or repaired by Defendant VILLAGE

OF LAWRENCE through its agents, servants, employees and/or

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associates came in contact with Plaintiff SEAN FINNEGAN on Meadow

Lane, approximately twenty (20) feet south of Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

24. At all times mentioned herein, Plaintiff SEAN
FINNEGAN was operating his motorcycle when the power line (wire),
cable, telephone line (wire) or similar wire owned, leased,
operated, managed, maintained and/or repaired by Defendant TOWN OF
HEMPSTEAD through its agents, servants, employees and/or associates
came in contact with Plaintiff SEAN FINNEGAN on Meadow Lane,

approximately twenty (20) feet south of Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

825. At all times mentioned herein, Plaintiff SEAN
FINNEGAN was operating his motorcycle when the power line (wire),
cable, telephone line (wire} or similar wire owned, leased,
operated, managed, maintained and/or repaired by Defendant COUNTY
OF NASSAU through its agents, servants, employees and/or associates
came in contact with Plaintiff SEAN FINNEGAN on Meadow Lane,

approximately twenty (20) feet south of Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

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B26. At all times mentioned herein, Plaintiff SEAN
FINNEGAN was operating his motorcycle when the power line (wire),
cable, telephone line (wire) or similar wire owned, leased,
operated, managed, maintained and/or repaired by Defendant VERIZON
NEW YORK, INC., through its agents, servants, employees and/or
associates came in contact with Plaintiff SEAN FINNEGAN on Meadow
Lane, approximately twenty (20) feet south of Marbridge Road,

Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

827. At all times mentioned herein, Plaintifi SEAN
FINNEGAN was operating his motorcycle when the power line (wire),
cable, telephone line (wire) or similar wire owned, leased,
operated, managed, maintained and/or repaired by Defendant csc
HOLDINGS, LLC through its agents, servants, employees and/or
associates came in contact with Plaintiff SEAN FINNEGAN on Meadow

Lane, approximately twenty (20) feet south of Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

828. At all times mentioned herein, Plaintifi SEAN
FINNEGAN was operating his motorcycle when the power line (wire),

cable, telephone line (wire) or similar wire owned, leased,

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operated, managed, maintained and/or repaired by Defendant
CABLEVISION SYSTEM LONG ISLAND CORPORATION through its agents,
servants, employees and/or associates came in contact with Plaintiff
SEAN FINNEGAN on Meadow Lane, approximately twenty (20} feet south

of Marbridge Road, Village of Lawrence, Town of Hempstead, County

of Nassau and State of New York.

B29. At all times mentioned herein, Plaintiff SEAN
FINNEGAN was operating his motorcycle when the cable, telephone line
(wire) managed, maintained, inspected and/or repaired by Defendant
ASPLUNDH TREE EXPERT CO., through its agents, servants, employees
and/or associates came in contact with Plaintiff SEAN FINNEGAN on

Meadow Lane, approximately twenty (20) feet south of Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

830. At all times mentioned herein, Plaintiff SEAN
FINNEGAN was operating his motorcycle when the power line (wire),
cable, telephone line (wire) or similar wire owned, leased,
operated, managed, maintained and/or repaired by Defendant LONG
ISLAND POWER AUTHORITY through its agents, servants, employees
and/or associates, was knocked down by a tree located on the
premises known as 315 Marbridge Road, Lawrence, New York which is
owned, managed, maintained and inspected by Defendant SAMUEL SHORE,

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came in comtact with Plaintiff SEAN FINNEGAN on Meadow Lane,
approximately twenty (20) feet south of Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

831. At all times mentioned herein, Plaintiff SEAN
FINNEGAN was operating his motorcycle when the power line (wire),
cable, telephone line (wire) or similar wire owned, leased,
operated, managed, maintained and/or repaired by Defendant NATIONAL
GRID through its agents, servants, employees and/or associates, was
knocked down by a tree located on the premises known as 315
Marbridge Road, Lawrence, New York which is owned, managed,
maintained and inspected by Defendant SAMUEL SHORE, came in contact
with Plaintiff SEAN FINNEGAN on Meadow Lane, approximately twenty
(20) feet south of Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

832. At all times mentioned herein, Plaintiff SEAN
FINNEGAN was operating his motorcycle when the power line (wire),
cable, telephone line (wire) or similar wire owned, leased,
operated, managed, maintained and/or repaired by Defendant PSEG
through its agents, servants, employees and/or associates, was
knocked down by a tree located on the premises known as 315
Marbridge Road, Lawrence, New York which is owned, managed,
maintained and inspected by Defendant SAMUEL SHORE, came in contact

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with Plaintiff SEAN FINNEGAN on Meadow Lane, approximately twenty
(20) feet south of Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

833. At all times mentioned herein, Plaintiff SEAN
FINNEGAN was operating his motorcycle when the power line (wire),
cable, telephone line (wire) or similar wire owned, leased,
operated, managed, maintained and/or repaired by Defendant VILLAGE
OF LAWRENCE through its agents, servants, employees and/or
associates, was knocked down by a tree located on the premises known
as 315 Marbridge Road, Lawrence, New York which is owned, managed,
maintained and inspected by Defendant SAMUEL SHORE, came in contact
with Plaintiff SEAN FINNEGAN on Meadow Lane, approximately twenty

(20) feet south of Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

6834. At all times mentioned herein, Plaintiff SEAN
FINNEGAN was operating his motorcycle when the power line (wire),
cable, telephone line (wire) or similar wire owned, leased,
operated, managed, maintained and/or repaired by Defendant TOWN OF
HEMPSTEAD through its agents, servants, employees and/or associates,
was knocked down by a tree located on the premises known as 315

Marbridge Road, Lawrence, New York which is owned, managed,

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maintained and inspected by Defendant SAMUEL SHORE, came in contact
with Plaintiff SEAN FINNEGAN on Meadow Lane, approximately twenty

(20) feet south of Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

835. At all times mentioned herein, Plaintiff SEAN
FINNEGAN was operating his motorcycle when the power line (wire),
cable, telephone line {wire} or similar wire owned, leased,
operated, managed, maintained and/or repaired by Defendant COUNTY
OF NASSAU through its agents, servants, employees and/or associates,
was knocked down by a tree located on the premises known as 315
Marbridge Road, Lawrence, New York which is owned, managed,
maintained and inspected by Defendant SAMUEL SHORE, came in contact
with Plaintiff SEAN FINNEGAN on Meadow Lane, approximately twenty

(20) feet south of Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

B36. At all times mentioned herein, Plaintiff SEAN
FINNEGAN was operating his motorcycle when the At all times
mentioned herein, Plaintifi SEAN FINNEGAN was operating his
motorcycle when the power line (wire), cable, telephone line (wire)
or similar wire owned, leased, operated, managed, maintained and/or

repaired by Defendant VERIZON NEW YORK, INC., through its agents,

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servants, employees and/or associates, was knocked down by a tree
located on the premises known as 315 Marbridge Road, Lawrence, New
York which is owned, managed, maintained and inspected by Defendant
SAMUEL SHORE, came in contact with Plaintiff SEAN FINNEGAN on Meadow
Lane, approximately twenty (20) feet south of Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

837. At all times mentioned herein, Plaintiff SEAN
FINNEGAN was operating his motorcycle when the power line (wire),
cable, telephone line (wire) or similar wire owned, leased,
operated, managed, maintained and/or repaired by Defendant CSc
HOLDINGS, LLC through its agents, servants, employees and/or
associates, was knocked down by a tree located on the premises known
as 315 Marbridge Road, Lawrence, New York which is owned, managed,
maintained and inspected by Defendant SAMUEL SHORE, came in contact
with Plaintiff SEAN FINNEGAN on Meadow Lane, approximately twenty
(20) feet south of Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

838. At all times mentioned herein, Plaintiff SEAN
FINNEGAN was operating his motorcycle when the power line (wire),
cable, telephone line (wire) or similar wire owned, leased,

operated, managed, maintained and/or repaired by Defendant

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CABLEVISION SYSTEM LONG ISLAND CORPORATION through its agents,
servants, employees and/or associates, was knocked down by a tree
located on the premises known as 315 Marbridge Road, Lawrence, New
York which is owned, managed, maintained and inspected by Defendant
SAMUEL SHORE, came in contact with Plaintifi SEAN FINNEGAN on Meadow
Lane, approximately twenty (20) feet south of Marbridge Road,

Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

83S. At all times mentioned herein, Plaintiff SEAN
FINNEGAN was operating his motorcycle when the power line (wire),
cable, telephone line (wire) or similar wire managed, maintained,
and/or inspected by Defendant ASPLUNDH TREE EXPERT CO., through its
agents, servants, employees and/or associates, was knocked down by
a tree located on the premises known as 315 Marbridge Road,
Lawrence, New York which is owned, managed, maintained and inspected
by Defendant SAMUEL SHORE, came in contact with Plaintiff SEAN
FINNEGAN on Meadow Lane, approximately twenty (20) feet south of

Marbridge Road, Village of Lawrence, Town of Hempstead, County of

Nassau and State of New York.

840. At all times mentioned herein, Plaintiff SEAN
FINNEGAN was operating his motorcycle when the power line (wire),

cable, telephone line (wire) or similar wire owned, leased,

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operated, managed, maintained and/or repaired by Defendant LONG
ISLAND POWER AUTHORITY through its agents, servants, employees
and/or associates, was knocked down by a tree located on the
premises known as 315 Marbridge Road, Lawrence, New York which is
owned, managed, maintained and inspected by Defendant TRACY SHORE,
came in contact with Plaintiff SEAN FINNEGAN on Meadow Lane,

approximately twenty (20) feet south of Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

841. At all times mentioned herein, Plaintiff SEAN
FINNEGAN was operating his motorcycle when the power line (wire),
cable, telephone line (wire) or similar wire owned, leased,
operated, managed, maintained and/or repaired by Defendant NATIONAL
GRID through its agents, servants, employees and/or associates, was
knocked down by a tree located on the premises known as 315
Marbridge Road, Lawrence, New York which is owned, managed,
maintained and inspected by Defendant TRACY SHORE, came in contact
with Plaintiff SEAN FINNEGAN on Meadow Lane, approximately twenty
(20) feet south of Marbridge Road, Village of Lawrence, Town of

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842. At all times mentioned herein, Plaintiff SEAN
FINNEGAN was operating his motorcycle when the power line (wire),
cable, telephone line (wire) or similar wire owned, leased,
operated, managed, maintained and/or repaired by Defendant PSEG
through its agents, servants, employees and/or associates, was
knocked down by a tree located on the premises known as 315
Marbridge Road, Lawrence, New York which is owned, managed,
Maintained and inspected by Defendant TRACY SHORE, came in contact
with Plaintiff SEAN FINNEGAN on Meadow Lane, approximately twenty

(20) feet south of Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

B43. At all times mentioned herein, Plaintifi SEAN
FINNEGAN was operating his motorcycle when the power line (wire),
cable, telephone line (wire) or similar wire owned, leased,
operated, managed, maintained and/or repaired by Defendant VILLAGE
OF LAWRENCE through its agents, servants, employees and/or
associates, was knocked down by a tree located on the premises known
as 315 Marbridge Road, Lawrence, New York which is owned, managed,
maintained and inspected by Defendant TRACY SHORE, came in contact
with Plaintiff SEAN FINNEGAN on Meadow Lane, approximately twenty

(20) feet south of Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

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844. At all times mentioned herein, Plaintiff SEAN
FINNEGAN was operating his motorcycle when the power line (wire),
cable, telephone line (wire) or similar wire owned, leased,
operated, managed, maintained and/or repaired by Defendant TOWN OF
HEMPSTEAD through its agents, servants, employees and/or associates,
was knocked down by a tree located on the premises known as 315
Marbridge Road, Lawrence, New York which is owned, managed,
maintained and inspected by Defendant TRACY SHORE, came in contact
with Plaintiff SEAN FINNEGAN on Meadow Lane, approximately twenty

(20) feet south of Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

845. At all times mentioned herein, Plaintiff SEAN
FINNEGAN was operating his motorcycle when the power line (wire),
cable, telephone line (wire) or similar wire owned, leased,
operated, managed, maintained and/or repaired by Defendant COUNTY
OF NASSAU through its agents, servants, employees and/or associates,
was knocked down by a tree located on the premises known as 315
Marbridge Road, Lawrence, New York which is owned, managed,
Maintained and inspected by Defendant TRACY SHORE, came in contact
with Plaintiff SEAN FINNEGAN on Meadow Lane, approximately twenty

(20) feet south of Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

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B46. At all times mentioned herein, Plaintiff SEAN
FINNEGAN was operating his motorcycle when the power line (wire),
cable, telephone line (wire) or similar wire owned, ieased,
operated, managed, maintained and/or repaired by Defendant VERIZON
NEW YORK, INC., through its agents, servants, employees and/or
associates, was knocked down by a tree located on the premises known
as 315 Marbridge Road, Lawrence, New York which is owned, managed,
Maintained and inspected by Defendant TRACY SHORE, came in contact
with Plaintiff SEAN FINNEGAN on Meadow Lane, approximately twenty
(20) feet south of Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

847. At all times mentioned herein, Plaintifi SEAN
FINNEGAN was operating his motorcycle when the power line (wire),
cable, telephone line (wire) or similar wire owned, leased,
operated, managed, maintained and/or repaired by Defendant csc
HOLDINGS, LLC through its agents, servants, employees and/or
associates, was knocked down by a tree located on the premises known
as 315 Marbridge Road, Lawrence, New York which is owned, managed,
maintained and inspected by Defendant TRACY SHORE, came in contact
with Plaintiff SEAN FINNEGAN on Meadow Lane, approximately twenty

(20) feet south of Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

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848, At all times mentioned herein, Plaintiff SEAN
FINNEGAN was operating his motorcycle when the power line (wire),
cable, telephone line (wire) or similar wire owned, leased,
operated, managed, maintained and/or repaired by Defendant
CABLEVISION SYSTEM LONG ISLAND CORPORATION through its agents,
servants, employees and/or associates, was knocked down by a tree
located on the premises known as 315 Marbridge Road, Lawrence, New
York which is owned, managed, maintained and inspected by Defendant
TRACY SHORE, came in contact with Plaintiff SEAN FINNEGAN on Meadow
Lane, approximately twenty (20) feet south of Marbridge Road,

Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

B49, At all times mentioned herein, Plaintiff SEAN
FINNEGAN was operating his motorcycle when the power line (wire),
cable, telephone line (wire) or similar wire managed, maintained,
inspected and/or repaired by Defendant ASPLUNDH TREE EXPERT Co.,
through its agents, servants, employees and/or associates, was
knocked down by a tree located on the premises known as 315
Marbridge Road, Lawrence, New York which is owned, managed,
maintained and inspected by Defendant TRACY SHORE, came in contact
with Plaintiff SEAN FINNEGAN on Meadow Lane, approximately twenty
(20) feet south of Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

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850. At all times mentioned herein, Defendant ALTICE

derived substantial revenue from engaging in business in the State

of New York.

8541. At all times mentioned herein, Defendant ALTICE
expected or should have expected its acts, omissions and activities

to have consequences within the State of New York.

852. At all times mentioned herein and prior thereto,
Defendant ALTICE its agents, servants, employees, associates,
agencies and/or departments caused the aforesaid power line (wire),
cable, telephone line (wire) or similar wire to be placed on Meadow
Lane, approximately twenty (20) feet south of Marbridge Road and
Marbridge Road, Villiage of Lawrence, Town of Hempstead, County of

Nassau and State of New York.

853. At all times mentioned herein and prior thereto,
Defendant ALTICE, its agents, servants, employees, associates,
agencies and/or departments owned the aforesaid power line (wire),
cable, telephone line (wire) or similar wire located on Meadow Lane,
approximately twenty (20) feet south of Marbridge Road and Marbridge
Road, Village of Lawrence, Town of Hempstead, County of Nassau and

State of New York.

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854. At all times mentioned herein and prior thereto,
Defendant ALTICE, its agents, servants, employees, associates,
agencies and/or departments maintained the aforesaid power line
(wire}, cable, telephone line (wire) or similar wire located on
Meadow Lane, approximately twenty (20) feet south of Marbridge Road

and Marbridge Road, Village of Lawrence, Town of Hempstead, County

of Nassau and State of New York.

855. At all times mentioned herein and prior thereto,
Defendant ALTICE, its agents, servants, employees, associates,
agencies and/or departments managed the aforesaid power line (wire),
cable, telephone line (wire) or similar wire located on Meadow Lane,
approximately twenty (20) feet south of Marbridge Road and Marbridge

Road, Village of Lawrence, Town of Hempstead, County of Nassau and

State of New York.

856. At all times mentioned herein and prior thereto,
Defendant ALTICE, its agents, servants, employees, associates,
agencies and/or departments controlled the aforesaid power line
(wire), cable, telephone line (wire) or similar wire located on
Meadow Lane, approximately twenty (20) feet south of Marbridge Road

and Marbridge Road, Village of Lawrence, Town of Hempstead, County

of Nassau and State of New York.

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857. At ail times mentioned herein and prior thereto,
Defendant ALTICE, its agents, servants, employees, associates,
agencies and/or departments supervised the aforesaid power line
(wire), cable, telephone line (wire) or similar wire located on
Meadow Lane, approximately twenty (20) feet south of Marbridge Road

and Marbridge Road, Village of Lawrence, Town of Hempstead, County

of Nassau and State of New York.

858. At all times mentioned herein and prior thereto,
Defendant ALTICE, its agents, servants, employees, associates,
agencies and/or departments inspected the aforesaid power line
(wire), cable, telephone line (wire) or similar wire located on
Meadow Lane, approximately twenty (20) feet south of Marbridge Road

and Marbridge Road, Village of Lawrence, Town of Hempstead, County

of Nassau and State of New York.

859. At all times mentioned herein and prior thereto,
Defendant ALTICE, its agents, servants, employees, associates,
agencies and/or departments leased the aforesaid power line (wire),
cable, telephone line (wire) or similar wire located on Meadow Lane,
approximately twenty (20) feet south of Marbridge Road and Marbridge

Road, Village of Lawrence, Town of Hempstead, County of Nassau and

State of New York.

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860. At all times mentioned herein and prior thereto,
Defendant ALTICE, its agents, servants, employees, associates,
agencies and/or departments repaired the aforesaid power line
(wire), cable, telephone line (wire) or similar wire located on
Meadow Lane, approximately twenty (20) feet south of Marbridge Road
and Marbridge Road, Village of Lawrence, Town of Hempstead, County

of Nassau and State of New York,

861. At all times mentioned herein and prior thereto,
Defendant ALTICEH, its agents, servants, employees, associates,
agencies and/or departments supervised repairs to the aforesaid
power line (wire), cable, telephone line (wire) or similar wire
located on Meadow Lane, approximately twenty (20) feet south of
Marbridge Road and Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

862. On or about September 6, 2016, Defendant ALTICE, its
agents, servants, employees, associates, agencies and/or departments
negligently and carelessly allowed, caused and permitted the
aforesaid power line (wire), cable, telephone line (wire) or similar
wire located on Meadow Lane, approximately twenty (20) feet south
of Marbridge Road and Marbridge Road, Village of Lawrence, Town of
Hempstead, County of Nassau and State of New York to be, become, and

remain in a dangerous and defective condition.

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863. At all times mentioned herein and prior thereto,
Defendant ALTICE, its agents, servants, employees, associates,
agencies and/or departments caused the aforesaid power line (wire),
cable, telephone line (wire) or similar wire and poles to be placed
on Meadow Lane and Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

864. At all times mentioned herein and prior thereto,
Defendant ALTICE, its agents, servants, employees, associates,
agencies and/or departments owned the aforesaid power line (wire),
cable, telephone line (wire) or similar wire and poles located on

Meadow Lane and Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

865. At all times mentioned herein and prior thereto,
Defendant ALTICE, its agents, servants, employees, associates,
agencies and/or departments maintained the aforesaid power line
(wire), cable, telephone line (wire) or similar wire located on
Meadow Lane and Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

866. At all times mentioned herein and prior thereto,
Defendant ALTICE, its agents, servants, employees, associates,

agencies and/or departments managed the aforesaid power line (wire),

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cable, telephone line (wire) or similar wire and poles located on
Meadow Lane and Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

867. At all times mentioned herein and prior thereto,
Defendant ALTICE, its agents, servants, employees, associates,
agencies and/or departments controlled the aforesaid power line
(wire), cable, telephone line (wire) or similar wire and poles
located on Meadow Lane and Marbridge Road, Village of Lawrence, Town

of Hempstead, County of Nassau and State of New York.

868. At all times mentioned herein and prior thereto,
Defendant ALTICH, its agents, servants, employees, associates,
agencies and/or departments supervised the aforesaid power line
(wire), cable, telephone line (wire) or similar wire and poles
located on Meadow Lane and Marbridge Road, Village of Lawrence, Town

of Hempstead, County of Nassau and State of New York.

869. At all times mentioned herein and prior thereto,
Defendant ALTICE, its agents, servants, employees, associates,
agencies and/or departments inspected the aforesaid power line
(wire), cable, telephone line (wire) or similar wire and poles
located on Meadow Lane and Marbridge Road, Village of Lawrence, Town

of Hempstead, County of Nassau and State.of New York.

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870. At all times mentioned herein and prior thereto,
Defendant ALTICE, its agents, servants, employees, associates,
agencies and/or departments leased the aforesaid power line (wire),
cable, telephone line (wire) or similar wire and poles located on
Meadow Lane and Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

B71. At all times mentioned herein and prior thereto,
Defendant ALTICE, its agents, servants, employees, associates,
agencies and/or departments repaired the aforesaid power line
(wire), cable, telephone line (wire) or similar wire and poles
located on Meadow Lane and Marbridge Road, Village of Lawrence, Town

of Hempstead, County of Nassau and State of New York.

872. At all times mentioned herein and prior thereto,
Defendant ALTICE, its agents, servants, employees, associates,
agencies and/or departments supervised repairs to the aforesaid
power line (wire), cable, telephone line (wire) or similar wire and
poles located on Meadow Lane and Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

873. On or about September 6, 2016, Defendant ALTICE, its

agents, servants, employees, associates, agencies and/or departments

negligently and carelessly allowed, caused and/or permitted the

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aforesaid power line (wire), cable, telephone line (wire) or similar
wire and poles located on Meadow Lane and Marbridge Road, Village
of Lawrence, Town of Hempstead, County of Nassau and State of New
York to be, become, and remain in a dangerous and defective

condition.

874. At all times mentioned herein and prior thereto,
Defendant ALTICE, its agents, servants, employees, associates,
agencies and/or departments caused the aforesaid power line (wire),
cable, telephone line (wire) or similar wire and poles to be placed
on the premises known as 315 Marbridge Road, Village of Lawrence,

Town of Hempstead, County of Nassau and State of New York.

875. At all times mentioned herein and prior thereto,
Defendant ALTICE, its agents, servants, employees, associates,
agencies and/or departments owned the aforesaid power line (wire),
cable, telephone line (wire) or similar wire and poles located on
the premises known as 315 Marbridge Road, Village of Lawrence, Town

of Hempstead, County of Nassau and State of New York.

876. At all times mentioned herein and prior thereto,
Defendant ALTICE, its agents, servants, employees, associates,
agencies and/or departments maintained the aforesaid power line

(wire), cable, telephone line (wire) or similar wire and poles

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located on the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

877. At all times mentioned herein and prior thereto,
Defendant ALTICE, its agents, servants, employees, associates,
agencies and/or departments managed the aforesaid power line (wire),
cable, telephone line (wire) or similar wire and poles located on
the premises known as 315 Marbridge Road, Village of Lawrence, Town

of Hempstead, County of Nassau and State of New York.

878. At all times mentioned herein and prior thereto,
Defendant ALTICE, its agents, servants, employees, associates,
agencies and/or departments controlled the aforesaid power line
(wire), cable, telephone line (wire) or similar wire and poles
located on the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

879. At all times mentioned herein and prior thereto,
Defendant ALTICE, its agents, servants, employees, associates,
agencies and/or departments supervised the aforesaid power line
(wire), cable, telephone line (wire) or similar wire and poles
located on the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

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880. At all times mentioned herein and prior thereto,
Defendant ALTICE, its agents, servants, employees, associates,
agencies and/or departments inspected the aforesaid power line
(wire), cable, telephone line (wire) or similar wire and poles
located on the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

B81. At all times mentioned herein and prior thereto,
Defendant ALTICE, its agents, servants, employees, associates,
agencies and/or departments leased the aforesaid power line (wire),
cable, telephone line (wire} or similar wire and poles located on
the premises known as 315 Marbridge Road, Village of Lawrence, Town

of Hempstead, County of Nassau and State of New York.

882. At all times mentioned herein and prior thereto,
Defendant ALTICE, its agents, servants, employees, associates,
agencies and/or departments repaired the aforesaid power line
(wire), cable, telephone line (wire) or similar wire and poles
located on the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

883. At all times mentioned herein and prior thereto,
Defendant ALTICE, its agents, servants, employees, associates,

agencies and/or departments supervised repairs to the aforesaid

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power line (wire), cable, telephone line (wire) or similar wire and
poles located on the premises known as 315 Marbridge Road, Village
of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

884. On or about September 6, 2016, Defendant ALTICE, its
agents, servants, employees, associates, agencies and/or departments
negligently and carelessly allowed, caused and/or permitted the
aforesaid power line (wire), cable, telephone line (wire) or similar
wire and poles located on the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State
ef New York to be, become, and remain in a dangerous and defective

condition.

885. At all times mentioned herein and prior thereto,
Defendant ALTICE, its agents, servants, employees, associates,
agencies and/or departments caused the aforesaid power line (wire),
cable, telephone line (wire) or similar wire and poles to be placed
in front of the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New.

886. At all times mentioned herein and prior thereto,
Defendant ALTICE, its agents, servants, employees, associates,

agencies and/or departments owned the aforesaid power line (wire),

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cable, telephone line (wire) or similar wire and poles located in
front of the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

887. At all times mentioned herein and prior thereto,
Defendant ALTICH, its agents, servants, employees, associates,
agencies and/or departments maintained the aforesaid power line
(wire), cable, telephone line (wire) or similar wire and poles
located in front of the premises known as 315 Marbridge Road,

Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

B88. At all times mentioned herein and prior thereto,
Defendant ALTICH, its agents, servants, employees, associates,
agencies and/or departments managed the aforesaid power line (wire),
cable, telephone line (wire) or similar wire and poles located in
front of the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

889. At all times mentioned herein and prior thereto,
Defendant ALTICEH, its agents, servants, employees, associates,
agencies and/or departments controlled the aforesaid power line
(wire), cable, telephone line (wire) or similar wire and poles

located in front of the premises known as 315 Marbridge Road,

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Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

900. At all times mentioned herein and prior thereto,
Defendant ALTICE, its agents, servants, employees, associates,
agencies and/or departments supervised the aforesaid power line
(wire), cable, telephone line (wire) or similar wire and poles
located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

901. At all times mentioned herein and prior thereto,
Defendant ALTICE, its agents, servants, employees, associates,
agencies and/or departments inspected the aforesaid power line
(wire), cable, telephone line (wire) or similar wire and poles
located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

902. At all times mentioned herein and prior thereto,
Defendant ALTICE, its agents, servants, employees, associates,
agencies and/or departments leased the aforesaid power line (wire),

cable, telephone line (wire) or similar wire and poles located in

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front of the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

903. At all times mentioned herein and prior thereto,
Defendant ALTICE, its agents, servants, employees, associates,

agencies and/or departments repaired the aforesaid power line
(wire), cable, telephone line (wire) or similar wire and poles
located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

904, At all times mentioned herein and prior thereto,
Defendant ALTICE, its agents, servants, employees, associates,
agencies and/or departments supervised repairs to the aforesaid
power line (wire), cable, telephone line (wire) or similar wire and
poles located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

905. On or about September 6, 2016, Defendant ALTICE, its
agents, servants, employees, associates, agencies and/or departments
negligently and carelessly allowed, caused and/or permitted the
aforesaid power line (wire), cable, telephone line (wire) or similar

wire and poles located in front of the premises known as 315

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Marbridge Road, Village of Lawrence, Town of Hempstead, County of
Nassau and State of New York to be, become, and remain in a

dangerous and defective condition.

906. At all times mentioned herein and prior thereto,
Defendant ALTICE, its agents, servants, employees, associates,
agencies and/or departments maintained the aforesaid tree located
on the premises known as 315 Marbridge Road, Village of Lawrence,

Town of Hempstead, County of Nassau and State of New York.

907. At all times mentioned herein and prior thereto,
Defendant ALTICE, its agents, servants, employees, associates,
agencies and/or departments managed the aforesaid tree located on
the premises known as 315 Marbridge Road, Village of Lawrence, Town

of Hempstead, County of Nassau and State of New York.

908. At all times mentioned herein and prior thereto,
Defendant ALTICH, its agents, servants, employees, associates,
agencies and/or departments controlled the aforesaid tree located
on the premises known as 315 Marbridge Road, Village of Lawrence,

Town of Hempstead, County of Nassau and State of New York.

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909. At all times mentioned herein and prior thereto,
Defendant ALTICE, its agents, servants, employees, associates,
agencies and/or departments supervised the aforesaid tree located
on the premises known as 315 Marbridge Road, Village of Lawrence,

Town of Hempstead, County of Nassau and State of New York.

910. At all times mentioned herein and prior thereto,
Defendant ALTICE, its agents, servants, employees, associates,
agencies and/or departments inspected the aforesaid tree located on
the premises known as 315 Marbridge Road, Viilage of Lawrence, Town

of Hempstead, County of Nassau and State of New York.

911. At ali times mentioned herein and prior thereto,
Defendant ALTICE, its agents, servants, employees, associates,
agencies and/or departments supervised maintenance to the aforesaid
tree located on the premises known as 315 Marbridge Road, Village

of Lawrence, Town of Hempstead, County of Nassau and State of New

York.

912. On or about September 6, 2016, Defendant ALTICE, its
agents, servants, employees, associates, agencies and/or departments
negligently and carelessly allowed, caused and/or permitted the
aforesaid tree located on the premises known as 315 Marbridge Road,

Village of Lawrence, Town of Hempstead, County of Nassau and State

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of New York to be, become, and remain in a dangerous and defective

condition.

913. At all times mentioned herein and prior thereto,
Defendant ALTICE, its agents, servants, employees, associates,
agencies and/or departments maintained the aforesaid tree located
in front of the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

914. At all times mentioned herein and prior thereto,
Defendant ALTICE, its agents, servants, employees, associates,
agencies and/or departments managed the aforesaid tree located in
front of the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

915. At all times mentioned herein and pricr thereto,
Defendant ALTICE, its agents, servants, employees, associates,
agencies and/or departments controlled the aforesaid tree located
in front of the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

916. At all times mentioned herein and prior thereto,
Defendant ALTICE, its agents, servants, employees, associates,

agencies and/or departments supervised the aforesaid tree located

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in front of the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

917. At all times mentioned herein and prior thereto,
Defendant ALTICE, its agents, servants, employees, associates,
agencies and/or departments inspected the aforesaid tree located in
front of the premises known as 315 Marbridge Road, Village of

Lawrence, Town of Hempstead, County of Nassau and State of New York.

918. At all times mentioned herein and prior thereto,
Defendant ALTICE, its agents, servants, employees, associates,
agencies and/or departments supervised maintenance to the aforesaid
tree located in front of the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State

of New York.

919. On or about September 6, 2016, Defendant ALTICE, its
agents, servants, employees, associates, agencies and/or departments
negligently and carelessly allowed, caused and/or permitted the
aforesaid tree located in front of the premises known as 315
Marbridge Road, Village of Lawrence, Town of Hempstead, County of
Nassau and State of New York to be, become, and remain in a

dangerous and defective condition.

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920. At all times mentioned hereinafter, Defendant
ALTICE, its agents, servants, employees, associates, agencies and/or
departments was under a duty to operate, control, manage, maintain,
repair, supervise and inspect the aforesaid premises specifically
the tree located in front of the premises known as 315 Marbridge
Road, Village of Lawrence, Town of Hempstead, County of Nassau and
State of New York in a safe, proper and lawful fashion, free from
traps and conditions constituting a danger and menace to persons
lawfully and properly using the roadways so that no person lawfully
thereupon would be caused to sustain personal injuries and/or

damages.

921. At all times mentioned hereinafter, Defendant
ALTICE, its agents, servants, employees, associates, agencies and/or
departments was under a duty to operate, control, manage, maintain,
repair, supervise and inspect the aforesaid premises specifically
the tree located on the premises known as 315 Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State
of New York in a safe, proper and lawful fashion, free from traps
and conditions constituting a danger and menace to persons lawfully
and properly using the roadways so that no person lawfully thereupon

would be caused to sustain personal injuries and/or damages.

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922, At all times mentioned hereinafter, Defendant
ALTICE, its agents, servants, employees, associates, agencies and/or
departments was under a duty to operate, control, manage, maintain,
repair, supervise and inspect the aforesaid power line (wire),
cable, telephone iine (wire) or similar wire located in front of the
premises known as 315 Marbridge Road, Village of Lawrence, Town of
Hempstead, County of Nassau and State of New York in a safe, proper
and lawful fashion, free from traps and conditions constituting a
danger and menace to persons lawfully and properly using the
roadways so that no person lawfully thereupon would be caused to

sustain personal injuries and/or damages.

923. At all times mentioned hereinafter, Defendant
ALTICE, its agents, servants, employees, associates, agencies and/or
departments was under a duty to operate, control, manage, maintain,
repair, supervise and inspect the aforesaid power line (wire),
cable, telephone line (wire) or similar wire located on the premises
known as 315 Marbridge Road, Village of Lawrence, Town of Hempstead,
County of Nassau and State of New York in a safe, proper and lawful
fashion, free from traps and conditions constituting a danger and
menace to persons lawfully and properly using the roadways so that
no person lawfully thereupon would be caused to sustain personal

injuries and/or damages.

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924, At all times mentioned hereinafter, Defendant
ALTICE, its agents, servants, employees, associates, agencies and/or
departments was under a duty to operate, control, manage, maintain,
repair, supervise and inspect the aforesaid power line (wire),
cable, telephone line (wire) or similar wire and poles in front of
the premises known as 315 Marbridge Road, Village of Lawrence, Town
of Hempstead, County of Nassau and State of New York in a safe,
proper and lawful fashion, free from traps and conditions
constituting a danger and menace to persons lawfully and properly
using the roadways so that no person lawfully thereupon would be

caused to sustain personal injuries and/or damades.

925. At all times mentioned hereinafter, Defendant
ALTICE, its agents, servants, employees, associates, agencies and/or
departments was under a duty to operate, control, manage, maintain,
repair, supervise and inspect the aforesaid power line (wire),
cable, telephone line (wire) or similar wire and poles on the
premises known as 315 Marbridge Road, Village of Lawrence, Town of
Hempstead, County of Nassau and State of New York in a safe, proper
and lawful fashion, free from traps and conditions constituting a
danger and menace to persons lawfully and properly using the
roadways so that no person lawfully thereupon would be caused to

sustain personal injuries and/or damages.

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926. At all times mentioned hereinafter, Defendant
ALTICE, its agents, servants, employees, associates, agencies and/or
departments was under a duty to operate, control, manage, maintain,
repair, supervise and inspect the aforesaid downed low hanging power
line (wire), cable, telephone line (wire) or similar wire on Meadow
Lane, approximately twenty (20) feet south of Marbridge Road,
Village of Lawrence, Town of Hempstead, County of Nassau and State
of New York in a safe, proper and lawful fashion, free from traps
and conditions constituting a danger and menace to persons lawfully
and properly using the roadways so that no person lawfully thereupon

would be caused to sustain personal injuries and/or damages.

927. At all times hereinafter mentioned, and prior
thereto, Defendant ALTICE, its agents, servants, employees,
associates, agencies and/or departments was charged with the duty
of complying with the Villiage of Lawrence Codes, Town of Hempstead

Codes, County of Nassau Codes and New York Property Law.

928. At all times mentioned herein and prior thereto,

Defendant ASPLUNDH TREE EXPERT CO., its agents, servants, employees,

associates, agencies and/or departments was an agent, servant,

employee and/or associate of Defendant ALTICE.

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929. At all times mentioned herein, Defendant ALTICE is
vicariously liable for the injuries and damages caused by the

negligence of Defendant ASPLUNDH TREE EXPERT Co.

930. At all times mentioned herein, Defendant ASPLUNDH
TREE EXPERT CO. performed services pursuant to a written agreement
with Defendant ALTICE by which they operated as an agent, servant,

employee and/or associate of Defendant ALTICE.

931. At ail times mentioned herein, Plaintiff SEAN
FINNEGAN was operating his motorcycle when the power line (wire),
cable, telephone line (wire) or similar wire owned, leased,
operated, managed, maintained and/or repaired by Defendant ALTICE,
through its agents, servants, employees and/or associates came in
contact with Plaintiff SEAN FINNEGAN on Meadow Lane, approximately

twenty (20) feet south of Marbridge Road, Village of Lawrence, Town

of Hempstead, County of Nassau and State of New York.

932. At all times mentioned herein, Plaintifi SEAN
FINNEGAN was operating his motorcycle when the power line (wire),
cable, telephone line (wire) or similar wire owned, leased,
operated, managed, maintained and/or repaired by Defendant ALTICE,

through its agents, servants, employees and/or associates, was

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knocked down by a tree located on the premises known as 315
Marbridge Road, Lawrence, New York which is owned, managed,
Maintained and inspected by Defendant SAMUEL SHORE, came in contact
with Plaintiff SEAN FINNEGAN on Meadow Lane, approximately twenty
(20) feet south of Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

933. At all times mentioned herein, Plaintiff SEAN
FINNEGAN was operating his motorcycle when the power line (wire),
cable, telephone line (wire) or similar wire owned, leased,
operated, managed, maintained and/or repaired by Defendant ALTICE,
through its agents, servants, employees and/or associates, was
knocked down by a tree located on the premises known as 315
Marbridge Road, Lawrence, New York which is owned, managed,
maintained and inspected by Defendant TRACY SHORE, came in contact
with Plaintiff SEAN FINNEGAN on Meadow Lane, approximately twenty
(20) feet south of Marbridge Road, Village of Lawrence, Town of

Hempstead, County of Nassau and State of New York.

934. At all times hereinafter mentioned, Defendants
herein, their agents, servants, employees and/or associates were
careless, reckless and negligent in the ownership, operation,
Management, inspection, maintenance, supervision and control of the

aforesaid premises more specifically the tree on the premises known

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as 315 Marbridge Road, Lawrence, New York in that knowingly, and for
a long and unreasonable length of time, caused and allowed the
aforementioned tree to be kept in an unsafe, improper and unsuitable
manner and negligently and carelessly failed to keep same free From
conditions constituting a danger to persons lawfully thereat so that
no person lawfully thereat, including Plaintiff SEAN FINNEGAN would
be caused to sustain personal injuries and/or damages; Defendants
herein, their agents, servants, employees and/or associates
negligently and carelessly failed to provide Plaintiff SEAN FINNEGAN
with a safe area to drive/ride his motorcycle; Plaintiff claims
Defendants herein, through their agents, servants, employees and/or
associates were negligent and careless in failing to provide
adequate illumination; Defendants herein, their agents, servants,
employees and/or associates negligently and carelessly failed to
warn Plaintiff SEAN FINNEGAN of the dangerous, hazardous and unsafe
condition thereat; Defendants herein, their agents, servants,
employees and/or associates negligently and carelessly allowed,
caused, permitted and/or contributed to a dangerous and hazardous
condition to be, remain and exist; Defendants herein, their agents,
servants, employees and/or associates negligently and carelessly
failed to warn Plaintiff SEAN FINNEGAN of the dangerous hazardous
and unsafe condition that then and there existed; Defendants herein,
their agents, servants, employees and/or assoclates negligently and

carelessly allowed, caused, permitted and/or contributed to said

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tree to be, become and remain in an unsafe, hazardous and dangerous
condition; Defendants herein, their agents, servants, employees
and/or associates negligently and carelessly failed to inspect,
timely inspect and/or properly inspect the aforesaid tree;
Pefendants herein, their agents, servants employees and/or
associates negligently and carelessly failed to maintain the
aforesaid tree although the Defendants herein, their agents,
servants employees and/or associates had notice of or should have
had notice of the unsafe conditions complained of herein; in
violating statutory obligations; in negligentiy and carelessly
violating the Health Code in such cases made and provided for; in
violating Real Property Law; in causing a trap; in violating state
common law; in causing and creating a dangerous and hazardous
condition; in knowingly permitting said conditions to remain; in
failing to take the proper and necessary steps to prevent the
happening of the occurrences as herein set forth; and in otherwise

being negligent and careless.

935. At all times hereinafter mentioned, Defendants
herein, their agents, servants, employees and/or associates were
careless, reckless and negligent in the ownership, operation,
management, maintenance, supervision and control of the aforesaid
power line (wire), cable, telephone line (wire) or similar wire

located on Meadow Lane, approximately twenty (20) feet south of

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Marbridge Road and Marbridge Road, Village of Lawrence, Town of
Hempstead, County of Nassau and State of New York in that knowingly,
and for a long and unreasonable length of time, caused and allowed
the aforementioned power line (wire), cable, telephone line (wire)
or Similar wire to be kept in an unsafe, improper and unsuitable
manner and negligently and carelessly failed to keep same free from
conditions constituting a danger to persons lawfully thereat so that
no person lawfully thereat, including Plaintiff SEAN FINNEGAN would
be caused to sustain personal injuries and/or damages; Defendants
herein, their agents, servants, employees and/or associates
negligently and carelessly failed to provide Plaintiff SEAN FINNEGAN
with a safe area to drive/ride his motorcycle; Plaintiff claims
Defendants herein, through their agents, servants, employees and/or
associates were negligent and careless in that they failed to
provide adequate illumination; Defendants herein, their agents,
servants, employees and/or associates negligently and carelessly
failed to warn Plaintiff SEAN FINNEGAN of the dangerous, hazardous
and unsafe condition thereat; Defendants herein, their agents,
servants, employees and/or associates negligently and carelessly
allowed, caused, permitted and/or contributed to a dangerous and
hazardous condition to be, remain and exist; Defendants herein,
their agents, servants, employees and/or associates violated state
common law; Defendants herein, their agents, servants, employees

and/or associates negligently and carelessly failed to warn

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Plaintiff SEAN FINNEGAN of the dangerous hazardous and unsafe
condition that then and there existed; Defendants herein, their
agents, servants, employees and/or associates negligently and
carelessly allowed, caused, permitted and/or contributed to said
power line (wire), cable, telephone line (wire) or similar wire to
be, become and remain in an unsafe, hazardous and dangerous
condition; Defendants herein, their agents, servants, employees
and/or associates negligently and carelessly failed to inspect,
timely inspect and/or properly inspect the aforesaid power line
(wire), cable, telephone line (wire) or similar wire; Defendants
herein, their agents, servants employees and/or associates
negligently and carelessly failed to maintain the aforesaid power
line (wire), cable, telephone iine (wire) or similar wire, although
the Defendants herein, their agents, servants employees and/or
associates had notice of or should have had notice of the unsafe
conditions complained of herein; in violating statutory obligations;
in negligently and carelessiy violating the Health Code in such
cases made and provided for; in violating Real Property Law; in
causing a trap; in causing and creating a dangerous and hazardous
condition; in knowingly permitting said conditions to remain; in
failing to take the proper and necessary steps to prevent the
happening of the occurrences as herein set forth; and in otherwise

being negligent and careless.

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936. At all times hereinafter mentioned, Defendants
herein, their agents, servants, employees and/or associates were
careless, reckless and negligent in the ownership, operation,
management, maintenance, supervision and control of the aforesaid
power line (wire), cable, telephone line (wire) or similar wire and
poles located on Meadow Lane, approximately twenty (20) feet south
of Marbridge Road and Marbridge Road, Village of Lawrence, Town of
Hempstead, County of Nassau and State of New York in that knowingly,
and for a long and unreasonable length of time, caused and allowed
the aforementioned cable, telephone line (wire) and poles to be kept
in an unsafe, improper and unsuitable manner and negligently and
carelessly failed to keep same free from conditions constituting a
danger to persons lawfully thereat so that no person lawfully
thereat, including Plaintifi SEAN FINNEGAN would be caused to
sustain personal injuries and/or damages; Defendants herein, their
agents, servants, employees and/or associates negligently and
carelessly failed to provide Plaintiff SEAN FINNEGAN with a safe
area to drive/ride his motorcycle; Plaintiff claims Defendants
herein, through their agents, servants, employees and/or associates
were negligent and careless in that they failed to provide adequate
illumination; Defendants herein, their agents, servants, employees
and/or associates negligently and carelessly failed to warn
Plaintiff SEAN FINNEGAN of the dangerous, hazardous and unsafe

condition thereat; Defendants herein, their agents, servants,

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employees and/or associates negligently and carelessly allowed,
caused, permitted and/or contributed to a dangerous and hazardous
condition to be, remain and exist; Defendants herein, their agents,
servants, employees and/or associates negligently and carelessly
failed to warn Piaintiff SEAN FINNEGAN of the dangerous hazardous
and unsafe condition that then and there existed; Defendants herein,
their agents, servants, employees and/or associates negligently and
carelessly allowed, caused, permitted and/or contributed to said
power line (wire), cable, telephone line (wire) or similar wire and
poles to be, become and remain in an unsafe, hazardous and dangerous
condition; Defendants herein, their agents, servants, employees
and/or associates negligently and carelessly failed to inspect,
timely inspect and/or properly inspect the aforesaid power line
(wire), cable, telephone line (wire) or similar wire and poles;
Defendants herein, their agents, servants employees and/or
associates negligentiy and carelessly failed to maintain the
aforesaid power line (wire), cable, telephone line (wire) or similar
wire and poles although the Defendants herein, their agents,
servants employees and/or associates had notice of or should have
had notice of the unsafe conditions complained of herein; in
violating statutory obligations; in negligently and carelessly
violating the Health Code in such cases made and provided for; in
violating Real Property Law; in violating state common law; in

causing a trap; in causing and creating a dangerous and hazardous

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condition; in knowingly permitting said conditions to remain; in
failing to take the proper and necessary steps to prevent the
happening of the occurrences as herein set forth; and in otherwise

being negligent and careless.

937. At all times hereinafter mentioned, Defendants
herein, their agents, servants, employees and/or associates were
careless, reckless and negligent in the ownership, operation,
management, maintenance, supervision, inspection and control of the
aforesaid roadway located on Meadow Lane, approximately twenty (20)
feet south of Marbridge Road, Village of Lawrence, Town of
Hempstead, County of Nassau and State of New York in that knowingly,
and for a long and unreasonable length of time, caused and allowed
the aforementioned roadway to be kept in an unsafe, improper and
unsuitable manner and negligently and carelessly failed to keep same
free from conditions constituting a danger to persons lawfully
thereat so that no person lawfully thereat, including Plaintiff SEAN
FINNEGAN would be caused to sustain personal injuries and/or
damages; Defendants herein, their agents, servants, employees and/or
associates negligently and carelessly failed to provide Plaintift
SEAN FINNEGAN with a safe area to drive/ride his motorcycle;
Plaintiff claims Defendants herein, through their agents, servants,
employees and/or associates were negligent and careless in that they

failed to provide adequate illumination; Defendants herein, their

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agents, servants, employees and/or associates negligently and
carelessly failed to warn Plaintiff SEAN FINNEGAN of the dangerous,
hazardous and unsafe condition thereat; Defendants herein, their
agents, servants, employees and/or associates negligently and
carelessly allowed, caused, permitted and/or contributed to a
dangerous and hazardous condition to be, remain and exist;
Defendants herein, their agents, servants, employees and/or
associates negligently and carelessly failed to warn Plaintiff SHAN
FINNEGAN of the dangerous hazardous and unsafe condition that then
and there existed; Defendants herein, their agents, servants,
employees and/or associates negligently and carelessly allowed,
caused, permitted and/or contributed to said roadway to be, become
and remain in an unsafe, hazardous and dangerous condition;
Defendants herein, their agents, servants, employees and/or
associates negligently and carelessly failed to inspect, timely
inspect and/or properly inspect the aforesaid roadway; Defendants
herein, their agents, servants employees and/or associates
negligently and carelessly failed to maintain the aforesaid roadway,
although the Defendants herein, their agents, servants employees
and/or associates had notice of or should have had notice of the
unsafe conditions complained of herein; in violating state common
law; in violating statutory obligations; in negligently and
carelessly violating the Health Code in such cases made and provided

for; in violating Real Property Law; in causing a trap; in causing

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and creating a dangerous and hazardous condition; in knowingly
permitting said conditions to remain; in failing to take the proper
and necessary steps to prevent the happening of the occurrences as

herein set forth; and in otherwise being negligent and careless.

938. Upon information and belief, Defendants herein,
through their agents, servants, employees and/or associates had both

actual and constructive notice.

939. This action falls within one or more of the
exceptions set forth in Article 16 of the New York Civil Practice

Laws and Rules.

940. By reason of their acts and/or omissions, the
Defendants are liable, jointly and severally, for the severe
personal injuries to Plaintiff SEAN FINNEGAN, and one or more of the
exemptions set forth in §1602 of the New York Civil Practice Laws

and Rules are applicable.

941. By reason of the foregoing, Plaintiff SEAN FINNEGAN
was caused to sustain severe, permanent personal injuries, pain,
suffering, loss of enjoyment of life, emotional distress, economic
and pecuniary damages, and to incur expenses for medical, hospital

and rehabilitative treatment. Upon information and belief, the

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Plaintiff’s injuries are permanent and will cause future pain,
suffering, disability, loss of enjoyment of life, economic and

pecuniary damages.

942. That by reason of the foregoing, the Plaintiff SEAN

FINNEGAN demands all damages permitted by law.

JURY DEMAND

943. Plaintiff SEAN FINNEGAN demands a trial on all

issues.

WHEREFORE, Plaintiff SEAN FINNEGAN demands Judgment
against Defendants LONG ISLAND POWER AUTHORITY, NATIONAL GRID
ELECTRIC SERVICES LLC, NATIONAL GRID USA SERVICE COMPANY INC.,
NATIONAL GRID SERVICES INC., PSEG LONG ISLAND LLC (a subsidiary of
Public Service Enterprise Group, Inc.), INCORPORATED VILLAGE OF
LAWRENCE, TOWN OF HEMPSTEAD, COUNTY OF NASSAU, VERIZON NEW YORE,
INC., CSC HOLDINGS, Luc, CABLEVISION SYSTEMS LONG ISLAND
CORPORATION, ASPLUNDH TREE EXPERT CO., SAMUEL SHORE, TRACY SHORE,
and ALTICE USA, INC., in the sum of $50,000,000.00 (FIFTY MILLION

DOLLARS), together with interest, costs and disbursements.

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Dated: New York, New York
July 26, 2017

Yours, etc.

SCHREIER & WACHSMAN, LLP

» DUNS)

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